Case 2

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JAMES C. NIELSEN (111889)
.IENNIFER S_ COHN (169973)
NEELSEN, HALEY &. ABBOTT LLP
44 1\/10111§0111@1')/‘ Strcct, Suite 750

Sarz Francisco, Ca1§1°0mia 94104 3 ii
111@ph@ne;(415)693-0900 ;` §:j §§
w§mwmmm@1%w 5 %f§

J. SCOTT MILLER (256476) §
NIELSEN, HALEY & ABBOTT LLP § 5
523 West Sixth Street, Suite 635
LOS Angeles, Califomia 9001¢1 1
Te1ep110ne: (213) 239~9009 /
Facsimile: (213) 239-9007

 

A fror'neys fm Defencz'anf
Phi§adeiphia 111de»1111111y lnsul"ance Company

UNITED S'I"`ATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

WESTERN DIVISK)N );
§ @§§§ §§1@1???
JENNIFBR WITHERS, an individual, Case No.:
P1ai11111`f,
V NOTICE OF REMOVAL OF
‘ ACTION UNI)ER 28 U.S.C.
PHILADELPHIA INDENTNITY § 1441 (b) (DIVERSITY)

INSURANCE COMPANY a
Pennsylvania C01P01at10n _CP_H &
ASSOC1ATESI1\C.&111111 111013
Cc)r;;)ela‘sion; CPH & ASSOC1ATES
1NSURANCE AGENCY,1NC;CP1-1 &
ASSOCIATES LLC; and Does 1
1h1011g11 25.111€111$1\1@:

Defenéams.

 

TO T 1115 CLERK OF THE ABOVE-ENTH`LED COURT:

PLEASE TAKE NOTICE that defendant Philadelphia Indemnity 1113111‘1111€@

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Notice 01`1{€11101/111 of Ac11011 Unds:r 28 U.S.C. § 1441(13`) (Divers§ty)

 

 

 

 

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Coinpany (“Philadelphia”) hereby removes to this court the state court action
described below.

i. On February 23, 2009, an action Was commenced by the filing of a
complaint for damages in the Superior Court of the State of Calit`oznia, County of
Los Angeies, entitied Jennz`fer Wz`rhers v. Phiz'adelphio fnn'emm'ty lawrence
Company,' CPH cit Assocz'ares, Inc.,‘ CPH & Associates, fnsw‘ance Agency, ])'zc.;
CPH & Associates, LLC,' and Does j throngh 25, inclusive, as Case Nuinber BC
408287. A copy of the complaint is attached as F,xhibit A.

2. On lilly 2 §, 2009, defendant CPH and Associates, lnsnrance Agency,
lnc, Was first served With the summons and complaint in this action, When its
attorney si gned and retained the Notice and Acknowledgment of Receipt on that
date, thereby effecting service under California Code of Civil Procedure § 415.30.
A copy of the Notice and Acl<nowledginent of Receipt forni, signed by the
attorney for CPH and Associates, Insurance Agency, lnc., is attached as exhibit B.

3. On lilly 23, 2009, defendant Phiiadelphia was tirst served With the
summons and complaint in this action, when its authorized agent si gned and
returned to plaintiff the Notice and Acknowledgment of Receipt on that date,
thereby effecting service under Calit`ornia Code of Civii Procedure § 415.30. A
copyr of the summons is attached hereto as Exhibit C, and a copy of the Notice and
Acknowiedgntent of Receipt fonn, signed by the authorized agent for Phiiadeiphia
indemnity lnsurance Coinpany, is attached as exhibit D.

4. No other defendant was served With process before j'uiy 2 ig 2099.
This notice is therefore timely iiied.

5. On August t'/', 2009 defendant Phiiadelphia timely filed an answer to
plaintiffs complaint in Califoi'ni_a state court A copy ot` the answer is attached as
Exhibit E.

6. lite following constitute all of the process, pleadings, and orders in

 

 

 

2
Notice of Reinoval of Action Under 28 U.S.C, § 1441(13) (Diversity)

 

Case 2

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this matter received by Philadelphia to date:

(3)

(b)

(C)

(d)

(€)

(i)

(b)

(i)

(i)

(k)

(1)

Cornplaint and Rec§uest for J ury Trial, filed \vith thc court
February 23, 2009, a copy of Which is attached at Exhibit A;
l\l`otice and Acknowledgment of Receipt forin, signed by the
attorney for CPH and Associates, insurance Agency, inc. on luiy
21, 2099, a copy of which is attached as exhibit B;

Suinznons, filed With the court July S, 2009, a copy of Which is
attached as Exhibit C;

Notice and Aci<nowledginent of Receipt forrn, signed by the
authorized agent for Philadeiphia lndemnity insurance Company
on fnly 23, 2009, a copy of which is attached as Exhibit D;
Ansvver by defendant Philadelphia, filed With the court August
17, 2009, a copy of Which is attached as Exhibit E

Civii C-ase Cover Sheet and Addenduin, filed February 23, 2009,
copies of Which is attached as Exhibit F;

Notice of Case Assignment, a copy of which is attached as
Exhibit G;

A§ternative Dispute Resolution information inaterials, copies of
Which are attached as exhibit H;

Notice of Case Manageznent Conference, filed With the court
February 27, 2009> a copy of Which is attached at E>daibit 1;
Pereinptory Chailenge, filed with the court March 4, 2009, a copy
of Which is attached as Exhibit };

l\/linute Order, dated March 5, 2009, a copy of Which is attached
as Exhibit K;

l\/iinute Order, dated l\/larch 13, 2009, a copy of Which is attached
as E>;hibit L;

 

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Notice of Rernoval of Action Undcr 28 U.S.C. § i¢l¢tl(b) (Di\~‘crsity)

 

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(rn`) Notice of Case Managetnent Conference, filed l\/larch 23, 2009, a

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copy of Which is attached as Exhibit M;

Noticc of Motion and Motion to be Relieved as Counsel for
Piaintiff; Proof of Seivice of Motion to be Relieved; and
Declaration in Support of l\/lotion to be Relieyed; filed with the
court March 26, 2009, copies of Which are attached as Exhibit N;
EX Parte Application, filed With the court March 27, 2009, a copy
of Which is attached as Exhibit O;

Notice of Ruling on Motion to be Relieyed as Cotznsei and to
Extend Tiine, fiied with the court March 27, 2009, a copy of
which is attached as E>;hihit P;

Minute Order, dated March 27, 2009, a copy of Which is attached
as Exhibit Q;

Order Granting Attoniey’s i\/Iotion to be Relieved as Counsel,
filed with the court April 14, 2009 a copy of Which is attached as
Exhi`nit R;

l\/lintzte Order, dated May 27, 2009, a copy of which is attached as
Exhibit S;

Substitution of Attorney, filed With the court l\/lay 27, 2009, a
copy ofwhich is attached as Exhibit T;

Case Manageinent Stateinent, filed \vith the Conrt July 20, 2009,
a copy of which is attached as E>thibit U;

Minute Order, dated luiy 29, 2009, a copy of which is attached as
Exhihit V;

Notice of Continned Case Manageinent Conference, filed with
the Court luly 30, 2009, a copy of Which is attached as E'xhibit
W,

 

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Notice of Reino\"ai of Action Under 28 U.S.C. § iddl{b) {Diversity}

 

Case 2.

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:OQ-cv-OGO?l-CAS-P.]W Document 1 Filed 08/19/09 Page 5 of 135 Page |D #:5

7. Exhibits A through W referred to above are the only pleadings or
process defendant Philadelphia has received and Phiiadelphia is informed and
believes that no other pleadings or process are contained in the state court file.

Jurisdiction

S. 'i`his action is a civil action of Which this Court has original
jurisdiction under 28 U.S.C. §1332, and is one which may he removed to this
Court by defendants pursuant to the provisions of 28 U.S,C. §l44l(b) in that it is a
civil action between citizens of different states (see paragraphs lO-lQ herein) and
the matter in controversy exceeds the sum of 375:000, exclusive of interest and
costs (see paragraph 9 herein), because of the foiiowing facts: Piaintii"fWithers
alleges that in 2004 she Was licensed and employed as a marriage and family
counselor intern in Los Angeles County, California. (Piaintiff` s Complaint, °|l 2.)
Plaintiff further alieges that defendant Philadelphia, through defendants CPH &
Associates, lnc.; CPH & Associates, insurance Agency, lnc.; and CPH &
Associates, LLC (collectively “CPH & Associates”), Which plaintiff alleges is thc
agent of defendant Philadelphia, issued an insurance contract to piaintiff from
about 2002 until aboat 2004, in Los Angeies County, Califomia, under the terms
of which Philadelphia agreed to indemnify and defend plaintiff against certain
claims (Plaintiff”s Compiaint, "§Hl 2, lO.) Plaintiff further alieges that in April
2004, one of her patients filed an administrative action against her with the
California Board of Behavioral Sciences (the “adininistrative action”), alleging
among other things, performance of services Without a iicense, inisrepresentation,
personai injury and cmotionai distress, ail of Which plaintiff alleges are claims
covered under the insurance contract (Plaintifi“s Complaint, 'i‘ii 12~16.) Piaintiff
Withers further alieges that Philadelphia paid for the defense of the administrative
action from April 2004 until Decemher 2095, hut refused to pay legal fees

plaintiff incurred after lanuaiy 2005, even though the administrative proceedings

 

 

 

5
Notice of Rernovai of Action Under 28 U,S.C. § i¢i¢il{b) (Diyersity)

 

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continued beyond that date. (Plaintiff” s Complaint, ‘j§"[] 17~21, 25~26.)
Additionally, plaintiff aileges that after lannary 2005, defendant Philadelphia
engaged in certain offensive claims handling and loss adjustment practices,
refused to investigate her claims, and failed to respond to her requests for
information and requests for payment of benefits, among other things, knowing
that such actions would harm plaintiff Withers. (PlaintifPs Complaint, “§Hl 22-24,
27~29, 35~37.) Plaintiff now asserts causes of action against defendants for breach
of contract, bad faith, fraud, and intentional infiiction of emotional distress, for
which plaintiff seeks to recover general, compensatory and punitive damages,
costs, attorney’s fees, prejudgment interest (Plaintiff"s Coinpiaint, 1[" 33~69,
prayer.)

9. The plaintiff alleges that she “has heen damaged in excess of
SS,O€)U,OO().OG resulting from the loss of insurance protection . .” (Plaintiff" s
Complaint, ‘f 49:6-7.)

l(). Plaintiff is a citizen of New Zealand. Plaintiff was at the time this
action was filed and stiil is domiciled in New Zealand or Califoinia.

ll. Defendant Philadelphia was, at the time this action was filed, and stiii
is, a corporation incorporated under the laws of the State of Peonsylvania, with its
principal place of business in the State of Pennsylvania.

12. i\iatned defendant CPH_ & Associates, insurance Agency, inc was,
at the time this action was filed, and still is, a corporation incorporated under the
laws ofthe State ofillinois, with its principai place of business in the State of
iliinois.

13. Defendant Philadelphia indemnity and defendant CPH & Associates:
insurance Agency, inc. are the only defendants that have been served a summons
and complaint in this action

14. i\iarned defendant CPi~l & Associates, lnsurance Agencyj l.nc. has

 

 

 

6
Notice oi`Reinoval of Action hinder 28 U.S.C. § i_441{b) (Divcrsity)

 

Case 2.:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 7 of 135 Page |D #:7

1 consented to this removai and has informed defendant Philadeiphia that it will

2 hereafter separately file a written joinder to this notice of removal

5 DATED: Aug,ust l9, 2009 NIELSEN, HALEY & ABBOTT LLP

 

 

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Notice of Renio\ral of Action Under 28 U.S,C. § l44l(b) (Divei'sity)

 

 

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EXHEBE".E` Ai

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cg anita N. vo, sso. <sns 216340)
3 MI£SISCA RILE'Y` & KREITENBERG LLP ' t x J.-.
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l 4 mg Angeles, CA 94.`201?
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CPH & A_SSOCL»'&TES, LLC; and Dees l through
121 25» mcl“€'“’°’ initan iron JURY steam
l 18 Defv:ndants.
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' Piaintiff JENNIFER WlTl-IE.RS oompiajns and alleges as foilows:
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PARTIES A`ND JURISBICT¥GN
3 eased
l. 'I'he true names and eapacitics, whether individaat, wmata associate or othe:wise o§)'§e§i 13 §
24 __{ '\:c ~e m
through 50, incinsive, are unloiown to plaintiff who therefore sues said defer§z§t§§ gnc'f§ § § 59
2 -. ' ~- w 55 _ t § "'~‘
§§ fictitious names Plaintiif is informed and beiieves and based thereon alleges that each 0 `" w g §
21 esaa
§§ defendants designated herein as a iictitiousiy named defendant is, in some manner, t¢spons§l§ft`li
2 di 13 §§ i""
§§ the events and happenings herein referred to, either contractuain or tortiously, and §msed § `:` §
2 3 n a
il damage to piaintir`£s as herein alleged When plaintiff ascenains through names and capacii§es o`i'
§ ii § a
z ' _ f
COMPLAINT FOR DAMAGES

 

 

 

 

 

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l Docs l through 25, inclusive she will seek leave of fhc court to amend her complains by setting

2 fonlc same c

3 2, At all times mentioned herein pisin‘d§, Jeno_ifer Wiilicrs, (hcrein siler elsietil`i), was now is a

4 competent adult with dual residence is the Coiinty of l.cs ngeies, Statc of Csliiomis and in New
5 l Zeslurid. le 2004 Plsintir"iwas licensed and employed ss s marriage and family counselor iniezii in
6 the Siatc oi`Califomia, Les Angcles Coimty_

'? 3, Pisiniiff is informed and iseiievcs and thereon alleges dial at all lime mentioned lie;cin defendasL

8 Pliiladelphia lndcmnity lnsurancc Company (liei'einaiier, “PHLYINS’? when referenced

9 individually and colicc*.i‘;cly as "I'NSURANCE DEFENDANTS"`) was and is an insurance
10 company incorporated iri the Srstc of Pennsylvsuia and having its principal place of business in
11 the Siaie of Peimsylvania. FHLYB‘lS is admitted to practice insurance in tlie Slatc of Cali€omis
12 and regularly solicits issues and delivers insurance poiicies in the Stsl`c of Cslii`omia.

 

13 li. At ali times herein meeticncd, defendants CPl-l 8a ASSOC'LATES, INC. an l§linois Corpci‘aiion;

14 Cl’l-l 85 ASSOCIATES, l'NSURANCl-E A.GENCY, lNC. an unknown entiiy; CPH &

15 ASSOCIATES, LLC an uniman entity {hcreiiisficr, “CPl-l” or “B‘JSUR.ANCE DEFHNDANTS"
1 s whose refused to collectively with PHLY¥NS), was designated by PHLYINS ss the sole and

1 1 exclusive undermiier appointed by PllLYlNS fox the sale issuance and dclivery of PHI.Y`LNS

19 policies in the Stslc of Califomie and elsewhere CPl-l & Associates'was and is a cozporation l
1 9 incorporated and licensed iii ilie Stste of illinois and auihcrizei§ to conduct business in the Stste of
2 0 Cslifomis. CPl-l regularly solicits issues and delivers izisuxe.i\cc uclicies in the State cf Caiifomia

21 on behalf of iiselfand PHIL`YINS.
22 5. 'l`llc insurance sci:vices provided by JNSURANCE DEFENDANTS include thc dcsign§
23 solicitation, marketing and underwriting and administration of professional iial)iliiy insurance

24 products for menial health counselors, including marriage and family counselor interns such as

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plaintiff A.ll such PlllLYlNS insurance products are available only ihrosgh defendani CPH.

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COMPLAINT FOR DAMAGBS

 

 

 

 

 

 

 

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PHLYINS end CPI~§ jointiy participate in the iiam.r:iliiig11 adjesmien€ and payment ofeiai!ns arising

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under professional liability insurance policies for mental health counselors, including mam`age

fJJl\J

and family counselor interns such as plaintiff which are writiee, issued and deiivered in Celifomia.

4 7. in 2002; 29@3 and 2004 tire iNSURANCE DEFENDANTS issued PHIL“YINS professional

 

5 liaeiiity insurance policy number PHCPOMS?? (hereinaiier “POLICY’") for mental health
6 professionals to plaintiff providing coverage among othera, for licensing board investigeiion
7 expenses Said POLICY provides in part
8
9 “We wi§i pay reasonable expenses that you incur reso§tiag firem en

10 investiga‘rion or proceeding by a state licensing board or o£i\,er regulatory

11 body, providing that the investigation or proceeding axises out of events

12 which could result in claims covered by i`nls policy We will not be

13 reeponsible for conducting such investigation or providing such dei”e:ise.

14 Ti'ie maximum aggregate amount we wiil pay for this benefit is 325,000.”

15

16 Said ?'O LICY is attached hereto and incorporated herein by reference as Ex`nibit “l".

18 S. ?lainol"¥` is informed and believed and based ibereon alieges that at all times herein mentioned

19 defendants Does l to 50, inclusive were ilie agents, emanls, and!or employees oi`defeodanis, and
20 each ofihem, in doing the things hereinafter alleged, or were acting in the course and scope of

21 L'oeir authorin ssl such agoms, servanis, and employees with the pennissioo a_ad consent of

22 defendants.

23 9_. Pleintii`fis informed end believes and based thereon ailegee that et all times mentioned hereio,

24 defendants PH£.YINS and CPi-l were the agents, servants and/or employees of each other and in
25 doing the things as speeii`leaily alleged lierein, were acting in the course and scope of their
¢`l
2 g authority as such agents, servants, and employc% with the permission and consent of each ozher.
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COMPU\]'NT FOR DAMAGES

 

 

 

 

 

 

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11 STATEMENT OF FACTS

m,___,__............._..--_---_---"""

3 lO. in 2004 Plaintiffwas engaged in the business of marriage and family counseling as an intern under

4 the supervision of licensed marriage and family counselors From 2902 through 2004, plaintiff and
5 the lNSURAl~lCE DBFENDANTS and Docs l to 25, inclusive entered into a mental health

5 professional liability insaranoc POLICY issued by the INSURANCE DEF`ENDANTS and

7 delivered to plaintiff in the Statc of Californla.

8 l l. in Jannary 2004 Plainiiii`learncd that her license before the Califomia-Boarcl o§Bcliavioral

9 Sciericcs (hercinai’ter ‘*BOARD"}, the rcg,uiatory body appointed for the administration o§the
10 licensing of certain mental health care prol’essionals2 including plaintifi`, within the Stats of
11 Caiii'omia had lapsedl Plaintiii promptly obtained a new registration license certificate in
12 i~`cbruary, 209=‘:.

13 l2. in April 2004, a claim was marie against Plaintiii based upon the alleged lapse which had oocon‘ed

14 in plainti£i’s licensc, before the Caiii`ornia Boarcl oi`Behavioral Scienccs. 'i`lie claim was made by
15 Lisa Oh (liercinai‘ter “OH”) and alieged, among other thirrgs, the plaintiff had rendered services to
16 OH with elapsed licensc, had misrepresented her licensing status, had misrepresented OH’s

17 ability to seek reimbursement for counseling services rendered by plaintiff, and had caused OH
18 personal injury, including emotional distress, arising from the counseling services rendered by

1 9 plainlifi`.

29 l'.ii in or about Apr“ii 23, 2604, plaintiff was notified by the BOARD that {}l~l was asserting her claims
21 against Plai.ntiff, OH’S claims arose under the POLICY‘ DH’s claims against plaintiff were, in
22 faci, claims covered by the POLECY and/or arose oct of events which could result in claims

2 3 covered by this POLICY.

24 l¢l. Plaintifl’ timely reported OH’s claims to the B\TSURANCE DEFENDANTS and has performed
25 and continued to perform all of her duties and rcsponsibiliiies nnécr rice POLICY.
2 §§ ii OH’S claims against plaintiff eventually resulted in an investigation\and proceedings by and on

z'l’;. behalf of the BOARD concerning plainan lapse of license and, among oi`ners, allegations lhat

 

 

 

 

 

 

4
CGMPLAEN'I` FOR DAMAGES

 

 

 

 

 

 

 

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1 plaintiff accepted money directly from OH and others while engaged as marriage and family t

2 counseling intern.

 

3 ]6_ Plaintiff timely reported the investigation and proceedings by and on behalf oftlie BOARD to the

4 lNSURPtNCE DEPENDANTS.
5 17. Upon recei;)t of the elaim, the INSURANCE DEFENDAN"£`S accepted coverage referred plaintij

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5 to independent legal counsel through the Law €)r"i`ioes of Celiahan, McCcne and Willis who

'; provided legal services to plaintiff from on or about Apzil 2004 through on or about December

3 2004 Saicl legai Serviees were pain by tire INSURANCE D`EFENDANTS in recognition there

9 existed “an investigation or proceeding by a state licensing board or other regulatory body" which
10 arose “oet of events which could result in eiairrts covered by tii(e) PUL`ICY”.

11 18. U n recei )t of information concem_in OI-l’s claims a ainst plaintiff and die investi ation andjor
PO 1 3 3 §

 

 

12 proceedings initiated by the BOARD, the lNS’iJRANCE DEFENDANT’S jointly undertook die
13 responsibility of handling and processing the OH ciairos end piaintifi`s claims for legal

14 representation and/or reimbtn'sement of attorneys7 fees incurred in thc investigation and/or

1 5 proceeding by the BOARD. ,

16 l9. ln or about Aprii, 2905 Oi-l withdrew and recanted all of her claims against plaintiff in their

17 entiretyl However, tire investigation and!or proceedings before the BOARD concerning plaintiffs
18 licensing claims continued

19 20, Plaintii`f requested and continued to request reimbursement for attorneys fees incurred in her

2 0 defense of the OH claims as well as tire investigation andfor proceedings before t`ae BOARD.

21 21. 'l`lie H€SURANCE DEFENDANTS upon their acceptance of piaintiff"s claire paid legal fees

22 incsned through Decemi)er 2304 through tire law firm ofCaliahan, MeCnne and Wiilis,

2 3 22. 'l`hereaiicr, the iNSURANCE DEI"ENDAi‘-ETS processed piaintitli”s claims for reimbursement of

 

 

24 attorneys fees arising from tire OH claim and the BOARD’S investigation and proceeding by

2 5_ repeatedly requesting and demanding information submitted by plaintiff for payment of acid legal

2§§§ expenses and undertaking a loss adjustment process which consisted oi` numerous duplicative

2"$_*: rcx;uest i`or information, which plaintiff provided on each and every occasion when such requests

2 §§ Were made 1
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-:; 5 .

 

 

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1 23. The §NSURANCE DEFENDANTS continued to provide reassurance to plaintiff through early
2 2007 that plaintifi`s claim for reimbursement for attorneys fees would be honored upon tire receipt

cl` invoices finnishod by plaintiffs attorneys from the OH Ciaims and the BOARD’S investigation

b}

4 and proceedings Plaintitl“ continued to provide biiling invoices for legal services rendered to lnor

and forwarded invoices for legal fees iii Morch, lviay and luty 200’} .

U'I

6 ?.4. Commeooiog in 2004 to preseot, the INSURANCE DEFENDANTS deterred claims handling

’? directions acid responsibilities to one another, creating confusion and duplication of claims

8 handling and processing functions such that it was impossible for plaintiff to determine tire

9 specific claims handling resoonsibi§ities of CPH and PHLYINS, Si)cl:: duplication of claims
10 handling effort resulted in the piaintiffiacing referred back and forth between ciaim examiners

ll engaged by both PHLYINS and CPl-i.
12 25. Commencing in ianuary 2005, plaintiff retained independent counsel, as demoted by tire poiicy,

13 through tiie Law Firm of Barsnov and Wittenberg L.LP, who rendered iegal services to plaintiff

14 disorigiz Deceroi)er 2005. Norwithsranding the insurance defendant’s acceptance of coverage for
1 5 plaintist claim, and the H\ISURANCE DEFENDANTS` failure to deny coverage for said legal
le expensess the INSURANCE DEFENDANTS have failed to make payment therefore as required
17 by the terms of the insurance POL§CY. d

1 a 2,6. The INSURANCE DEFENDAN'§`S processed piointiiT’ s claims for ooverage. requested and

19 received information submitted by plaintiff for pa)mmit ofsaid iegaiexpenses, and undertook a
2 9 loss adjustment process which consisted of numerous duplicative requests for information winch
2 1 plaintift`piovided on each and every occasion when such requests Wot“e made, the l"NSURANCE
22 DEFENDANTS have continued their refusal to pay attorneys fees incurred by plaintiff after

2 3 lannary 200$.

2 d 27. Tiie claims processing and handling oi` the lNSURANCE DEFEN DA.NTS resulted in the
25 following

2 'i; a, A failure and refusal of each of the INSURANCIE, DEFENI)ANTS to investigate plaintiii”s
eiaims arising under the POLICY;

6

 

COMPLAINT FGR DAM.A.GES

 

 

 

 

 

 

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1 b. 'l`lie failure and refusal to respond to plainiif‘i"s requests for information and payne ent of

2 l beneiits under inc ?OLICY;

3 c inconsistent demands ann request ?or information to plaintiff in conneciion with plaintiffs

4 claims arising under plaintiii”s insurance POLICY, with which Pialniii`f was forced to eomply;
5 d. A refusal to respond to many communications arising under the INSURANCE

6 DEFENDANT’S ?OLlCY',

e. The failure to deny plaintist request for coverage under the POLICY;
8 i`. The knowing refusal to pay benefits due and owing under the POLICY with ike knowledge of
9 snbsiarn;ial learn to plaintiff as a result thereof

10 28. in 2004~20{}?, tire BO.A.RD investigationfproeeeding was conducted eoneerning the lapse in

 

 

 

 

ll licensure ofpiaintii`f for a period between 2002 anci 2904. The'investigation resuiied in nn

12 accusation lilecl on belieli“" oi`tlie BOARD about which the INSURANCE DEFENDANTS were
1 3 duly notified in the course of said investigation, plaintiff continued to incur legal fees, which
14 wore timely submitted to the INSURANCE BEFENDAN'I`S.

15 29 As of early February 2007, rlie il\ISURANCB DEFENDANTS informed plaintiff that the

15 ll‘~l SURANCE DEFENDANTS were continuing to process piaintif§" s claim for payment Plaintif`f
1'7 continued to submit legal fees and legal billings to defendants for payrneni. Plaint`n°t` pain such

l 8 legal fees and billings as Were incurred by exhausting her personal firncis, borrowing money7 nom
19 friends and relatives until such time this plaintiff ooan no longer pay legal fees

20 BG, As a result of tire failure ann refusal or" the il\]SUR,'-‘».NCE DEFENDANTS to pay legal fees for

21 invoices submitted by plaintifi, plaintiff became desiitute and ives forced to relocate from Los

2 2 Angeles to New Zeeian<i where she became a ward of the Stnte, living on State welfare and Siste
2 3 provided medical insurance Plainrifl` continued, from New Zealand, to attempt to participate ln
24 tire BC>ARD investigation and proceedings

25 31. At eli times during the investigation and proceedings before the BOARD plaintiff continued to

2 §§ submit billings and lnvoiees for legai services that were rendered tollier, to tire extent that site was
2 'l; able to make payment from funds she paid andfor borrowed in order to make payrnenr or`lier legal
2 al fees

l z

ij 7

 

 

 

COM§’LA§NT FOR DAMAGES

 

 

 

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32. Eventnally, as a result oftlie inability of the plaintiff to pay tire attorneys fees, either billed

33.

34.

36.

   

directly to her or projected for her defense in proceedings before the BOARD, plaintift"was enable
to continue her practice as a marriage and family practitioner in the State of Celifomia. ’l`lie
charges before the BUARD were such that a reasonably skilled attorney in the handling oitlie
defense of soon claims would have been able to negotiate or defeat such claims had such attorney
been retained by pleinti§.

However, plaintiff was unable to afford to pay attorney’s fees and because her ciaini for payment
was ignored by the INSURANCE DEFBNDANTS, plainans inability to pay snell attorney”s fees
resulted in a deprivation of skilled legal counsel to properly contest the charges, which were made
against her in proceedings initiated lay the BOARD.

ns a resale plaintiff was forced to accept to a violation of the code of conduct governing marriage

 

 

and family counseling interns and suffered onerous consequences which have resulted in the
denial of plaintiffs al‘)ilitj~t to practice marriage and family counseling in the State of Californin,
the loss of plaintiffs livelihood, the loss of past and nature earnings and damage to pla§n£ii°?s

health arising from emotional distress and illnesses and injury resulting therefrom

. At all times during the pendency of the olai:ns against plaintit`f, and the nendenoj,'ol` the board

investigation and proceedings against plaintiir", she INSURANCE DEFHNDANTS knew oftiie
continuing pendency cf snell claims, their continued obligation to make payment to plaintir'i`for
attorneys fees winch plaintii? incurred, the harm to plaintiff as a result oi"ner inability to pay legal
expenses and the Severc consequences to pleintiil` of the denial ofpayment of legal fees to
competent legal counsel to defend plaintiff against such investigation and proceedings
Fotlowing tire acceptance of plaintist elaims, the retention by plaintifi` of the Law T-`inn of
Callahan, MeCune_|and Willis to provide plaintiil” with tlie defense to charges initiated by OH
including a defense to the BOARD’S investigation and proceedings the l`N'SURANCE
DEFE?\IDANTS never denied their obligation to pay plaintiffs eleirn, to pay attorneys fees
incurred by plaintiff, or to pay benefits due under the ?OLICY. 'l`he RQSURANCE
DEFENDANTS have never issued a reservation oi`n'ghts. Tl'te INSURANCE DEFBNDANTS

never provided any expianation for their refusal to pay benefits

3

 

 

CGMPLAINT FOR DAMP.GES

 

 

 

Ca ' - - - `
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‘l. 37. Ae of .luly Zl, 200?, the B~iSURANCE DEFENDANTS reassured plaintiff that their adjustment of

plaintiff s claim was confirming7 that plaintiff legal fees would be paid and invited plaintiff to » l

2

3 submit ongoing billing for legal fees wl;icli they continued to refuse to pay and coni.inee to refuse
4 to pay or explain the basis for refusal to pay,

5 FIRST CAUSE OF AC'I`ION

5 BRE.ACH 0§' CONTRACT

7 l (AGAENST ‘I`HE INSURANCE DEFENDANTS AND I)UES 1 TO 255

e

9 38, Plaintiff refers to and incorporates by reference paragraphs l enough 38 ne iially set forth herein
39 39. Pia.intifi” lies performed all of £he ierrns oondii`;ons of the POL]CY.
11 40_ ”f"ne H\FSURANCE DEFENDANTS and Does l to 25, inclusivez have failed and refused le pay

 

 

 

 

 

 

12 and continue §0 refuse to pay benefits under tire POLICY.

13 41. Plaintiff tendered her claim to the WSURANCE DEFHNDANTS under the terms of the POL§CY,
14 eller which the NSURANCE DEFENDANTS agreed to the aceep§anee of plaintiffs olaim.

15 Su'esoqnently the TNSURANCE DEFBNDANTS breachecl their duties and obligations under I'ne
16 POLICY ann failed to pay plaimir"ffor anomey’s fees incurred by plaintiff between 2005 end

337 5¢.‘(}(}`.¢`l AS of.luly 21, 2001 !lie INSURANCE DEFENDANTS requested information from

1 8 plaintiff and reassured plaintiff that the INSURAN CE DEFENDAN'{"S would continue to accept
19 legal billings incurred by plaintiff in connection \vi€h her claim Tlxereaiier, the INSUR_ANCE

2 G DEFENDANTS failed and refused to pay legal fees submiiteo by plaintiff in connection with said
21 claim.

22 al As approximate result of tire insurance defendant‘a breach of the lerma of tire POLICY, their

23 failure to pay expenses for legal services as alleged herein, plaintiff has incurred substanlial fees in
24 her own defense By reason of'lhe foregoing plaintiff has been damaged in excess of tire

2§;. jurisdic€ional minimum and an amount to be proven at trial

§§ '

2 §§

9

 

 

COMPLAINT FOR DAMAGES

 

 

 

 

 

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1 SECOND CAUSE O`F ACTION:
BREACH OF THE COVENANT DF GOO`D FA`!'I`H AND FAIR DEALING
(AGA¥NST THE INSURANCE DEFENDANTS AND DOES l '}`O 25)

'i\)

id

 

 

 

 

 

 

 

c
5 43. Piainliff refers ic and mccreeth by reference paragraphs l ihroug,h 42 as though set fozili in full
6 herein
7 ce. At all iimes: the INSURANCE DEFENDANTS owed n duty cf good faith and fair dealing to
8 plaintiff Pursuent to acid duty, the INSURANCE DEPENDANTS were not pennitt_cd:
9 i. ic refuse to pay plaintist eieim,
10 2 to refuse to provide an explane¥ion for ncn-paynient,
ll 3. to refuse to deny plaintiffs claim following their acceptance ihmeci`,
12 4 ic refuse to deny pieintiff's claim fciiewing their initial payment cf anomey’s
13 fees incurred to the Law Firm of Callnlinn McCune acid Wiilis,
14 5. ic refuse tc provide en explanation for Lhe faiiui'e to pay plaintiff s claim,
15 6. to refuse tc refer picinliff to the appropriate Celifornia Steic Agency for a
16 review cf defendent’s conduct arising from the handling and processing oi`plaintiil'“s ciairn,
1'? 'F. to continue to request duplicative information from plainiif`i` which plaintiff
1 8 prc\fided,
19 B. Ic conlimie tc request unnecessary infomiaiion which once provided by pleiniii"i"
2 c was ignoreil, f
2 1 9. tc continue to refer plaintiff {bacl: and ibrtli} between the two INSURANCE
2 2 DEFENDANTS while each cf the INSUKANCE DEFENDANTS refused to accept their
23 obligations with respect to the handling o£piaintifi’s claims and
24 lG. to continually employ tile claims handling personnel of the two INSURANCE
25_ DBFENDANTS in such a manner as to intentionally cause confusion as to which entity was
zéi ultimately responsible for the claims handling of plaintiff claim
2 §§ 45, ”l`he INSURANCE DEFENDANTS breached their covenen£ of good faith and fair dealing mising
2 B: under ilie insurance POLICY.
ii
`l io
COMPLA]NT FOR DAMAGES

 

 

 

 

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1 4,5“ Tiie aigrememioned conduct constitutes bad faith and a wrongful refusal to provide POL.ICY

 

 

2 benefits to plaintiffs and a breach cf the implied cf the iNSURAl\lCE DEFENDANTS implied
3 covenant of good faiih and fair dealing io ploiniiil`.
~C* 47. Ai all tinies, the INSURANCB DEFENDAN';“S knowingly owed plaintiff tire benefits payments
55 obligations and duty speciiied under the POLECY under common and statutory law. 'l`lie
6 INSURANCE DEFENDANTS also knew that under the existing iaw, plaintiffs claims actually or
”f poieniially fell wilhin the POL§CY coverage and required the INSURA`NCE DEFENDANTS to
8 provide payments Rather than making payment to plaintiffs tile INSURA`NCE D§FENDAN'!`S
9 actually conducted themselves to apply financial pressure on plainti§i` ro increase the burden end
10 costle plaintiffs in order to break plaimiil`s’ will and iinaucial abiiiiy to contcsl the
11 investigationiprocecdings before the BOARD. As a result of the insurance defendants breach of
12 their employee covenant of good faith and fair dcaiing, including its duty to maize payment to
13 plaintiil`s end she insurance detendnnt’s bed faith serious1 plaintiff has sustained actual economic
14 damage in addition to the damages for pain and suffering and elnoiionai distress and an amount ic
1 5 be determined at the time of'oinl`
36 43. The insurance defendani’s condoci, ss aforesaid, is s cause end feet of economic damage as well
17 as damage for pain end suffering and emotional distress, misery and intense suffering to plaintiff
18 who is forced to live in fear that she could not retain legal counsel to defend her in the BOARD’S
1 9 investigation and licensing proceedings the inability of plainiiff to travel from New iceland to
2 0 Los Aogcles to conies=t die licensing proceedings before the BGARD doe to the feet i`nat she had
21 become impoverished in her attempt to pay legal fees, iicr lack of l"unds, her inability to hire an
2 2 attorney so prosecute her defense throughout all proceedings undertaken by the BOARD, die
2 3 necessity that she defend herself in such proceedings due to her inability to pay for legal counsel,
2 4 thai in requiring to defend herseii, she was sn-loiowiedgeable and unskilled in the presentalion cf
25} such defense1 and tire fact that without adequate legal representation her efforts to defend herself
2 é‘ were deemed from the outset
2”; 49. The insurance defendam’s renders is s substance factor and was intended to and did cause
2§§ extreme financial hardship and emotional distress to plaintiff including an ongoing and imrelated
il
ii ii
COMPLA§NT FGR DAMAGES

 

 

 

 

 

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50.

fil.

   

fear of losing her license to practice marriage end family counseling in the State of Calii`ornia7 the
loss other practice the limitations on her license imposed in proceedings before tile State Bcnrd,
inc necessity that plaintiff accede to a stipulation submitted to her in proceedings by the BOARB
which contained onerous terms which plaintiff would not have tied do accept but for tire lack cf
funds to contest the claims that were made against her and the continuing financial inability to pay
the cost for legal services necessitated by such proceedings Plaintifflics been damaged in excess
of $5,000,000.90 resulting from the loss of insurance protection while the TNSURANCE
DBFENDANTS were aware that plaintiff had limited iinancial resources to mounts defense to get
such ciainis, tire plaintiff had to live at ongoing fear ot`tite loss of insurance protection, tire
ongoing fear oftlie laws and?or restriction oflter license to practice marriage and family
counseling the fear of denied benefits and protections arising under plaintiffs PGLICY, tile fear
arising from the insurance defendant’ s vn‘ongfui refusal to pay benefits for which plaintiff had
paid for insurance coverage ivitii tile INSURANCE DEFENDANTS.

’i"lie B\ISURANCE DEFENDANT"S denial of coverage left plaintiff to fend for herself Witli
limited and ultimately nonexistent resources with tire risk of losing everything 'l`lie frustration
mulety, depression, fcar, hopelessness, sleeplessness and ultimately led to a diagnosis of l_,upus
Disease arising from tlie lNSURAN CE DBFE,NDAN“.-`S abandonment of plaintiff after the
INSURANCE DEFRNDANTS had accepted plaintiff1 s claim and initially made payments on
plaintiffs claim. A conduct oftlie insurance defendant’s wrecked havoc on the plaintiffs
emotional state and resulted in severe suffering and financial hardship to plaintiff including the
necessity of medical treatment to tile plm`ntiE arising therefrom

'l“:ic Il\lSURANCi:`. DEFENDANT‘S condnot was oppressive malicious and fraudulent and was
calculated to minimize its own expenses rather titan to provide the protections mandated by the
POLICY to plaintiff ’l‘o t`nis end, tile INSURA"NCE DEFENDANTS wrongfully denied benefits
that it agreed to provide plaintiff wrongfully refused to pay attomcv’s.f`ces, it had agreed to pay
plaintifl`, abandon plaintiff altogether, falsely misrepresented to plaintiff flint it would continue to
ndj ust and pay reasonable attorneys fees to plaintiff, among otizers. 'l"lie insurance defendant’s

conduct as alleged was despicable conduct and that it was so vile, base, contemptiblc, witneth

12

 

 

COMPLA¥NT FOR DAMAGBS

 

 

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l and leathsome that it would be looked down upon end despiseri by orclinar"y descent penpie and
2 had subjected plaintii¥ to o cruel and unjust financial and emotional hardship and conscious

3 cilsregnrd of plaintist rights so us to justify an awarding of exemplary and punitive damages
4

5 THIRD CAUSE O“é` ACTION

6 FRAUD AND I}ECEIT

7 (AGAINST TI-IE INSURANCE DEFENDANTS AND DGES § TO 25)

8

9 52. Pis.intiff refers to incorporate `n}' reference paragraphs l to 53 as though set forth herein

10 53, Tlte ENSURANCE DEPENDANTS concealed front plaintiff that they would refuse to pay

11 attorneys fees other titan the fees incurred with Callalien, McCune and Willis. lied Plaintii’f

12 known the true feets, Plaintifi`would have continued representation by Cnilahan. lnstesd, plaintiff
13 eitose representation by independent legal eounsel, whose billing invoices plaintiff could not

le afford to pay due to tire refusal to pay by the DJSURANCE DE`F~`BNDANTS.

15 S-fl. Tlie INSURANCE DEFENDANTS concealed s material fact.
16 55. The plaintiff was unaware oft`ne concealment at the time it oceurre<l.
1 7 56, The plaintiff su§ered harm ns a result of the eoneealrnent.

l 3 5 7. Tne H\iSURANCB DBFET\EDANT’S conduct tvas oppressive1 malicious and fraudulent and was

 

19 oaicuiateti to minimize its own expenses rather titan to provide the protections mandated by the
20 POLICY to plaintiff To this enr`l, the TNSURANCE DEFENDANTS wrongfully denied benefits
21 that it agreed to provide pleintiff, wrongfiilly refused to pay attorneys fees, it had egreeo to pay
2 2 plaintiff abandon plaintiff altogetlier, faiser misrepresented to plaintiff that it woulo nominee to
2 3 adjust soo pay reasonable attorneys fees to pleintii`f, among others 'l"he insurance defendant’s
24 conduct as alleged was despica‘ole conduct and that it was so vile, base, contemptible, Wretciteri
251 and loatltsozne that it would be looked down upon and despiseci by ordinaryr descent people and
2 iii had subjected plaintiff to n cruel end unjust iinaneiai and emotional hardship and conscious
z ”}: disregard of plulntit?‘ s rights so ss to jusn'fy nn awarding oi` exemplary and punitive damages
ssi m

l

13

 

 

 

 

COMPLAINT FC!R DAMAGES

 

 

 

 

 

 

 

 

 

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1 P`OURTH CAUSE GF ACT!ON

2 FRAUD and BECE§'I`

3 (Agaiust INSURANCE DEFENDANTS, and `i)oos l to 25}
4

5 58. Pl§~;intlii` refers to find incorporates by reforcnoo, paragraphs l through 57 as though fully sol forth
6 heroin

7 59. ln or about 2007, plaintiff hired attorney Marlr R. McKinriiss (hereiuaiior “MCKll\iNlSS”) to

8 investigate her rights with respect to tim insurance defendants and lo take actions necessary to
9 protect pluiuti;t`r"l
10 6{). At ali times heroin mentioncrl, the INSURAN CE DEFENDANTS foileti to disclose MCKYNNISS`
11 financial relationship with the lNSURANCE DEFBNDANTS and continued to fail to disclose
12 such financial relationship Thc infoimuiioo that defendtuus failed to disclose was material
13 information and bail plaintiff §otowu the withliolé infoz'matiou, Sho would have taken other ootion,

14 61, As a remit of tlic fraud and concealment of Doi`cnoaots and each ofthom plaintiff has sustained

15 actual economic damage in addition to iho damages for pain and suffering and emotional distreos
16 and an amount to be determined at the time of trial.
17 61 ’l`tie defeu<isutt‘s conduct1 as ufcrese.id. is a cause in fact of economic damage as well as damage

18 for pain and suffering and emotional distress, misory and intense sui`i`oriog to piui:iti“:"f,
19 63. Tlie clof`euclant’s conduct is a substantial factor and was iotaodcé to and did cause extreme
20 financial hardship and emotional distress to plaintiff

21 64, Tlic dcfenclant’s conduct was oppressive, malicious and fraudulem conduct as alleged and was

22 dospical)ie conduct such that it was so vilc, baso, oontomptii)lo, wretoiiod aucl loathsomo tiiat it
23 would be looked down upon and dospiseti by ordinary decent people and had subjected pluiutil‘l` to
24 a cruel and unjust financial and emotional hardship anti conscious disregard ofploiutifi‘o rights So
2§ as to justify an awarding of exemplary ami punitive dmage$_
i `
2 §§ .
§§ l
ii
‘l 14

 

COM?LAINT FGR DAMAGES

 

 

 

 

 

 

 

 

 

 

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l FIFTH C.A.USE GE` ACT§ON
2 INTENTIONAL INFLICTION OF EMUTIONAL DISTRESS
3 {AGAINST ALL DEFBNDANTS AND I)OES 1 THRO'{}GH 253

4

5 65. Pleiniiii` refers zo and inoorporntes by reference paragraphs l ihrongli 64 as though fully sei forth
6 heroin

7 66. 'l`lie conduct of the defendants as aforesaid was outrageous and intended to cause severe emotional
8 distress lo PLAINT§FFS. .

9 6'?. The defendani’s conduct is a substeniiol factoz and was intended to and did cause extzeme and

 

1 0 severe financial hardship end severe emotional dismiss lo PLMNTIFF, The fmstration, anxie;y,
il depression1 fear, nopelossness and sleeplessness, end ultimate personal injury caused by inc

12 defendants’ conduoz, wroaked §ievoe on PLATNTIF`ES’ emoiionel state and resulted in severe

13 suffering and financial hardship to PLMNTIFFS, including the necessity of medical treatment zo
14 PLAINTIFFS arising thereii'om.

15 68. The dcfendams‘ conduct was inten§ionei, on€rageons, wanton and with reckless disregard to

16 PLAiNTiFFS’ rights and for the purpose of inteni:ionaliy causing PLAIN'L`IFFS to suffer seveio
l“! end unremitiing mental anguish, emotional and physioai distress. PLAINTIFFS suffered from

l 8 severe nnxieiy and prolonged stress as a resnii of the financial and emotional hardships created by
19 defendants’ actions

2 0 69. The conduct oftlio defendants as set forth herein was ’Era=.icinlen'rt maiioions, oppressive wanton

21 and despioable. As n result of said Conduol, PLA!N’?!PFS are ontidcd to pnnitive and exemplary
22 damages against the defendants in an amount to be proven at the time oi` trial
23
24 Wherefore, plaintiff prays for judgment as follows
2 z 1. For general damages for all causes of action against all defendants in the sum to
2 §§ be proven at £he time of trial;
2 '?; 2. ' For compensatory damages against all defendants, including special damages
zé{_ and general damages for emotional oisn-ess‘,

1

15

 

 

COMP LA§N'§` FOR DAMAGES

 

 

 

 

 

 

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3. Fur psuiii\.'e damages in an amount to punish defendants and de:er others from

"M,,,_,_.__..~..V_._..,__-`"_,.__.._".,».

N

engaging in simi}ar coz\.<iucf;

4. Fcr attorneys fees and costs;
5. Foz‘ prejudgment interest ami

6. For such other and huber yelicf` as the court may deem just and proper.

01th

7 Da&ed: Fcbrua:'y 23, 2009 MESISC.A. RU_, Y 8a KRE!TENBERG LLP

9 By: `

¥,.....¢f"' f
1 G PA'I`R§CK. A. MESISCA, IR.
DENNIS P. RIL.EY
11 MIKE N. ve 4
Att<>rneys for `Plaimii`r`,
Jcnnifer With<:rs

 

`-: 16

 

 

 

 

 

 

 

COMPLAINT FC}R DAMAGES

 

 

 

 

 

 

 

 

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1 DEMAND FGR JUR`Y 'I'RIAL

Plaintif`f hereby demands a jury trial on all causes of action and claims wi?h respem to Which

10

she has a right to jury trial

}bl'..\)

‘J'\

Darcd: February 23, 2009 MESISCA RILEY 3a KREITBNBERG LLP

--JG"\

3 By:

9 P./-‘~.’I`RECK A. MESESCA, }R.
DENNIS P. RILEY

19 MH<E N. vf)

1 .1 Attomeys for Plainn'ff,

* m Jem:ifer Withcrs

 

 

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"~:F'~ “Q::::U‘

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17
COMPLATNT I~`OR DAMAGES

 

 

 

 

 

 

 

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EXHEBH` B

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POS-o?§
ATTSRNE-.Y DR PAF.TY WUHO£§T A'{TORHEY {i‘l'sm. S.‘alc l?ar numb:r. and cddmssl; § FOR CCURT USE Oi’l'!_'r
Keiih F. Slmpson (SBN#; 196014)
iWl.e\.'r OFFlces of Ke§lh F. Simpson. A Professicnai Corporailon ='"i
1230 Rosscrans Avenue! Soile 1`1'0 §§ EEJ§E;B
Manaattan Beach. California 90266
r£LEr=HouE No. {3'10} 297-9{)90 mr no, rop:moi_i:
E*.‘»'.F\.l. ADCRESS {OL£/c>na!): y
srrc>sus~rron cramer Plaint§l"f .lennifer§lhers Jiii. 2 9 ZUD%
suPEruoR cover or-“ c:AL.ll=on:e:nl couNTY or Los Angeies g N Ae H ;- , M__. ,
smesrsoosess: 'i‘i“l NOl‘lh Hi|l Streei /? f NM“
lM*L‘“GAD°“ESSf S‘"=m€ AS Ab°"€ _ , sr ss z‘l§n A‘rssus-ous row oseorr
mw mo ar cove i_os nogalesk Cal:l‘orola 90012

assess wis Cemrsl Dislrict

LO ANGELES SUPEPJOR COUR

,..»3_---_

 

lf....l

 

PLAINTIFFFPETIT%ONER; jennier Wither$
DEFENDANT!RESPONUEN`F¢ Philacie!pnla lnrieron‘:¥y insurance Company, ei.al.

Cr‘\‘:`E NUMBEP_‘
some mo Acl<s:owl.sosmsur or RscElP'r-clvil. sc acs 28? b 2;){
§

 

 

...,........_~.... ,.._._.,________.._-_--~TF,,____.__.---

TO fmserr name of_osrly being ssrve::): CPH & Associaies, insurance Agency, inc

 

NGT!CE

The summons and other documeols ldsntlneo below are being served pursuant to section 415.38 of the Californis Code ol Clv§|
Procso‘ore, ‘r'our fai§ure lo ccmplsie lois form and return iiwilhin 20 days from roe date cl mailing shown below may subjec€ you
{or las carry on whose behalf you are being ssrveri} lo lishiiiry for the payment of any expenses incurred in sewing a summons
on you in any other manner perroll'led by law.

ll you are being served on imth cf a corporallon, an unincorporaled association (§nclud':ng a oartnsrship), or other entiry, this
form mos! be signed by you in inc name of such entity or by a person authorized to receive service of process on behalf cl such
anziiy. ln all ofher casss, this form musl se signed by you personally or by a person aulhorizeo by you 10 acknowledge receipt of
summons li you return lois form lo tire sender. service of a summons is deemed complete on lhs day you sign los
acknowiecigmeoi of zeceiol beiow.

 

Date of maiiing‘. Juiy 9` 2009

 
 
     

i<eltlz F. Simpson §
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EXH§BH` C

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Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 29 of 135 Page lD #:29

SUM»?GO
sr§éi§“it’:?i§§n ee§teiiieeero ;
j l.os Angeles Su}')erior Couri 1
NO'EICE TO DEFENDANT: PHILADELPH§A lNDENtNtTY §NSURANCE
COMPANY, a Pennsy|vsuie Corporation; CPl-t & ASSOCIATES, tNC. en 08 EBBQ
illinois Corporation; CPH & ASSOCEATES, tNSURANCE AGENCY, tNC.; jUL “
CPt-l & ASSOCEATES, Ll_C; and Does t through 25, §nciusivo l `
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tootow.

You have 30 CALENDAR DAYS after this summons and leger _r)aoeis are served on you to tile o written response et this court and nave o copy
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the court clerk for a fee waiver form ii you do not file your response on time you may lose the case by default soo your wages money, and property
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tow O€flces of Keith F. Sirrtr)on, A professional Corporei§on
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i F‘roceriure. Your failure to complete iiiis lorni aiiri return ii within 20 days from lite date of maliiiig shown below may subject-you
(or the party on whose-behalf you ore being sewso) to liability for tire payment of any expenses incurred to serving s summons
on you in any elliot mariner permitted by la\'r.

lt you are rising served on behalf ore corporation en unincorporated association (inctudlng a'partnersh§p), or otner entily£ lots
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EXHIBH` ]E

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 33 of 135 Page |D #:33

1 FAMES C. NIELSEN (i t 1839) QONFOH§Y;EB
2 JENNIFER S. COI-E\i ri699?3) LOSOF:];>;§ Gtri§t.g FrLEo Y
NHELSEN1 HALEY & ABBO'FT ih.LP @‘S SU§e-oorco§rr
3 44 Montgomery Street, Suito 150 AUG l 7 ZUUS
4 San Fraoc§sco, Caiifomia 94104 JO,‘MC
T§z@phoner {415) 693~0§00 §§ /§‘*<S Er§§§ §§r§r mcf/work
5 Facsimi§o: (415)693»96?4"19¢1@§$%§§ Depd§,y
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J, SCO“I`T MILLER (256476)
NIELSEN: HALBY & ABBOTT 1113
523 West Si)<th Sirr:ot, Suito 635

3 Los Aizgoios, Caiii`ornia 90014
Tolephono: (213§ 239-9009
Faosimilo: (213)239~9007

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A I!oi‘rreysfor‘ Dej`errdam
11 Phi§adelphio lodemn`lty Ensurarice Compony

 

12
13 SUPER§OR COURT OF THE STATE 012 CALIFORNIA
14 COUNTY OF 1108 ANGELES, UNLIMITED .TURISDICTION §
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16 JENNIFER W§TI-IERS, on indiv§dizal, } Caso No.; BC 408287
Plaimiff,
ii f PHILAD§:LPHIA INDEMNITY
18 “ j INSURANCE COMPANY’S ANSWF,R
1°H1LADELPH1A INDEMNITY ) TO C{}MPLAINT {)F JENNIFER
39 INSURANCE CGMPANY, a ) WITHERS
Pormsylvaoia cor orotion; CPH &
29 ASSOCIATES, 1 C. onli linoiS
oorporat.ion; CPH & ASSOCIATES HOHO;-ab]e Amy 13 HOSU@
21 INSURANCE AGENCY. INC CPH & Bept 34
ASSOCIATES `LLC. arrci l
22 and DO€S 1 through 25, tnoius;tvo, Compla§nt Fiioc§: Fe§§ruary 23, 2009
23 Defendants.
24
25

 

Der"orzdani Phiiadoiphia fizdemnity insurance Company {“Priiiad€iphia”) hereby

26 § . . . _ 4 .

answers piamtt ff .1 onmfer Wrtiuors' Complamt for Broo,ch of Insuranco Con‘£raot, Bad
27 l . . , , . .

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Phiioo`olphio indemnity insurance Company’§ Azasiver to Comploint oi.ioztnii’er W§thors

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 34 of 135 Page |D #:34

§ GENERAL DENIAL

z Pliiladeiphia admits and alleges that it insured plaintiff under a policy of

3 professional liability insurance the terms and conditions or" Wltich speak for themselves

4 Phiiadelpliia denies geaeraliy, under Caiifornia Code of Civi§ Procedere § 431430, each of
5 tire remaining allegations contained iri piaintifi"s Complaiot, and further denies that

6 Pia`zotit`f has suffered any loss, damage, or injury of any kind, whether set forth in tire

7 Cornplaiat, or in any other sum, or at all.

 

3 AFFIRMATIVE DEFENSES
9 FIRST AFFlRMATi\/E DEFENSE
10 (Failure to State a Claim)
11 l. Defendaot Plti§adelphia alleges that the Cornplaint, and each cause ofact§ori

12 alleged therein, fails to state facts sufficient to constitute a cause of action against

13 defendant.

 

14 SECOND AFFIRMATIVE DEFENSE
15 (Breacft of Contract)
16 2, Det`eotiant P§niladelphia alleges that the Cornplaint, and each cause of action

17' alleged therein, is barred as a result ofplaintit`t`s material breaches of the insurance

18 contract at issue

 

19 THIRD AFFIRMATIVE DEFENSE
20 (l.~"ailure of Peri`ormance)
23 3. Defendant Philadetphia alleges that the Corripiaint, and eac'n cause of action

12 alleged tlierein, is barred as a result of claimist failure to perform certain conditions of

23 the insurance policy at issue

 

 

24 FOURTH AFPiRMATl\/'E DEFENSE
25 (Equitable Estoppel)
16 4. Defendartt Philadelphia alleges that plaintiff through her words or conduct,

27 is equitably estopped from asserting the causes of action alleged in the Cornp§airtt.

 

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Pliiladelplria lndemoity lasuranee Comparty’s Answer to Complaim ot`leonifer Witiiers

 

 

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1 F§FTH AFF]RMATI\/’E DEFENSE
g (Failiire to l\/litigare Daniages)
3 5, Defendant Pbiladelphia alleges that the Compiaint, and each cause of action

4 alleged therein, is barred or, alternatively, that plaintiff is not entitled to recover the sums
5 demanded in part or in Whole, doe to plaintifl’s failure to minimize or mitigate the
6 injuries= losses, and damages complained of by taking reasonable measures to avoid such

7 injuriesj losses, and damages, ii` any there Were.

 

3 l SIXTH AFPIRMATl\/’E DEFENSE
9 {Wa§ver)
10 6, Det"endant Philaclelpliia alleges that the Cornplaint, and each cause of action

11 alleged therein, is barred because plaintiff, by her words or conduct, has waived any and

12 all rights against defendant.

 

13 S`EVENTl-§ AFFIRMATIVE DEFENSE
14 (Justiiication)
15 ?. Defendant Philadelphia alleges that the Coinplaint, and each cause of action

 

16 alleged tbere§n, is barred because each and every act of defendant, ofwiiich plaintiff
17 complains, Wasjustif`red, proper, privileged legal, fair, and not done in degradation of the

18 rights or legal interests of plaintiff1

 

19 emma AFF:RMAT§VE DEFENSE
20 (Ratiiication)
21 S_ Defendant Philade]phia alleges that the Coniplaint, and each cause of action

22 alleged therein, is barred by the doctrines oi` ratification and affirmance

 

33 Nli\`f'l“l§ AFFIRE\¢IATIVE DEFENSE
24 (Unclean Hands)
25 9_ Det`endant Philadelphia alleges that the Coniplaint, and each cause of action

26 alleged therein, is barred by the doctrine of unclean hands.
27
28

 

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Philadclpliia lndemnity insurance Company’s Answer to Complaint of §ennit"er Withers

 

 

 

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f TENTH AFFIRMATIVE DEFENSB
g (Discliarge of O‘oligation)
3 l()A l)et`endant Philadelphia alleges that the Complaint, and each cause of action

4 alleged therein, is barred because any duty defendant had under the insurance policy at

 

5 issue has been discharged by operation of latin

 

5 ELEVENTH AFFIRMATl\/E DEFENSE
7 (Policy ri`ernns1 Conditions, Exchisions)
s ll. Plaintift`s claims are subject to the tenns, conditions, provisions,

9 endorsements, liinitations, and exclusions contained in the policy at issue Althoiigh these
itt terms, conditions, provisions endorsements, limitations and exclusions dc not constitute
ll new matter and are not technically affirmative de'l”enses, they are pleaded here out of an

12 abundance of caution

 

13 TWELFTl-l AFFIRMATIVE DEFENSE
14 (Breach oi`l)eties)
15 12. Defendant Philadelphia alleges that the Coniplaint, and each cause of action

16 alleged therein: is barred because plaintiff failed to satisfy her duties after loss as set forth

17 in the policy at issue.

 

13 THIRTEENTH AFFlRl\/LATIVE DEFENSE
19 (Conduct of Thlrd Paities)
30 l3. Plaintit"t"s daniages, if any, were proximately caused by the wrongful

21 conduct of third parties over whom this defendant had right or duty of control ll`o the
22 extent that plaintiffs dantages, if any, were caused or contributed to by these third parties,
23 i this defendant requests that liability be apportioned and fault be allocated among all

24 parties by the court or jury, and that a_iudgrnent or declaration be made in accordance With

 

25 the apportionment of fault

 

 

25 FOURTEENTH AFFIRMATIVE DEFENSE

27 (Datnages Uneertain)

28 la. Plaintit`f"s alleged datnages, if any, are so uncertain and speculative that they
4

 

Piiiladelpliia lndein:oity insurance Contpany*s Answer to Cornpiaint oflennifer Withers

 

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 37 of 135

 

 

 

cannot be proven and she is therefore barred from recovering
FIFTEBNTl-l APFIRMATIVE DEFENSE
(Lachcs)
15. 'l"he doctrine of iaches bars plaintiff from recovering any and ali damages
alleged in the Coinplaint.
SiX'i`EENTl-l AFFIRMATIVE DEFENSE
(Additiooal Ai"t'irrnative Det`enses)
l6. Dei"endant reserves the ri ghi to add to, delete, or modify the affirmative

defenses herein: and to amend the afiimiative defenses to conform to proof at triai.

PRAYER F{}R RELIEF
WHEREFORE, this answering defendant prays as follows;

i. That plaintiif‘take nothing by reason other Cornpiaint, and thatjudgrnent be

rendered in favor ofdefendant;

2. "l`hat the policy at issue be rescinded or reformed in favor of defendant;,
3. That defendant be awarded its costs of suit incurred in defense of this
action; and
4. For such other relief as the Coun deems proper,
DATED: Aogust ld, 2009 NIELSEN, liAI_,lEY & ABBOTT LLP

 

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door tiet.ryo: Defendnnt
PHILADELPHIA lNDEl\/ll\lli V
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q
Philadelp`nia indemnity lnsurance Cornpany’s Answer to Coniplaint of Jennii`er Withers

Page |D #:37

 

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l 1 PROOF OF SERVICE

§\J

JENNIFER WITHERS v. PHILADELPHIA INDEMNITY INSURANCE C()., et al
Los Angcles Superior Court - Central District
Case No. BC 408287

l.,\J

 

l declare that:

'-.!O\U'\-R»

l arn employed in the county of Los Angeles, Calii`ornia, over the age otn eighteen
years, and not a party to the within cause. My business address is 523 West Sixth Strect,
3 Suite 635, Los Angeles; California, 909l4.

9 On Aogust 14= 2009, l served the Within:
10
PHILIDEPHIA INDEMNITY INSURANCE CGMPANY’S ANSWER TO
il COMPLAINT OF JENNIFER WITHERS
l2

BY MAIL on parties in said cause, by placing a true and correct copy thereof enclosed in
a sealed envelope with postage thereon fully prepaid, in the United States mail at Los
Angeles, California, addressed as follows:

l“».}

Keith P_ Simpson, Esqt

16 Law Ofilces ofKeith F. Sirnpsonj APC
1230 Rosecrans Avenue, Suite l70

17 l\/lanhattan Beach, California 90266
Ai‘t‘orneysfor Plainn]j"Jerz.mfer Witlzers

l declare under penalty of perjury nnder the laws of the State of Caliiornia and the
20 United States of Ainerica that the above is true and correct

21 E>;ecuted on August i“’i ,2009 /; / i
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’ " TNSTRUCT§ONS FGR H!LNDLING UNLII'YUTED CIVIL CASES ,
Tbr: following critical provisions of the Chapte: Se\=etr Rolt~.s, as applicable in lite Centrol Distzir;t, ors summarized for your assistance '_
The Chaptcr cheo Rules were effective larmar}= 1, 1994 '1`11&)' apon to ali general civil casco
PRIORITY OVER OTH:ER RULF.S
Tlre Chapter Sovon Rtrtes shall have priority over oil other l_.oooi Rules to too extent tba others are iosmts`rstenr.
CHALL`ENGE TG ASSIGNED JU’DGE

ft challenge under CDde 01`€1\'11 Pr£>©r>durc section 170,6 must be made within 15 days after notion ofmsigmnoot for 311 purposes to
ojuo‘ge_ or 1'1’ a party m not yet appeared, within 15 days of the first appaara.oc:&

W
Casos assigned to the individual Coiendarrng Court will be subject to processing under the iol1owir1g time standards
COMPLAINTS: 1311 complaian shall be served within 60 days of filing and proofofservioe shall be litem within 95 days oftiliog,

CROSS-CO?§‘H’LAI`N'I`S: Witbotrt leave or` court first being obtaioet‘., tro cross-complaint may be filed by any party after their
answer is frlud. Cross~complaiots shall be served within 30 days of‘.ln: fiiiog date and a proof of service filed within 60 days o'."t.`ne
i'tling dotc. .

A Stotos Confcrcztoc wil§ be scheduled by the mignc<i independent Calcodar lodge no later than 279 days after 1112 x"ti`mg ol' tire
complaint Cotmso§ must bn fully prepared to discuss the following issuos: alternative dispute resolution bifure&tion, settinmr:rrt,
trial datc, and expert wime,sses. '

FINAl. STATUS CONFERENCE

Tlrc Cc,un will require the parties at a storm oom"cr:oc,r: nor more tltan 10 days before the tria§ to have timely filed and served atl
motions 111 lim`ro:, bifurcation mot§oos, statements ot`ma_ior evidentiary issues, dispositive motions, requested jury instmr:tior¢s. and
special jury instructions and special jury vortiicts. Tbm matters may be heard aoo resolved at this coofc.rcor:r.. fit least 5 days
before this ooofcrcor.c:, counsel must also howe c:<citattgr>d lists of exhibits and wiL“.-e.ssos and have submitted to the court o brief
statcmesat o!thr: case to be road to thoju.qr panel rs required by Ci~tapter Eight ortho l.os Angcir,.s Sttporior Cmtrt ltules.

S NCTIDNS

Thr» norm will impose appropriate sanctions for tltr-, failure or refusal to comply with Cimptt:r Sevcn Ru`:cs, orders marie by the
Court, aan time standards or deadlines established by the Court or by mchhopter.Se\/oo Rules` Socb sanctions may bn gm a party m
if appropriate on counsel for the party _

'I`bls is not 11 compiete delineatioo of the Cba;)tcr Severz Ru`res, and adherence only to the above provisions is therefore
1101 tr guarantee against the imposition ol` sanctions under T:'ial Cc\trt De§ny Reduotioxt. Carefut reading ood

- compliance with the octrm§ Chopter Rules is absolutely izzrr:n:rrttivol

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AQE DEPARTMENT

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enci, if requested by the penies, assist in seillernenr.

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to sl.irrmionsest ng these services does not negate any responsibili'iy you have to
respond 10 a Surs§r appear at any set court dale See the reve:se side of this sheei for
information on §Fltion process end obtaining legal advice

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Lf\SC Approved

 

 

 

 

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Whalt is the goal of mediation'?

the traditional judge endtor jury system

'rne goal is to assist the parties in reaching a mutuallyi acceptable agreement cr understanding on some or all
oflhe issues The parties jointly become the primary decision maker in now to resolve the issues as opposed to

 

Do l need an attorney for this'?

Whlle il is recommended to have an attorney andtor receive legal advice peters the mediation starts you are
not required to have representation ll you do have an altorrley, t`ne;l may participate in the mediation with your

 

How long does il take?

l:ace»to'tace mediatioas generally last one to three houre. Telephone conciliations, in which the parties do not
meet face to lace, vary horn a leel days to several weeks Much depends on tree number cl parties involved
and the complexities cl the issues Wlten the mediation takes place depends on parties scheduling availability

 

A Medlator helps partiesl ..

¢ ltavo productive discussions

+Avold or break impasses

tr Detuss controversy

t Generate options that have potential lor mutual gain
¢ i_=ieiter understand each clher‘s concerns and goals
<= Pocus on their interests rather than their positions

A lt.t'lediator does not._.

4 Provic'c advice or opinions

¢ Offer legal lntormalion

4 tvta!<e decisions for parties

v Recresent or advocate lot either side
-s Judge or evaluate anyone or anything
e Gonduct research

c ”'t`ai<e Sides”

 

Wha'l does il cos!.'?

The first three hours cl any mediation are iree.
Tnereafter, charges are leased on income or revenue
All lees are waived lot |o‘»v-rncorne individuals

 

Whal is the difference canvass the contractors
listed and the Superior Coort ADR £}f£ice’?

ins services offered by the contractors listed may be
accessed immediatety, those offered by the Superlor
Courl ADR Oit'tce, also a DRPA contractor. may no";
be accessed by parties until a court appearance or at
the direcilve ol thejt.ldge assigned to the casa

 

Legal Aclvloellnformatlcn

ll you want to retain an attornsy, a list ot state
certiHed referral services is al counln§o.ca.oov wnicn
also has an on-line self help legal center

Self-Help Legal Accass Cenlers are at the
|ng|ev.'ooo, Palrndale, F_’ornona, and Van i\.luys

courthouses. nls-|a.org and lang_org

Court Personnel can answer non-legal questions

{torr‘ns, feesj lee waivers), lasuperlorcourt.org

l.ow»income individuals may quality for help lrorn
non~profll legal organizations Court Personne| and
DRPA contractors have such listings

 

 

Dispute Resoiotlon Prograrns Acl (DRPA) Grants Admlnlslralion Ot'lice
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{'r‘he DRP Orttce le not a asperlor Court C.‘tlce. Consull your phone directory to locate the number ot the Cour: Offlct:- en your
sommons.)

 

 

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SUPERlOR CGUR'F OF CAL|FORN|A, CGUNTY Oi: l..DS ANGE§_ES
AbTERNATlVE DISPUTE RESOLU`i'lOi~i lNFORhiATiOi\l PACKAGE
lCRC 3.221 information about Atternallve Dispute Fiesolulion]
`rhe plaintiti shaii servs a copy ot this intorntalicn Paciiage on each detendani along with the complaint lCivii onlyi.
What is ADR:

alternative Dispuls Reso!uiion (ADR) is the term used to describe atl the other options availabie tor settling a dispute which once had to
toe sellied in court ADR processes such as arbitrationE mediationl neutral evaiualion (NE), and settlement conlerences; ere tess lorma|
than a court process and provide opportunities lcr parties to reach an agreement using a problem-solving approacii.

“l`ltero are many dlfterenl kinds oiADR_ hit ct them utilize a “rieulra|”, an impartiai person to decide the case cr heip the parties reach
an agreement

Mecttatlon:

in mediation a neutralperson called a ‘mediator" hetps the parties try to reach a mutually acceptabte restitution ot the dispute The
mediator does not decide the dispute but helps the parties communicate so they can try to settie the dispute themselves lilediaticn
leaves control of the outcome Wilh the parties

Cases tor Which Mediation lviay Be Appropriate

plantation may ca particulariy uselui when parties have a dispute between or among tamily members neighbors or business
partners lttedtaticn is aisd attractive when emotions are getting in the way cl resolution nn effective mediator can hear the
parties out end help them communicate vrilh each other in an attractive and nondeslruct§ve manner.

Cases for Whlch Mer;iiatlon May _lg:_t Bs Appropriata

i.'lediatir)n may not be Etlocliv€ ii Oliel Gt_tl‘t& homes is unwiliing to cooperate or compromise tvtedialicn atsc may not be
effective rt one ci the parties has a significant advantage in power over the other Tltcreiore, it may not be a good choice il the
parties have a history ot abuse or viciirnization.

Arbltration:

in arbitration a neutral person called an "arbiirator" hears arguments and evidence trorn each side and then decides the outcome cl the
disputel Arbitralicn is loss iorrnai than a triai! and inc rules ot evidence arc often relaxed Ar’oitration may be either "binding“ cr
"nonbindirig." Bi`nding arbitration means that the parties waive their right to a trial and agree to accept the arbitrators decision as linai
ivonbr'nding arbitration means that the parties are tree to request a lriai ii they do not accept the arbitrat,;).<S decision

Cases for Which Arbitration May Be Appropr|ale

Arbilraiion is best for cases where the parties want another person to decide the outcome ot their dispute for them but would
iii<e to avoid tire iorrnaiity, times and expense ot a trial, it may also be appropriate tor compiex matters where the parties want a
decisionmaker who has training or experience in the subiect matter ot the dispute

Cases tor Which Arbttrstion May§gt Be Approprlate

ii parties want to retain control over how their dispute is reserved arbitration particularly binding arbitration is not appropriate
in binding arbitrationi the parties generatiy cannot appeal the arbitrators award, even ii it is riot supported by the evidence or
the ta\v. Even in nonbinding arbiirrzttionl ii a party requests a inst and does nol receive a more lavorable result al trial than in
r=rrt:»ilrat'roni there may be penalties

Neulral Evalualion:

in neutral evaluation9 each party gets a chance to present the case to a neutral person called an ”evatualor." Tbe evaluath lhen gives
an opinion on the strengths and weaknesses ol each party’s evidence and arguments and about how the dispute could be resolved The
evaiuator is often an expert in lite sub_iecl matter cl lite dispute Ailhough the evaiuator‘s opinion is not bindings lite parties typicaliy use
it as a basis tor trying fo negotiate a resolution ot the dispute

Cases for Which Neolrai §vatuatlon they fla Approprtate
t\leulral evaluation may be most appropriate in cases in which there are technical issues that require special expertise to
reserve cr the only signincant issue in the case is the amount ct damages

Cases for Whlch Neutrai Evaluatlon May _N_ot Ete Appropriatc
Neuiral evaluation may nol be appropriate when there are significant personal cr emotional barriers lo receiving the dispute

Settiernent Coriferences:

Settiernent conlerences may be either mandatory or voluntary in both types ct settlement conlerencesi ins parties and their attorneys
meet with a iudge or a noutret person called a “settlement otticer“ to discuss possible settlement ct their dispute `rhe lodge cr
settlement officer does not make a decision in the case but assists the parties in evaluating the strengths and weaknesses ot the case
and in negotiating a seillernenl Settterneni commences are appropriate in any case where selliement is an option lrlandatory
settlement conlerenr:es are ellen held close to the date a case is set for trial

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Ctvlt Action Med§ation tGovemeci ivy Code ci Civit Preceaure (CCP) sections i??E»i??§rl§. Cai'riomia §`<uies cr Coiiri. miss 3.85&3.858 ana
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.='arties may select a mediator rieutra§ evaluator, cr arbitrator lrom tire Caart Party Pay Panet or may hire someone privaieiy= at their
discretion li the parties utilize the Prc Borio Madiaticm or Arbltrattan Panel, the parties will be assigned on a random basis the name ct
one neutral who meets the case criteria entered on the courts wabs§te.

COURT ADR PANELS
§=any Pay Panet The Party Pay Parie`: consists cl mediators, neutral eva":uatcrst and arbitrators who have achieved a specified level al
experience in court-connected cases The parties (coltesi'weiy) may be charged S‘BE)D.DS psr hour tar the lrrsl three
hours at hearing lima Therealiari the parties may be charged ior additional hearing time en an hourly basis at rates
estab!ished by the neutral tr the parties consent in writing.

lite Pro Boris Panai consists or‘ trained msdiators, neutral evaluaiors, and arbitrators who have not yet gaines the
experience to qua§ify for tha Party F‘ay F’anei., as wait as experienced neutrats who make themselves available pro
bona as a way c£ supporting tha judicial syste:ri. lt is the pcitc:y at the Caprt that all pro ncaa votunteer mediaiarsr
neutral evatt:ators, amf arbitrators provide three hours hearing time per case. Thereafter, the parties may be charged
for additiaha§ hearing time cri an hourly basis at rates estabiisheci by the neutrat il the parties consent t_rt writing

The market rate far private neutrals can range imm 5300~81.600 pety haur.

Pro Borio Fansl

Pzivais Neu£ral
ADR ASS!STANCE

For assistance regarding PDR, please contact the ADR clerk at the courthouse iri which your case was li!ad.

 

           

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Page 2 05 z

 

 

 

 

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 54 of 135 Page |D #:54

 

 

A?'TORHEY FOR [Nsrne]:

i.‘Al.f.E` AUDRESS`}\HD TELEPHG’\'?: fi‘.Jli.B §§ O: AT?ORNZ“ OR WJ`<WY Wi`il’i't}tJT I\TIGRHE¥: S`¢ATE B)'».§ HU}¢*.EER

 

Rrs¢:.’)l\c! for Ciar)'<`s F.ifc Smrq;i

 

 

SUPERiOR COURT OF CALEFORNIA, COUNTY OF LOS ANGELES

 

 

COUF§TI“§OUEE M}E}RESS:

 

' Pt.¢\is?irr;

 

DEFENDNU:

 

 

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ALTERNATJVE DiSPUTE RESOLU`£"iGN LADR)

C.ASE NUMBER:

 

 

 

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Other ADR F’rocess (descrit)ej:

 

 

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Name cl Party or Allomcy Execulirig Slipu;ation

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Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 55 of 135 Page |D #:55

 

 

 

 

 

 

 

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Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 56 of 135 Page |D #:56

EXHIBIT §

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 57 of 135 Page |D #:57

  

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Mee:`tsca, Pai;r:`tck 2-‘~.., Jr., Esq.
Mesisca Riloy & Kreiteriberg LLP
725 SOt.tth Figtleroa Street, Su.i.l;e 1650

JOHN A. §LABKE, CLEF§"(
LOS A.Tige},e§ CA 9001_7
'i:`>`"t’ AL|SO ALBA, DEF‘U"', r'

SUPER[OR COURT OF CAL¥FORN!A, COUNTY OF LOS ANGELES

 

 

CASE NUMBER
JENN: FE:R wI'rt-IERS
Platmtrr{s}, Bc4 o 3 2 8 7
vs.
PHILADELPHIA INDEMNITY INSUR_ANCE Cot»tPoN NOTICE OF CASE
Detendam{s). MANAGEMENT CONFERENCE

 

 

T() THE I’LAINTH*'F{S)!A'!"¥ORNEY(S) FOR PLAE‘@T]_FF(S) OF RECORI):

You are ordered to serve this notice of hearing on oil parties/attorneys of record forthwithr and meet and confer with all oartiesf
attorneys of record about the matters to he discussed zzo later than 30 days before die Case Managemcot Cottfcrcncc.

Your Case Mauagcmcot Confcrcrtoe has been scheduled for lone 22 2009 at 8:30 am in Dggt. 53 at
ill N. Hill Street, Los Angcics, Caiifomia 90012.

 

Pursuant to California Roles of Court, 3.720-3.730, a completed Case Meoagemerrt Statemcnt {Judicial Counci§ form # Clvi-l lU)
must be filed at ieast 15 calendar days prior to the sz Management Cooference. Tlte Caso Managcmcttt Statcment may bc filed

jointly by all parties/attorneys of record or individually by each partyiattomey of record. You must be famiiiar with the case and be
fully prepared to participate effectively in the Casc Managemcut Coofercnce.

At the Case Managcmeot Confcrertce, the Court may make pretrial orders including the folit:tv~'irtgs but not limited to, an order
35131>3€5`¥11“8 3 dis@°‘lm'i' Sched“le; art order referring the case to Alteroative Dispute Rcsolutiort {ADR)', an order reclassifying the
case; art order dismissing tictitiousiutitiamcd defendants an order setting subsequent conference and the trial date; or other orders
to achieve the goals of the Trial Cout‘t Dclay Rcciuctiorr Act (GC 68600 et scq.)

Noticc is hereby given that if you do not file the Ccs`c Managemeot Statemetu or appear and effectively participate at the Caso
Managcmcrit Conferencc, the Court may impose sanctions pursuant to LASC Local Rule 7t13, CCP Se}_;r\,io s’[?§?. 575.2, 583. 1501
583\360 and 583.41{}, GC Seczion 686{)8 (b), and Califcnzia Rules of Court 2.2 ct seq. ,/;t ,»z;;`;” /1_/]')/2 l '

>/,»; Y/-*C't:/ ‘,=»~ w~“~"z¢'?' t _.

(’ material officer

JOHN P.
cEercA't‘E or somers SHO‘°K' "HDGE
'[, the below named B)tecotive Off`tcerlClerk of thc above-erstitied court, do hereby certify that l am not a party to tire cause hercin,
cord/det on this dale I served the biotics of Case Mattagement Conferettcc upoo each party or econse] named above:
b

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Date: Februar'v 27, 2009

 

y depositing iii the Unitcd States mail at the courthouse in l,os Aogeies, Califoi'ttia, one copy of the original filed height i;t a
separate geared envelope to each address as sirown above with postage thereon fuiiy prepaid

§ 1 by pcrson§liy giving the party notice upon filing the complaint

Date: Fei)mgijif‘ 27, 2009 lohn A. Clarke, Eito utiye__

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§‘_t by

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Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 58 of 135 Page |D #:58

EXHIBH` J

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 59 of 135 Page |D #:59

   

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725 S. Figtleroa St., Suite 1650 __ `
s rios negates cs soon lite et ?-.lllll%
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5 F;et. (213) 623~6600 “?HY* '“;C .. KE§PEEM
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[Assigned to the Hon. John P. Si'toolr, Dept.
12 Plaintii`r", 533
13 VS
' PEREMPH)RY CHALLENGE §
14 PHtLADeLPntA iNonttNrrY JNSURANCE PURSUAN'! TG C-C-P~ SECTIGN 179-6 t

15 COMPANY, a Pennsylvania Corporetion; CPH & , AND DLCLARATION OF MIKE N. VO
ASSOCIATES, lNC. an illinois Corporation; CPH
16 & ASSOCIATES, INSURANCB AGENCY, INC.;
CPH 6a ASSOCIATES, LLC; and Does 1 through
17 25, inClUSiVB,

1 3 Defendants.

 

TO THE HONORABLE IOHN P. Si~iOUK:

Tllc attorneys for plaintiff JENNIFER WJTHERS in the above omitted matter hereby move that
the trial of the above omitted niarter, Which involves a contested issue of law and/or face and which
has been assigned to the Honorai)le lohn P. Shook of the above entitled court, be reassigned from that
Jtidge, and that no matters hereinafter arising in this case be heard on the ground that said lodge is

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prejudiced against plaintiff5 her attorneys in this action, or in the interests of plaintiff
2 6 t;:

": This motion is based on the matters contained herein, on Code of Civil Procedure Section l?(l.o
2 7 "

`l . A
a;id the supporting Deelaration of Mike N. Vo, attached hereto and filed herewrih.
2 o ;.,
§§§ WHEREFORE, plaintiff prays for the relief herein requested be granted

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PEREMPTORY CHALLENGE

 

 

 

 

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 60 of 135 Page |D #:60

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Deted: Mai'ch 3, 2009

 

 

MESISCA R`_[LEY & K_REITENBERG L§,P

By; §
PATRICK A. MESISCA, ]R.
DEN_N§S P. R§LEY
MEKE N. VO

Attorneys for Platntiff,
Jennifer Withers

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PEREMPTORY CHALLENGE

 

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 61 of 135 Page |D #:61

   

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3 l, l\diko N_ Vo, declare ae follo\v»§".~:.‘l

4 ';. l arn an attorney licensed to practice before all courts of the State of California and arn §

5 an associate of the Law Firrn of Mesisea, Riley & l(.reitenberg, attorneys of record for plaintiff Jennir"er §

6 Withers. The facts set forth herein are true of my own personal knowledge and if called upon to testify §

7 thereto, l could and would competently do ao under oath,

53 2. Tlre §~lonora`ole Jolin P. Shool~;, the lodge before whom the trial ofthe above-referenced §

9 action has been assigned is prejudiced against the patty, the party` s attorney or the niterest of the party §
10 so that plaintiff believes that she cannot have a fair and impartial trial before snell Judge. §
11 l declare under penalty of perjury under the laws of the §`>tate of Callfomia that the foregoing is §
12 true and correct Executed on Marclt 3, 2009, at Los Angeles, Califoniia. '
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Case 2:09-CV-O6O71-CAS-P.]W Document 1 Filed 08/19/09 Page 62 of 135 Page |D #:62

EXHIBH` K

Case 2:09-CV-O6O71-CAS-P.]W Document 1 Filed 08/19/09 Page 63 of 135 Page |D #:63

   

SUPER|OR COURT OF CA§_|FORN|A, C{)UNTY OF LGS ANGELES §§ l

earn 03/05/09 I)EPT. 53 mt

nelsoth JOHN P. SHOOK moon B. JEW new-ry CLBR;;

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6:30 am BC408267 name
- emma NO APPEARANCES
JENNIFER WITHERS
VS Dcfendam
PHILADELPHIA ENDEMNITY INSURANC Counscl
CGMPANY ET AL

 

 

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NA’I`URE OF PR(}CEED]NGS:

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nfl PEREMPTORY CHALLENGE ---

mw n peremptory challenge under Seotion 170.6 of the Code
of Civil Procedure was filed herein on 3»4~09 against
HC‘ dodge John Shook by the plaintiff. tom

The Conrt finds that it was timely filed, in proper
“~ format, and it is accepted. -a

 

The case is ordered transferred to Department 0ne for
re-aseignment.

The case management conference set 6»22-09 is advanced
to this date and vacated.

cLERK‘S CERTIFICATE on MAILING/ _ z
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I, the below named Exeoutlve Officer/Clerk of the
above~entitled oonrt, do hereby certify that l am not
a party to the Cause herein, and that this date I
served Notice of Entry of the above minute order of

3-5~09 upon plaintiff‘e counsel named below by ,H
depositing in the United Statee mail at the Conrehonee *“”
in Loe Angeles, California, one copy of the

original entered herein in a aeparate eealed envelope um
afor each, addressed as ehown below with the postage “"
§thereon fully prepaid.

 

‘§Daz:e= 3-5»09

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Page l Of 2 DE`}P'I'. 53 03/05/09 `

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Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 64 of 135 Page |D #:64

   

 

 

 

 

 

 

 

 

 

 

 

SUPERl{)R COURT OF CAL§FORN!A. COUNTY OF LOS ANGELES
DATI-;: 03/05/09 DEI’I‘. 53 "'”;
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HONORABLE JOHN P . SHOOK mesa B . JEW seven claim §§
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Connscl NO APPE§ARANCES
JEN'NI FER WITHERS
VS Dct'cndzm
PHILADELPHIA IN'BEMNI TY ENSURANC Counsel
COMPANY ET AL
NATURE OF PRCCEEDINGS:
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Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 65 of 135 Page |D #:65

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SUPER!OR CCURT OF CALIFGF\‘N¥A, CGUNTY OF LOS ANGE?_ES

 

 

 

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§oNoRABLs zeoospnorsmi caschoNH:RECORDnKsMoNnoR
' Depury sheriff NONE R¢p<mer

lO:&S am BC408287 mama NO APPEARANCES

Cc:.\nsel
JENNIFER WI'I`HERS
Defendam
VS €ounscl
PHILP.DELPHIA INDEMNITY INSUR.ANC
CGMPANY ET AL

 

 

 

NATURE GF PROCEEDINGS:
170.6 CCP RE-ASSIGNMENT

Good cause appearing and on order of the Conrt, the
above matter is reassigned from Department 53, Judge
John P. Shook to Department 34, Judge Amy D. Hogue
for all further proceedings.

If any appearing party has not yet exercised

a peremptory challenge under 170.6 CCP, peremptory
challenges by them to the newly assigned judge must be
timely filed within the 10 day period specified in
Seceion 170 6 CCP, with extensions of time pursuant

to CCP 1013 if service is by mail. Previously non~
appearing parties, if any, have a lB~day statutory
period from first appearance to file a peremptory
challenge (68616{1) Govt. Code).

Moving party to give notice.

CLERK*S CERTIFECATE OF MAILING/
NOTICE OF ENTRY OF GRDER

I, the below named Executive Officer/Clerk of the
above-entitled court, do hereby certify that 1 am not
a party to the cause herein, and that this date l
served Notioe of Entry of the above minute order of
3-13~2009 upon each party or counsel named below by
depositing in the United States mail et the courthouse
in Los Angeles, California, one copy of the

original entered herein in a separate sealed envelope

 

 

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SUPEF{¥OR COURT OF CAL¥FORN¥A, COUNTY OF LGS ANGELES

 

 

 

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PHII.LADELPHIA INBEMNITY INSURANC
COMPANY ET AL

 

 

NATURE OF PROCEE[}[NGS:

for each, addressed as shown below with the postage
thereon fully prepaid.

Date: March 13, 2009

John A. Clarke, Execotive Officer/Clerk

By: /MAa/W/

MESISCA RILE¥ a KREITENBERG
AT'I'N: Mi}<‘.e N. VO

725 S. Figueroa St., Ste. 1659
Los Angeles, CA. 90017

 

 

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Page 2 of 2 oEPT. i 03/13/09
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Case 2:09-CV-O6O71-CAS-P.]W Document 1 Filed 08/19/09 Page 68 of 135 Page |D #:68

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Case 2:09-CV-O6O71-CAS-P.]W Document 1 Filed 08/19/09 Page 69 of 135 Page |D #:69

   

NO'§`§CE SEN'I` 'I`O: : "£'L§'§.: `

Mesisca, Patrick A., Jr., Esq. g o
Mesiaca Riley & Kreitenberg LLP Mb `3 %mg
725 Sooth Figoeroa Screet, Suite 1650
Loe Angeles CA 90017

SUPER!OR COURT UF CAL[FORN[A, COUNTY ClF LOS ANGELES

 

 

CASE NUMBER
JeNN-: ear mTHeas
Plaimiff{o, acq o 32 8 7
vS. 1
PaILAoELPniA INosMN:rY laetaal\ice cowan NOTECE OF CASE
nominee MANAGEMENT CONFERENCE

 

 

TO THE PLAINTIFF{S)fATTORNEY(S] FOR PLAIN'§`IFF(S) OF RECORD:

Yoo age ordered m serve this police cf hearing on 311 parciesfallomcys of record forthwith and meet and confer wilt all panies/
atcomcys o§ record odom mc moneys lo bc discussed no laxcr than 313 days before €he Casc Monagemem Com‘ercncc,

Your Cz=§c Managcmem Confercnce has been scheduled for june 2. 2999 az S:’:IU am 111 Dcoz. 34 m
111 N. Hi11 Slreel, Los Angcles, Californie 90(}12.

Pursoam lo Califon)ia Rolc:s of Coun, 3.?20-3.?3{§, a complelccl Case Management Sia:cmeot (§cdlcial Cooncil form # CM-l EU)
must be med az least 15 calendar days prior to lhe Cast Managemom Conference. Thc Caso Managemem Staiemem may be filed
joinily by all particsfattom~:ys of record or individually by each party/attorney of record Yoa most be familiar wild fhc case and ha
fully pzeoa:eo to participate effectively in me Case Mzmagemem Conferencc.

Al the Case Managemcm Confereoce, mo Coun may make pretrial orders including the following but nol limited zo, an order

establishing a discovery schedule an order referring the case to Alf.ernallve Dispute Rcsolu€ion {ADR); an order reclassifying the

CHSQ§ an Q;(jer dismissing f,clillousfunnamed defendams; an order Sert`mg subsequent conference and thc Lrial date; or other orders

to achieve ihc goals o;" the '1`:131 Courl Dciey Rcduclior‘. Acl {GC 6860(1 el scq.} ‘

Noncc is hereby given lhal if you do nor file 1113 Cesc Managcmem Slatcmom or appear and effeclively partici aec al 1116 Case
Maaagemcm Confercncc, the Coon may impose sanctions pursuant to LASC local Ru§e 7.13, P Se¢;jgp,s § _
533.36(} and 583,¢110, GC Scction 686(18 (o), and C'alifornie Rulcs of Courl 2.2 et seq. ` : '

 
 
     
    

Da[c: Marc`n 23. 2009 § "h "-.-`a...
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and fear on 11115 dale 1 acrch icc Nozlce of Casc Managcmem Coni`erence upon each party or counsel named above

[ y dcposiiing in the {,Jnited Slares mail al the courthouse in Los Aogclcs, Califomia, one copy of the original filed hereio in a
separalc sealed envelope to each address as shown above with postage thereon fully prepaidl

l l by personally giving alia party notice open l`a§iog the complaint

Datc: March 33 2099 lolm A. Clarke, E.x%t'wc CZ‘:\<:@:/Clerk
by / -l> , Dc;)uly Clerk

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Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 70 of 135 Page |D #:70

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N!C-051

 

 

f-»TTORNEY Dii PAR“FY W|T‘HOL}T AF¥DRNEY memo sta e bar numbe.£ end address

Patrick A. Mestsca, Jr. (State Bar tit 957`7`95)
~ Mesisco, Riley & K_reitenbcrg, LLP
725 South Figueroa Street, Suite 1650
Los Angcles, CA 90017
reter=itorte No_:(;_) ] 3) 623-2300 FA>t Ho.: (2]3) 623‘6600
rrrortrrerroamm):.iennifer Withers. Piaint§ff
NAt.tE DF CCt;'RT' SUFEREOR CGURT OF CALIFGRNIA, COUNT\' O'F LOS ANGELES

ernest ripeness ] 1 l N()I‘£i"i Hili Si.rt’:€t
waiting imposes l i ] NOt'iii Hiii Sfr€€l
ctt'Y nnozlr= coors LGS Ang€ie$ 900i2»30 § 4

sometime Centreti District Brancii

 

 

 

CASE NL‘MHER

 

CASE NAME‘
BC€GSQS?
.lenrnter Withers vs. Phtloctelphttt indemnity lns. etc. et at. HM,NG mg May tr 5 2009
t~tortce or norton AND Mortott 9€'”-=34 r\»tE-313U a-m-
TO BE REL|EVED AS BEFORE Hoit- Amy D_ HOgtl€
COUNS§L-_Civii.. mrs norton rlt.ED‘ F€bt“l)f:tl'y 23, 2009

 

mine ;)ATE. NG;§€

 

 

 

TO memo and address of ctient): jennifer Wititcrs
Et Tyne Street, island Bey, Wellington, New Zeatand

PLEASE TAKE NOT|C.E that theme ofwirhdt'éw"ft§ H=‘!Omcylri\/tesisca Ritey & Kreiteoberg L.Li‘ / Patrick A. Mesisca: trK
moves under Catitornia Code of Civt§ F'rocedure section 284(2) and Ca|i.fornia Rules of Coort, rule 3113§2, tot on order permitting

the attorney to be relieved as attorney ot record in this action or proceeding

‘l.

2 A hearing on this motion to oe relieved as eounse§ will tie heio‘ as io|lowc:

 

 

a. Date: May ii , 2009 Time: 330 a.ttt. Dept.: 34 Room:

 

 

b, Ttre address of the court § X | same as noted above t other tspecr`fy):

`t'h§s motion is supported by the accompanying decicration, the papers and records filed in this action or proceeding and
the following additional documents or evidence {spect'fy,l;

 

m 'o *_-.¢ :n n

§§ 3 3 2 3

m § m m \

~ -=: =>_' -o -o §

(Th!s motion does not need to tie accompanied by a memorandum of points end authorities Cet. Rutes§f §ot£stn:'r)f§$.`.i IM.`}* W

=o :o» m m " :""." f "

ftl The client presently represented by the attorney is 53 § 55 § § n §

a. §§ an individuat. g. [:| a trustee " g § § §

b. a corporation h. [:] a personal representative Q~ g §§

~|7-\

c. a partnership i. i::] a probate fiduciary 52 3 § rr;l

d. [:l art unincorporated association j. t a guardian ad titern. 3 §§ § §

e. |:: aguardian. k. __i other (spocify): r»_-n en §

I,F‘,`E:i a conservator : 5-‘

§ .) C: L,ri
= o
=::j "° §
§§ (Continued on reversal hon 1 w 2
Form Acoptad|or biasrioto'y_tise NOTJCE OF MOT§QN AND MOT;ON Coceoit$=v:l!°'oc,cdcre,§.?od;
.:‘t.t t" ‘ l l ' f . u§o ‘;

‘“a§°°““°‘° °‘"’“°'“” ro ore nettevoo ns cooNst;-'L~».~ctvtt °a‘ R“`°’££§Z.frnair§§€

MC»D$t LRovi Jar‘.oarg 1. 2007]
££xiri\'c:i.r® Airlomoieo‘ Caig[on:ro Jun'rct`o! C`ozmci! Fomis

 

CaSe 2:OQ-cV-06071-CAS-PJW Document 1 Filed 08/19/09 Page 72 of 135 Page |D #:72

`. ‘W,`<~ ,_)`¢

   

NIC~DS‘l

 

C.ASE NAME: CASE NUMBER
m lonnifer Withers vs. Phitadclphia indemnity lns. ctc. et ai. BC40828?

 

 

 

 

NCTJCE `E`G CL!ENT

if this motion to too relieved as counsei is granted your present attorney witt no longer tate representing you. You
may not tn most cases represent yourself lt you are one ot the parties on the foitowing fist

- A guardian - A personai representative - A guardian ad litem
- A conservator ¢ A probate §dociary t An unincorporated association
- A trustee - A corporation

ii you are one of these parties, YOU SHOULD lMMEDlATELY SEEK LEGA$_ ADVlCE REGARDING LEGAL
REPRESENTATLON. Faiiure to retain an attorney may lead to an order striking thc pieadings or to the entry of a
defautt}udgment.

 

 

5. it this motion is granted end a client is representing himse§t or herself\ the client witt be soiely responsible for the case

 

NOT|CE TO CE.IENT WI'“EO WILL BE UNREPRESENTED

if this motion to be relieved as counsel is granted you witt not have an attorney representing you. You may wish to
seek tegat assistance tf you do not have a new anomey to represent you in this action or proceedian and you are
legally permitted to do so, you will he representing yourself it will be your responsibitity to comply with all court
rules and applicable tavvs. if you fait to do so, or fall to appear at hearings action may be taken against you. You may
lose your caso.

 

 

 

B_ lt this motion is granted the client most keep the court intorrned ot the orient-s current address

 

NOT!CE TO CLtENT WHO WILL BE UNREPRESENTEE)
if this motion to be retieved as counsel ts granted, the court needs to know how to contact you. |f you do not keep the
court and other parties informed of your current address and telephone number, they witt not be able to send you
notices of actions that may affect you, including actions that may adversely affect your interests or result ln your
losing the case.

 

 

 

Date: M&fch 26, 2009

Potrick A. Mesisca, Jr. g

(TYFE 03 PRiNT ltAME§ (SlGNA`>'tJRE GF i‘\TfDRHEYl

Attorney for rnsme}: Jcnnt'fcr thhcrs

 

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i-' »1

ti £>

rter rie- e"~rvi~ wl notice or notion reno norton rader
TO BE RELiEVI.-`.D AS COUNSEL»-Cl\!f!_

chisr\=lcxr's® Auromatsd' Calr`fomio Judicio} C`ourrr:ii ?~"crms

 

CaSe ZMOGOzl-CAS-PJW Document 1 Filed 08/19/09 Page 73 of 135 Page |D #:73

§

   

EHJED

1 PATRJCK A. MES[SCA, JR. (SBN #057795) mg ANQELBS sUPERIOR CO:JRT
MESISCA, RILEY & KREITENBERG LLP

3 ?25 S. Figuerc)a St., Suitc 1656 {-‘§AR 2 GZUUQ
L<)S Angeles, CA 900) 7

3 m c2131523-2300 JO£§M@§WK

4 pax §2§5) 623`6600 BY mm FLEUE cLA "c`)?~) D§Puw

Attomey for Plaimif`f, J§NNIFER `WI'I`HERS

6 SUPERIGR COURT FOR THE STATE {}F CAL!§*`{)RNIA
7 FOR'I`HE COUNTY OF L{)S ANGELES
3
9 JENNJFER WI'§"E*IERS, an individua§, Case No.: BC 408287
[Assigne€§ to 316 HOH. Amy D. Hogue,
ZO PEaintiff`, Uepartmem 34]
il vs. PROGF OF SERVICE`, RE MOT!OT\" "f`O

BE RELIEVED AS COUNSEL FOR
ii PHl]_.ADELP§-HA INDEMNITY iNSURANCE JENN{FER WITHERS

COMPANY, a Pennsylvania C<)rp<)ration; CPH
13 & ASSOCIA'§`ES, INC. an I§§inois Corporation; D&te; May li 2099
CPH & ASSOCIATES, INSURANCE Time_ 3_30 a l’n

!4 AGENCY, §NC.; CPH & ASSOC!ATI:`;S, L§.C; " ' ` '
and Doss I through 25, inclusive} D@P¥‘ 34

Dcr"endams.

 

 

 

 

 

 

i;* _1“

 

'L’ PROOF OF SERVICE RE MO'I_`IGN '§`Q BE RELIHVEI} AS COUNSEL F`()R
PLAINTIFF JENNIFER WITHERS

 

____Qa_se_2:o9_-_ey;oeo71_-_c/ss-__F_>_,va Documentl _F_iled__o_S/_l_Q/OQ Paoe 74 Ot135 PQQ_Q__'D #1_?4

n
.,¢

   

t DECLARATZON Oi? PA'PR]CK A. MESZSCA.JR.

2 l, the undersigned declaz‘e as follows:

a l. 1 arn an attorney duly ticensed to practice before this court and attorney Oi` record
4 for the Piaintit`f named in this action l am personally familiar with the facts set forth herein and
5 if called upon as a witness to testify as to these facts, cottid and wonid competently so testify as

6 to these facts, except as to those facts ofwhich t am informed and beit`eve are true

? 2. i last had contact with Piaintit`fjennifer Withers on March 2(}, 2809, in my office at ?25
3 South Figueroa Strec!, Suite E650 Los Angeies, CA 90017. Duririg the time of representing Ms.

9 Withers, she informed me that her home address is 21 Tyne Street, island Bay, Wellington New

Zealand, which to my knowledge had not changed as of March 20, 2009. in addition, during the

19

ll time l have represented Ms. Withers we have Cotnntenicated extensively through e-mail with her
q long-time e-mail address ofM@};aigggegg,

in 3, Gn Marcit 26, 2009, l served the following documents on Plaintit`f Jennifer Withers:

g (a) Notice of Motion and Motion to be Retieved as Cout;sel - Civil;

w (b) Deciaration of Patrick A. Mesisca Jr. in Support of Attorney’s Motion to
§§ se seemed as counset -» Civn; ana

16 {c) {Proposedi ()rder Gz'anting Attorney’s Motion to Bc Relieved as Counse!
17 - Civil.

13 4. l served the foregoing documents on Plaintiffjennit`er Withers by piacing a true and

39 correct copy tltereot`, enclosed in a sealed en\'elope, addressed as follows:

Jennifer Withers

 

 

 

 

20
w 21 Tync Strcet
Island Bay, Wellington I\"ew Zealand
22
23
5. l placed such envelope Jfor deposit in the U. S. Maii For service by the United States
24 .
Postal Service, with postage thereupon fully prepaid
25

M’)-

 

PROOF OF SERVICE RE MOTION T€) BE. RELIEVED AS C(}UNSEL FOR l
P¥_.AINTJFF JENNIFER WITHERS

 

*J

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 75 of 135 Page |D__#:75

 

 

 

 

   

6_ in addition to serving the foregoing papers via U.S. Mail, l also e-rnailed a pdfofthe
foregoing documents to .lennit`er Withers at her e-mail address of kinesisOOTl{al$ahoo.com on the
same date Attached hereto as Exhibit “A” is a tree and correct copy of the e~rnail

correspondence forwarding the documents

l deciare under penalty of perjury pursuant to the laws of the Stete of Califo:'nia that the

foregoing is tree and correct

DA'§`ED: Marcit 26, 2009

 

PatricI-< A. Mesisca, .lrk

_3_ -

PROOF OF SERVICE RE MOTION TG BE RELIEVED AS COUNSEL FOR
PLAINTIFF JESNNIFER WITHERS

 

 

___ sess 2309-ev-O€O?_t_-_sa$-E§vv

 

   

 

 

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"j §§ éé§aa

 

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_(;ase 2:QS_9_;_C\L;06071_<Q\S-P.]W Document 1 Filed 08/19/09 Page 77 of 135 Page |D #:77

Page l ot`l

   

Patriek Mesisca

From: Pa‘trick Mesisca

Sent: `i'hurso'ay_ Marott 26, 2099 l:i? Pl\)l
'ro; ‘kinoslsOG?@yanoo.com‘

Ce: Patrick Nlesisca

Sobject: Motton to Be Re£ieveo as Coonset

Attachments: Notica of Motion (tvtct<inniss},pdf; Dec!aration (McKtooniss).pdi; Order (Mct<lnniss).odt; Notice

§§ Motioo (Phil lns).pcit'; {)ecleration (Pnii lns)_pof; C>roer (Phil los),pof; Work & income
,lQ.OQ.pdl'

Ms. Withers »
Please find attached to this e-mait the documents related to lite motions to be relieved as counsel of record

in the case of Wittters v_ trickinniss, Case No. BC¢‘.OBBO¢, please tino' attached lite following
{t} Not§ce ot friction and t\!lotiorz to be Re!ieved as Counse|;

{2} Deolaration in Suoport of Notiee ot lvlotion and Motion to be Relieved as Coonset; and
(3) [Proposed} Ordet Granting Molion to be Relievod as Counsel.

initio case of Withers vi Phitade|phla lndern lns., Cose No_ BC40828?, please lino attached the following
(i) l\lotice of Motlort and tactics to be Reiieved as Counse|;

(2) Declaratlon in Suoport of Notlce of Motion and Niotion to be Reiieved as Counsel; and

(3] [Proposedl Order Graoting Motion to be Relieved as Coortsel.

As we have previously advised you, your files remain in our office and are available for you to pick op. if you
would prefer, upon your dlroction, we will arrange for the files to be forwarded lo a location ot' your choosing

i.astly, zant attaching a copy of the letter you requested regarding your time away lrorn New Zeolancl.

PATRZCK A. MESISCA, JR.
Mesisca, Riley & l<'_reitenberg, LLP
725 Sonth Figueroa St_, Suite ioin
Los Angeics, CA 90017

Tel: 2i3.623.2300 xZ(iZ

Fax: 213.623.6600

”l`he information contained in this e-rnail communication is privileged and confidential This e-mail is intended only for the
use ol` the individual to whom it is addressed If the reader of this c-mail is not the intended recipient or the employee or
agent responsible for delivering this e-rnail to the intended reetpient, you are hereby notified that any dissemination,
distribution or copying oftht`s e~t'naii is strictiy prohibited It` you have received this e-mail in error, please notify ns
immediately and return tire e-mail to ns at such entail address You should destroy any hard copies of this e-mail and delete
it from your c-mail system

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'i:gi

 

 

MC-GSZ

 

ATTORNE'?' 03 FAR`P!‘ \¢‘\.:ITHOUT AT'¥GHNEY mims 533{6 D»B.' numb€.-’, 89?&!£1!&$5}:

Patrick A. Mesisca, Jr. (State Bar # 05'?7
Mesisca, Rilcy & Kreitenberg, LLP
725 South Figueroa Street, Stii`te 1650
Los An_t;eles, CA 900! 7
TELEPHoHEtio.:(Q] 3) 623-2390 i-'i=t)t tro (2§3) 623..66()0
sweeney sort weiner .}CIH`tlf€r Wi'£h€r§, Pi&l!t‘[tff

FOR COL'R i' U$E DNL Y

HE,ED

I_,OS ANGELES SUPBRIOR COURT

 

waste ol= courtr' SUPER§OR COU R'[` OF CAL[I"O RNIA, CG§iNTY Oi-` i..OS ANGELE.S
sr_=ii;s'rsooness~ l l 1 N{Jt'lh Hi]i Str€€f B‘i
witin success il l i\lorth Hili Strcet
city into z_ir> cone I_.OS AHg€]ES 90012-3@¥4
crown HMiE’ Ceritt'al District Brancii

 

 

sss NAME; . . . . .
C _lennifer Withcrs vs. Philadcipitta indemnity lns. etc. et al

CAS€ NUM‘BER;

BC408287

 

DECLARAT|ON iii SUPPORT DF AT|'ORNEY‘S
MOT|ON 'l'O BE RELEEVED AS COUNSEL-~CIVIL

accepts oATs;May § ]s 2009

oEPr.: 34 rinE:S:30 a.m.
aeronsirou -Amy D_ Hggu@

ante norton .=rtsi).-Febma_t'y 23J 2009

 

 

 

TRLAL DATE:

 

t, Attorney and Ftepreseriteci Party. Attorriey (riama): Mesisca Ritey & Kreitenbcrg LLP i' Patrick A. Mesisca, .ir,

is presently counsel of record for ¢'narrie of pariy):_]gnnifer thhers’ P]aimjff
in the above-captioned action or proceeding

2. Reasorts for Motion. Attorney makes this motion to be relieved as counsel under Co
ot thing a consent under section 28-4{1) for the toltowiiig reasons tdcscn`bei:

13 Continued on Attachment 2_

3. Servir:e
a. Attoi'ney has

de of Civtl Procedure section 254(2) instead

(1) § l personally served the client with copies ol the motion papers filed with this declaration A copy ot the proof of service

will ce filed with the court et least 5 days before the hearing
(2) ;:_i served the client by mail al the clients last known address with copies o

f the motion papers served with this declaration

b. litho client has been served by mail at the clients last known address attorney has

(1) §§ conhrrrted within the past 30 days that the address is current
(a) [:} by mai|. return receipt requested
(b)- by telephonel
(c) by conversation
(d} [::] by other means (speci't§v):

'A_i (Conu`nued on reverse)

 

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r=ggd¢g§;r;m,ig,=gz;tzgn§“ accusation tit summer oi= Ai'roaitey‘s g;;=;gjg;i;§yr;g;$§£
1415-952 ER°~' emery 1-2907| MOT|ON TG BE RELIEVED AS CGUNSEL~»-Ct\!ii_ ' ` summariequ

Lefr`si\'e.t‘!`.i® downward Ca]ybrm'i'.i Jua'icr`cl! t',`ounci'! Form_r

 

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 79 of 135 Page |D #:79

¢¢;" ;\

   

hdc-052

 

CASE NAME: case housed

 

Jonni{er Withers vs. Phiiadeiphia indemnity ins. etc. et ai BC40828'1'

 

 

3, b_ (2} [::| been unable to confirm that the address is current or to locate a more current address for the client after making the
following eftods:

(a) § mailing the motion papers to the ctient‘s last known address return receipt requested
(b} :} calling the clients last known tetephone number or numbers

{L;) |:] contacting persons familiarwith the client (specify}:

{d) i:i conducting e search {describe}:

{e) i:§ other (specify):

c, Even if attorney has been unable to serve the client with the moving papers the court should grant attorneys motion m be
relieved as counsel of record (axpiain):

4. 'l"he next hearing scheduled in this action or proceeding

a. |:] is not yet set
b. is sat as fottows {spec!fythe dete, time and placo):CMC lone 2, 2009 8:3(} a.m. Dept. 34 .LASC

ct [:3 concerns fdascn`oe tire subject matter or' the nean‘ng,l:

:] Continoeo on Attacnment 4.

5. The following additional hearings and other proceedings (inc|uding discovery matters] are presenity scheduled in this case {for each,
describe the da!e, time, place, end subject matterj‘:

Pursuant to Caiifomia Ruies of Court, Ru§e 3.t lO(b) service of the complaint must be served within 60 days
OI" filing the complaint

[::i Continued on Attachment 5.
B. Triat in this action or proceeding
e. §§ is not yet set.
b. § is set as follows {speoi'fy the date, time and place,i:

7, Othar. Other matters that the court should consider in determining whether to grant this motion are the following {explain);

  
      

l declare under penalty of peziury under the laws of the State of Caiifo lai
Date;MaFCh 26, 2099

ithe foregoing is true

t ,» Patrick A. Mesisca, J;".
‘ {T`YPE GR PRJNT NAME] ` {SlGNATURE GF-` D}.'.GU\H.ANW

l ,.1
B. Nunjber of pages attached §

 

 

M=“=iz€li""-M&’v‘-Ml DECLARATloN us SuPPc)R'r oF ATTORNEY'B P*‘S°‘*’ °"
morton To BE RELiEon ns couNSEL--c:tvu.

Lexisf\'exis® .éu!ommed Cofiformcr Jod¢':~ioi C.`¢runcrf Forms

 

 

tr

Case 2:09-CV-06071-CAS-P.]W Doc_gment 1 F!e_d _QS_/lQ/NQMQWP_ageWE_BWQuOf 135 Page |D #:80

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Attachrnents

Attachment 2

a. The grounds for withdrawal are as foiiows:

l) A conflict of interest has developed between the attorney and ciient necessitating tire
attorneys immediate withdrawal;

2) A breakdown in communication between attorney and client renders it necessary for the
attorney to immediately withdraw; (Rule of Pro§essionai Conduct 3»’700(€){6).

3) Further grounds f`or withdrawal exist which witt be disclosed to the court in camera by
supplementation of this motion, under seal, in any hearing conducted before this court or as
otherwise required by this court;

b. There is no prejudice to Piaintift° by the granting ot` this ntotion.

c. Tl'ris action was iiied on February 23, 2009.

d. On March 20J 2009 Mesisca Riiey & i~’.reitcnl:)erg3 LLP provided Ms. Withers, in
person, with an explanation, in writing, concerning it’s intent to withdraw, its reasons for
witlidrawat, and recommending that Ms. Withers promptly seek legal counsei it site
intended to continue with the lawsuit Mesisca Rjicy & Kreitenber LLP presented Ms.
Withers, in person, a Substitution of Attorney For'm and requested Ms. Withers to sign the
Sobstitution of Attorney Form but Ms. Withers refused, necessitating this motion

e. On iviarch 24, 2009 Mesisca leey & Kreitenberg, LLP sent Ms. Withers written
notification that on iviarch 24, 2009 all client papers belonging to Ms. Withers in the
possession of Mcsisca Riley & Kreitenberg, LLP were available to her to be picked np.

f. fn the intervening time between iviarch 20, 2009 and March 24, 2009, a period of two
{2) business days, Mesisca Riley & Kreitenberg, LLP arranged, at its expense, to photocopy
the documents belonging to Ms. Withers consenting this case. (Rule of Prot"essional
Conduct 3 -700{€)(6)).

g. Mesisca Riley & Kreitenberg, LLP was retained by Ms. Withers pursuant to a
contingency fee arrangement

h_ Mesisca Riley & Kneitenberg5 LLP has not charged any fee for its services;

i. Mesisca Riley & Kreitenberg, LLP does not intend to charge a fee for its services or
costs and expenses incurred in this matter on the client’s behalt`, nor will Mesisoa Rtley &
Krcitenberg, LLP assert any lien in this matter for the recovery of attorney’s fees

j. Mesisca Riiey & Kreitenberg, LLP has taken steps to avoid prcg`udice to the client prior
to withdrawing including requesting that this court Stay the matter pursuant ot C.C.P.
Section 285.3 and extend the time in which to serve the defendants and tile proofs of
service with the court pursuant to Califomia Rules of Court Rule 3.] lt}(e);

k, Mesisca Riley & Kreitenberg, LLP has not delayed in seeking a formal order of
withdrawal in this matter.

t. Piaintiit" will not suffer any prejudice by this order shortening time as upon granting this
motion The action has been pending for iess than thirty~tive (35`) days, no service of
process has taken place There has been no discovery and no appearances before this court

 

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EXHIBH` ()

Case 2:09-cV-06071-CAS-P.]W Document 1

 

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Filed 08/19/09 Page 82 of 135 Page |D #:82

 

 

 

 

 

 

 

 

 

zLi
PATRICK A. MESISCA, .iR. (SBN #057795)
MESISCA, RU_.HY & K_REITENBERG LLP
725 S. Figocroa St., Suite 1650 'E,I.`,-ES SUPERI CCURT
Los Angeles, CA 90017
ret (213) sas~:zsoo sit 27 ZBBB
Fax (2§3) 623~6600
donn Gtartte. Exeauttve OttioerlGiettt
Attorney t`or Plaintiff, JENNEFER WITHERS __ ,
BY
SUPERIOR C{)URT FOR THE STATE OF CALIFORNIA
FOR THE COUNTY OI'" L{)S ANGELES
JENNIFER Wi'l`ltERS, an individual, Case No.: BC408287
[Assigned to the Hon. Arny if>. i~logue,
Plaintit`f, Departnient 34]
vs. EX PARTE APPLICATION OF MESISCA
RILE.Y & KREITENBERG I..LP TO
PHILADELPHIA iNDEl\/l'l\ilTY TNSL_FRANCE
C%h§§.é§§§§§np§sgvam§§{JOIPO(§HUOH; C_PH (1) Stay Pmceertings C.C.P. § 235.3;
& ~ , . an roots orporatzon; 2 E t d T' t g ~
n ‘tSins;:‘st§';:;;;;n°tt"e°f
AGENCY, iNC.; CPH & ASSOClATES, LLC; 3 ng(e)_ and '
. . _ 1
and D°@S 1 through 25= 1“€]“5“’@’ (3) sharon nine m near Monen w be
Relieved as Ccunsel for Piaintiff
D@fe“dam$‘ Jennrrer waivers
MEMORANDUM OF POINTS AND
AUTHORITIES ANB DECLARATION OF
PA'I`RICK A. MESISCA, JR. IN
SUPPORT
{PRO PU SEI) ORDER SUBM’£TTEE)}
Date: March 27, 2009
Time: 8:30 a.rn.
Dept! 34 391 § g reg m
sense
ee§e“set;
" §§ ' 55 di m 53
roe PLAINTI_FF, annouan Wrrnnns: " g § § §
PLEASE TAKE N{}TI`CE that on March 2'?, 2009, at 8:30 a.rn. or as soon there§er as : § §§
the matter can be heard in Dcpt. 34 of the Los Angeles County Superior Conrt, Central Dist:dct, 3 § §
s 1 , § §§
PLAENTIFF’S EX PARTE APPLIC`A"§`§ON TO (1) S'l`AY PROCEEI)INGS ETC.

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 83 of 135 Page |D #:83

   

   
 

 

 

l located at l il N. Hiil Street, Los Angeles, CA 90012, Plaintift’s counsel5 Mesisca Riley &

2 Kreitenberg LLP, will move for the following orders:

3 (1) An order staying tire proceedings pursuant to C.C. P. § 285,3;

4 (2) An order extending the time within Whicli to tile proofs of service of the summons

5 and complaint; and

6 (3) An order shortening time to hear Plaintii`i’s connsel’s Motion to Be Relieved as

Coanselr The motion is currently set for May l l, 2009.

7 This application is made on die grounds that

3 l. A conflict of interest has developed between the attorney and client

9 necessitating the attorneys immediate withdrawal;
m 2. .A. breakdown in communication between attorney and client renders it
l l necessary for the attorney to immediately withdraw; (Rule of Proi`essional
12 Conduct 3-70(}(€)(6).
13 3. Further grounds for withdrawal exist which will be disclosed to the court in
14 fn camera proceedings or by supplementation of this motion, under seal, or
15 as otherwise required by this court.

Accordingly, an order shortening time is requested to allow counsel to be relieved

ij expeditiously as well as orders staying the proceedings and extending service requirements so as
l j not to prejudice plaintiff
ES Ttiis application is based upon die attached declaration, the pleadings5 records and files in
19 die above-entitled action and such oral and documentary evidence as may be presented at or
26 before the time of the hearing and the application
31 Dated: March 24, 2009 MESIS ,RILEY & KREITENBERG, LLP
22
2d B>'r
§§ PA‘TRICK A. Maslsca, Jn_

n A’ctorneys for Plaintitl`

YLAINTIFF’S EX PARTE APPL]CAT§ON TG (1) STAY PROCEEDINGS ETC.

 

 

 

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t MEMGRANDUM OF POINTS AN}) AUTHORITIES

2 l. THIS APPLICAT§ON MAY BE HEARD ON EX PA`R'I`E NOTICE ANB "I`HE
COURT HAS THE POWER TO SHOR'I`E.N TIME TO HEAR M{}TI()NS

California Rules of Coort, Rule 3.l202, allows for the ex parte granting of motions on
5 shortened notice where good cause is shown Fuztherniore, California Code of Civil Procednre,
6 § l28(a)(8) provides in relevant part: “Every Court shall have the power to amend and control

7 its process and order so as to conform them to law and justice.”

8
II. THE C{)URT HAS THE POWER TO STAY AN ACTION PENDING UPON

9 THE FILING OF A MOTION TO W[THI)RAW AS COUNSEL OF REC()RI)

§U
Code of Civil Prooedure § 285.3 states:
51 The court, upon the granting of a motion for withdrawal pursuant
ge to Section 285.2, may toll the running of any statute of fimttations,
13 Eling requirement, Statute previong for mandatory dismissal,
14 notice of appeal, or discovery requirement, for a period not to
15 exceed 90 days, on the court‘s own motion or on motion of any
16 party oz attorney, when the court finds that tolling is required to
17 avoid legal prejudice caused by the withdrawal of the legal service
18 agency attorney
19 This action was tecentiy §§ed and good cause exists to Stay the proceedings until such
time as Plaintift`is able to find counsel to represent her in this matter So as to prevent any

26 prejudice to plaintiff during the time she does not have counsel and the pendency of the motion
21 to ‘~vithdra'a)v
22
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§§

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t:_§ »3-

PLA}NTIFF’S }SX PARTE APPLICATlON T{) (1) STAY PRGCEE`BINGS ETC.

 

 

 

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III. 'I`HE COURT HAS THE POWER TO EXTEND THE 'I`IME WITHIN WHICH
TO SERV}§ A SI§MMONS AND COMPLAINT ‘UPON A DEFENDANT

California Ruies ofCourt, Rule 3.1§0(€:) provides in pertinent part:
The court, on its own motion or on the application of a party, may extend or
otherwise modify the times provided in (b)-(d). An application for a court order
extending the time to serve a pieading must be filed before the time for service
has eiapsed.
The complaint in this action was filed on Pebruary 23, 2009 and therefore, the time within
which to serve defendants has not iapsed. Plaintii`i"s current counsel is withdrawing from the
action and therefore, good cause exists to extend the service tirne until a reasonable time after

Piaint`iff has substituted in new counsel to handle the action.

lv. GOOD CAUSE EXISTS 'I‘{) SHORTEN TIME ON COUNSEL’s MOTIGN TO
BE RELIEVED AS COUNSEL OF RECORD AND ?LAINTIFF WILL NOT
BE PREJUDICED

Counsel filed and served the motion to be relieved as counsel on March 26, 2009. Due to the
service requirement of a motion on an out of country paity, the motion currently is not scheduled
to be heard until May ii, 2009. Good cause exists to order that the motion ot` Mcsisca, Riley &
Kreitenberg, LLP to be reiieved as counsci for Piaintii`i`, lennit`er Withers be heard on shortened
notice as:

lt A conflict of interest has developed between the attorney and ciient necessitating

the attorney’s immediate withdrawai;

2. A breakdown in communication between attorney and client renders it necessary
for the attorney to immediately tvithdraw; (Rule ot` Prot`essional Conduct 3-
709(€}(6).

3. Further grounds for Withdrawai exist which will be disclosed to the court in
camera by supplementation of this motion, under seai, in any hearing

conducted before this court or as otherwise required by this court

-4_

 

 

 

PLALNTIFF’S EX PAR'I`E APPLICATION 'E`Cr (1} S'I`AY PROCEEDINGS E'I`C.

 

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1 Connsei’s motion to be relieved as attorney of record for plaintiff is a proper motion that
2 must be granted due to tire circumstances between counsel and the client As the motion must be
3 granted there is no prejudice in hearing and granting the motion at an earlier tiine. Further, the
4 granting of the motion at an earlier time will aiiow Plaintitf more time Within which to locate
5 new counsel while the action is stayed as requested in this application and provide new counsel
6 time within which to get up to speed on the action before have to serve and begin prosecution of
the action
7
8
V. C()NCLUSION
9 . . ,
For the foregoing reasons, piaintifi’ s counsel respectfully requests that the Court grant
10 . . . .
this Ex Parte Apphcation for the following orders: (1} An order staying the proceedings
ll
pursuant to C_C. P. § 285.3; (2) An order extending the time within which to file proofs of
z2 . . .
service of the summons and compiaint; and (3) An order shortening time to hear Plaintifi" s
13
counsel’s Motion to Be Reiieved as Counsei.
14
IS
16 Dated: March 26, 211-309 MESIS & KREITENBERG, LLP
17
18 By:
PATRICK A. MESISCA, JR.
19 Attorneys for Plaintiff
2{)
21
22
23
ii
adi
rif
2a
iii
ii ~ 5 »
“'.5
PLAINTI§?F’S EX PARTE APPLICATION TO (1) STAY PR(}CEEB§NGS ETC.

 

 

 

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a

   

DECLARATION OF PATRICK A. MESISCA, JR.

l\)

l, the undersigned declare as follows:

3 1. l am an attorney duly licensed to practice be§ore this court and attorney of record
4 for the defendants named in this action l am personally familiar with the facts set forth herein

5 and if calied upon as a witness to testify as to these facts1 could and would competently so testify
6 as to these facts, except as to those facts of which i am informed and believe are tme.

7 2. The grounds for withdrawal are as follows: {a) A conflict of interest has

3 developed between my office and lvis. Withers necessitating my offiee`s immediate withdrawal;
9 (b) A breakdown in communication between my othce and Msq Withets renders it necessary for
10 my office to immediately withdraw (Rule of Pro§essionai Conduct 3~700(€)(6) and (c) Further
tt grounds for withdrawal exist Which wiii be disclosed to the court fn camera by supplementation

?2 of this motion, under seai, in any hearing conducted before this court or as otherwise required by

13 this conrt.

14 3, ’I`here is no prejudice to Plalntiffby the granting of this motion

35 4. This action Was fried on February 23, 2099.

16 5. On March 2{), 2009 § provided Ms, Withers with an <-‘:;\t;;)lanation7 in writing,

w concerning my office’s intent too \.i.'ithdraw3 its reasons for Withdrawal, and recommending that

18 Ms. Withers promptly seek legal counsel if she intended to continue with the lawsuit

19 6. On March 24, 2009 Mesisca Riley 8a Kreitenberg, LLP sent Ms. Witliers written
notification that on March 24, 2009 all client papers belonging to Ms. Withers in the possession

29 of Mesisca Rlley & Kreitenberg, LLP were available to her to he picked up.

21 7. In the intervening time between Ma.rch 20, 2009 and March 24, 2009, a period of

22 two (2) business days, Mesisca Riley & Kreitenberg, LLP arranged at its expense, to photocopy

n§§ the documents belonging to Ms. Witliers concerning this case. {Rnie of Professional Condnct 3-

24:§ 700(€)(6)).

ii

iii “6‘

 

PLAINT¥ FF’S EX PARTE APPLICATION TO (1) STAY PROCEEDINGS ETC.

 

 

 

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1 8. lvlesisca lilley & Kreitenberg, LLP was retained by Ms. Withers pursuant to a
2 contingency fec arrangement
3 9. Mesisca Riley & Kreitenberg, LLP has not charged any fee for its services;

4 l(). Mesisca Riley & Kreitenberg, LLP does not intend to charge a fee for its services

or costs and expenses incurred in this matter on the client’s behalfj nor will Mesisca Riley &

Kreitenberg, LLP assert any lien in this matter for the recovery of attorneys fees

l 1 . lvlesisca Riley & K_reitenberg, LLP has taken steps to avoid prejudice to the client

prior to withdrawing including requesting that this court stay the proceedings pursuant to C.C,P.

8 . . . . t
§ 285.3 and extend the time in tvlncli to serve the defendants and tile proofs of service With the
9 court;
to

12. Mesisca Riley & Krcitenberg, LLP has not delayed in seeking a formal order of

11 withdrawal in this matter A motion to be relived as counsel was filed on March 26, 2009 and
tz served the same date. Dne to the notice requirementsa the motion is not scheduled to be heard
13 until May il, 2009. A true and correct copy of the motion and supporting papers is attached

14 hereto as Exliibit “l”.

15 13. Plairitiff will not suffer any prejudice by this order shortening time as upon
16 granting this motion The action has been pending for less than thirty-five (35) days, no service
of process has taken place. There has been no discovery and no appearances before this court

w Mesisca Riley & Kreitenberg LLP has requested that plaintiff have until lane 20, 2009 in which
18 to file proof of service upon defendants
19‘ ex eisan stories
20 14. On March 25, 2009, at approximately 6:00 p.rn. attorney Dennis P_ Riiey called
li plaintiff lennifer Withers, and informed her that Mesisca Riley & Kreitenberg LLP would be
22 appearing in Dept. 34, on March 27, 2009 at 8130 arnz., to request orders (a) staying the aetion,
2§} {b) extending time for service and (c) shortening time to hear Mesisca Riley & Kreitenberg’s
§§ Motion to be Relieved as Counsei for Plaintiff, lennifer Withers. in addition, following the
z§t telephone message an e-mail was sent to Ms. Withers e~mail address that we have used for

iii ~ r ~

'"~l

 

PLAINTIFF’S EX P'ARTE APPLICATIGN 'I`O (1) STAY PROCEEDINGS ETC.

 

 

 

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l extensive communication in this action confirming the voice message and again providing the

1 foregoing notice A true and correct copy of this e~nrail is attached as “Exhi‘oit “2”.

3 15. On March 26, 200? at approxiniate§y 330 p.m. a copy of this ex parte application
4 was e-rnaiied to ivls. Withers attire e-rnail address that we had used for our corhrrrunicatio\eh A

5 true and correct copy of this earned is attached as “Exhihit “3”.

6 16. l have had no response from lvts. Withers regarding the ex parte notice, the

7 motion to be relieved or on any other matter since last speaking to her on March 20, 2009d

3 lS. This application must be heard ex~parte due to the exigency of the circumstances
9 l declare under penalty cf perjury pursuant to the laws of the State of Caiifornia that the

19 foregoing is true and correct

12 DATED: March 26, 2009
13

14

 

15 Patricit A. Mesisca, Jr.

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18
19

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1"‘.3)°4".""| `l~

PLAINTIFF’S EX PARTE APPLICATI()N TO (1) STAY PROCEEDINGS ETC.

 

 

 

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MC»-{JS't

 

 

A'JTOF\NE\' GR PARTY W|Tj“i{)i.|T ATTORNZY (Nami. ar numba.'. and addes$}.

Patriok A. Mestsca, 31". (State Bar # 057795)
“ Mesisca, Riley & Kloitenbcrg, LLP
7'25 Sooth Figueroe Street, S’oite 1650
Los Aogeles, CA 90017
TELEFHONE rro.:(QB) 623 »2300 FAX No.: (2 1 3) 623 »6600
A‘rroRrrr_=Y FoR (=*¢ams,l..]' 81”111§{"31' Wifh@l‘$` Plail`ttiff
write or couth SUPERIOR COURT OF CAL§FORNIA, COUNTY OP LOS A`NGELES
srkssrr.oorzess: 111 NOI'fh Hiil Sfl‘€€t
MArLlNo Aooeess: 1 1 § NOI‘Th Hii§ SU‘B€E
crwANezr= cone LOS Angelet$ 90012-30§4
BRAN<;H mo Centrai Distriot Branch
case MAME: arise Nur,sar-;R;

FOH CGURF USE ONLY

 

 

BC408287
denmter thtters vs. i’htlacteipma lndenmlty lns. otc. et al. HEARWG DATE:May ]§ z 2009

No~rrce oF Morioru mo motion DEPT¢$“»~ TME:B=E»O am
TO BE RELIEVED AS eerorte Hor~'.; AI'DY D. HOgLI€
COUNSEL--CWIL care AcriorrFrLeo; FCZDI‘Lt£iry 23, 2009
mm DATE; NOTIE

 

 

 

 

 

TO {oame end address of cir`eot): lennifer Withers
23 Tyne Stzeet, lsiand Bay, Wellington, Now Zealanci

tr PLEASE TAKE NOT\CE that (name of withdrawing aiiomey):Mesisoa Riley & Kreitcnbcrg LE“.P f Patrick A. Mesisca, Jr.
moves under Cai`rfomia Code of C`rv§i Prooeo'ore section 284(2) and Ca§iiomia Ruies of Court. role 3,13‘52, for an order permitting
tire attorney to be relieved as attorney of record in this action or proceeding

2. A hearing on this motion to be reiieved as counsei will be heicl as iotiows:

 

a_ Date'. Ma}i 1 1 , 2009 Time; B:':`>{) a.m. Dept.'. 34 Room'.

 

 

o. The address of the coud: same as noted above §:] other (specr`i§/):

3. This motion is supported oy the accompanying deciaratiori. the papers and records fried in this action or proceeding and
the foiiowing additiooa& documents or evidence (s,oeciiy}:

(Thr`s motion does nor need to be accompanied by a memorano'um ofpor`nts and authorities Ca!. Ru!es of Court, rule 3. 1352.)

4. The client present§y represented by the attorney is

ai..- an inoi\riduai. g. [::} a trustee

b§§ a corporation h. [::i a personal representative
c,f:ij:::} a gamersh§p_ i. [:l a probate fiduciary
d.r‘::] an unincorporated association ja [::j a guardian ad litem

e H::| a guardian k. [::3 o!her (specirj/}:

ilr::r

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di {Continueci orr reverse}

 

Paga 1 of 2
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rré“f§§i“'r§§v“.i§~§?fi'.io§rr To BE REL!E\:ED AS CooNSEL-~civiL Ca" R“E“°‘C°“M°”&‘

W-vw,r,owt:n.‘o.ca.g.'>v
I.exi.sr\'cxrs® A uron:o!ed C`ar'y"ormrr Judr`cia! Cozrr.cr`! Form.r

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inc-051

 

CASE HAMEZ CASE NUMBER'.

-' tennifcr Withcrs vs Phiiadclphis lodemnity Ins. ctc. et at. BC408287

 

 

 

 

NGTICE TO CL%ENT

if this motion to he reiicved as counsel is granted. your present attorney witt no longer be representing you. You
may not in most cases represent yourself if you are one of the parties on the fo|iowing list:

1 A guardian - A personal representative - A guardian ad litem
¢ A conservator ' A probate fiduciary - An unincorporated association
. A mcgee ~ A corporation

it you are one oi these parties, YOU SHOUL.D \MMEDiATELY SEEK LEGAL ADVICE REGARD]NG LEGAL

REFRESENTATION. Fai|ure to retain an attorney may icad to an order striking the pleadings or to the entry of a
default judgment

 

5. ii this motion is granted end a client is representing himsel§ cr herscii, the client will be solely responsible for inc case

 

NOT!CE TO Ct_iEi~iT WHO WiLL BE UNREPRESENTED
if this motion to be relieved ss connect is granted, you witt not have an attorney representing you, Yoc may wish to
cook tcgal assistancel ii you do not have a new attorney to represent you in this action or proceeding and you are
legaiiy permitted to do sc, you will be representing yourse|f. lt will be your responsibility to comply with afl court

miss and appiicabis lsws. ii yca tait to do so, or faii to appear at hearings action may be taken against yoc. You may
lose your onset

 

 

6. l.‘ this motion is graniec`, the client must keep the court informed of the ciient‘s current accress,

NOT|CE TO CL|EN'i" WHO WILL BE UNRE?RESENTEB
if this motion to be relieved as counsel is granced; the court needs to know how to contact you. if you do not keep the
court and other parties informed of your current address and telephone number, they will not be able to send you

notices ofactions that may affect you. including actions that may adversely affect your interests or result in your
losing the caeo.

 

 

Date: Maf€h 25, 2099

Pal;rick A. Mcsisca, .ir. B

€T‘i'FE DR PR¥NT NAME`¢ iS!GRATU'RE DF ATTORN'EY)

Atlorney ior {neme): Jennifcr Withcrs

: '.)4:~."".:

i*i€“i JE”““Y i= 2963 NOT§CE OF MOT|ON AND MOT|ON P‘H°z°u
TO BE RELiEVED AS COUNSEL~C!V|L

monieer .'i:rromorcd Coi'y'cmr‘o Judicio! C`cr.rn cit Form.'

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MC--OSZ

 

A’iTOFiHEY DR PAR'EY \'MHCUTATTOHNE? memo stare bar number and eddruss,l FOR CQL,»RT 355 gign-

Patnck A. Mesisca, .ir. (State Bar ii 057795}
Mcsisca, Rilcy & Kreitonbcrg, LLP
?25 Sooth Figueroa Street, Suite 1650
Los A.ngcios, CA 90017
rELePHous no.:(Z}S) 623_2300 nor nc.: (213) 623-6690
A'r~ron nev ron marcel lemiif€il` \Viih€il`$, Plail'tfiff
NAME ol= count SUPERIOR COURT OF CALIFORN}A, COUNTY OF LOS ANGELES
s‘mEer nooness: ] ii NOI'l`.h Hil] Stroei
vn\wc»ocinfss: ll t North HiII Strcct
cnw m z<'P cone ins Angetes 90012~3014
finance ME- Ccntral Dist:ict Bra.nch

 

 

CASE N’WE; Jennirowiza@rsvs.Phiisderphiaincemny§ns,ec.an °"M"BER: solution

names oATE:May 1 I, 2009

crim 34 TNE:S:BG a.m.
oect_ARAnon in sLiPPoRT or ATToRNF_Y‘s mm H .
notion To ea sanction ns coonsaL-clvir_ '" °"' " my D' H°g“e
one screen mo Febmary 23, 2009

TRiAL DATE:

1. Attorney and Represented Party. Attomey (neme): Mesisca lecy & Kreitenbcrg LLP f Patrick A. Mes£sca, Jr.

is preseni§y counsel o¥ record for memo of party};jgm]_if@r thhers_ P}agntiff
in the above-captioned action or proceedingl '

 

 

 

 

 

2_ Reasons for ?nodon. Attorney makes this motion to tie relieved as counsel under Codc of Civii Procedure section 284{2) instead
ol fsliog a consent under section 284{€) for the following reasons (describe):

Continued on At'tachrnent 2.

3. Service
a. Attorney has
('i} m personally served the ciientwith copies of the motion papers filed with this declaration A copy of inc proof of service
witt be filed with the court at least 5 days before the hearingA
(2) served the client by malt at the clients last known address with copies ofthe motion papers served with this dectsmtioni
o if the client has been served by mail el the clients test known adoress, attorney has
in EY:J connde within are pac 30 days that the address as current
(a) [:i by mail, return receipt requested
(b) §§ by telephone
(c} by conversation
(cl) :l by other means (s,oecr'r’y}:

i§

_. (Conlinued on reversed

 

.§.:_ Page 1 of£
kin o ctiio“£ra‘;i‘sni:“ oec memory in auer=onr or AT'roRneY's mace-pmm nn
fm nw mention morton re se saueveo ss couusaL»-clva " ”‘“f;.$.°f.;dn‘?ii;.a£§

Lexi.sn’exi.r{£= .s`momorea' Coli,'{orm‘o Juo'icior' (`ozmcr`! Fomi.r

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MC-GSZ

 

CASE NAME: cAsE Numzen-
jennifer Withers vs. Philade}phia Indemnity lns. etc. et ai BC¢iOSQS?

 

 

 

 

3, n, (2) §:j been unable to connrm that the address is current or to locate a more current address for the client after making the
foliowlng efforts:

{a) i:§ maitlng ina motion papers to the clients iasi known address return receipt requestet:l,
(t)) !:::} calling the client's last known teiephone number or numbers

(c) tro-mi contacting pezsons familiar with the ciient (speo{fy):

(d) § oonducting a search {dest:r’ibe):

(e) i other (sper;r'fy):

r:. Even if attorney has insert enable to servetize client with the moving papersl the court should grant attorneys motion to be
relieved as oeunsat ot record (expfaira):

4. The next hearing scheduled in this action or proceeding

a. [:} is not yet set
b. [:E is set as follows {specir?z‘he dete, time, and place):CMC lime 2, 2009 3;3() a.m. Depi. 34 LASC

o, [:] concerns {o'escribe the subject matter or the heanng):

ij Continued on Attacnrnent 4.

S; Tha following adciitional hearings and other proceedings (inclucllng discovery matters) are presently schedu§sr§ in this case (l’oiF sach,
describe the daie, time, placex and subject marter):

Puzsuant to Caiifomia Ruies of Court, Rule 3.119(1')) service of the compia`mt must be served within 60 days
of filing the complaint

m Continued on Attachmani §.
6. Triai in this action or proceeding
a. {:>,;__l is notyet set.
n. [:::i is set as foiiows {specii‘y fha dats, time, and plsoe):

7. Otner. Other matters that the court snoutd consider in determining whether to grant this motion are the io§lowing (exptar`n):

  
      

l de are under penalty of perjury under the §aws of the Staie 0¥ Caiifo la

l_ tthe foregoing is true
Daf§,March 26, 2009

`; 7 Pntrick A. Mesisca, Jr.
ill {TYPE CR PR|NT NAME} 1 (SlGNF\TU}'{E OF EECLAR¢\NT}

Br Nt;mner of pages attached 1
ii `°"`°"
l'i°“""§iil“”' JB"“*’Y 1= mm DECLARAT|ON ibt SUPPDRT OF ATTORI‘€EY'S me 3 °?2
MOT{ON TG BE RELiEVED AS COUNSEL-~Ctvii.

.'_,c'xr's Nexr'.r® 11 uramnted Ca!:form`a Juo'icim' Coxmc:'! Farm;

 

 

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Attachments

Attachmcnt 2

a. 'l`hc grounds for withdrawal arc as follows:

ll A conflict of interest has developed between the attorney and client necessitating thc
attorneys immediate withdrawai;

2) A breakdown in communication between attorney and client renders it necessary for the
attorney to immediately withdraw; {Rulc of Profcssionat Conduct 3-700(€}(6).

3) Further grounds for withdrawal exist which will be disclosed to the court in camera by
supplementation of this motion, under scal, in any hearing conducted before this court or as
otherwise required by this court;

b. Therc is no prejudice to Plaintiff by the granting of this motion

ck litis action was filed on Febrcary 23, 2009.

d. On Maxch 20, 2009 Mosisca Riley & Kreitenbcrg, LLP provided Ms. Wit;hcrs. in
person, with an explanation in writing, concerning it’s intent to withdraw, its reasons for
withdrawai, and recommending that Ms. Withcrs promptly seek legal counsel if she
intended to continue with the lawsoit. Mcsisca Riicy & Kreitcobcr LLP presented Ms.
Withers, in pcrson, a Substinztion of At'torney Form and requested Ms. Withcrs to sign the
Substitution of Attomey Form but Ms. Withcrs refosed, necessitating this motion

e. On i\flarch 24, 2009 Mcsisca Riicy & Krcitcnberg, LLP sent Ms. Withcrs written
notification that on March 24, 2009 ali ciient papers belonging to Ms, Withers in the
possession of Mesisca Riiey & Krcitenberg, LLP were available to her to bc picked up.

f. ln the intervening time between March 20, 2009 and March 24, 2009, a period oftwo
(2) business days, ivlesisca Rilcy & Kreitcnberg, LLP anangod, at its cxpcnsc, to photocopy
the documents belonging to Ms. Withcrs consenting this casc. (Rnle of Profcssional
Conduct 3»700(€)§6)).

g. Mcsisca Rilcy & K_rcitenbcrg, LLP was retained by Ms. Withcrs pursuant to a
contingency fee arrangement

h. Mcsisca Rilcy & Krcitenberg, LLP has not charged any fee for its scrvices;

i. Mcsisca R.ilcy & Ki:citcnberg, LLP does not intend to charge a fec for its services or
costs and expenses incurred in this matter on the ciicnt’s bchalf, nor will Mesisca Riley &
Kreitcnbcrg, LLP assert any lien in this matter for the recovery of attorneys fees

j. Mesisca Riiey & Kreitcnberg, LLP has taken steps to avoid prejudice to the client prior
to ndthdrawing, including requesting that this court stay the matter pursuant ot C,C.P.
Scction 285.3 and extend the time in which to serve the defendants and tile proofs of
service with thc court pursuant to Califomia Rutcs of Court Ruic B.l li)(c);

it. Mesisca Riicy & Krcitcnberg, LLP has not delayed in seeking a formal order of
withdrawal in this macon

t. Plaintit`r" will not suffer any prejudice by this order shortening time as upon granting this
motion The action has been pending for less than thirty-five (35) days, no service of
process has taken place 'i`hcre has been no discovery and no appearances before this court

"'-Zl? ¢`.ZS"_, l L»iv~.~

l"; r'";_:i '1..

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 95 of 135 Page |D #:95

     

MC»-DBS

 

 

ATrORNsY on PAF¢T\’ vv"=THOthr ATTDRNE\' {Name, hereunder and adames):

Patrick A. Mesisca, Jr. (State Bar # 057795)
”Mesisca, Riley & Kreitenberg, LLP

725 South Figueroa Street, Suite 1650

Los Angeles_. CA 900§7

FOR CGURTUSE OHL¥

'rei.ePnoNe No: (Qi 3) 623-2300 FAX No. lopdenw):(Zl:’i) 623-6600
saint licenses testator mesisca@mrklawyers.com
mooney ron memo .Tennifer Withers, Plainth`
suPERloR count ol= cAl.lFoaNaA, comm ol= LOS ANGELES
stassi socsese: l ll North l'iiil Street
mims ripeness l l l Nol‘th Hiii SU‘CEL
cm lois 219 copel Los Angeles 90012-3014
BRANGH hans Central District Branch
CASE NAME: case mesa
Jennifer Withers vs. Philadclphia Indemnity Ins. etci et ai. BC408287

HEAR|NG DATE:MB}' l 1, 2009
deceit continue ATToRnEr’s asst-134 the 339 aim-

nsorion ro as nameon ns counsEL-..clvn_ moss HO~-:Amy 9 Hf>su@
care Ac'rloli PrLEo: Febftlal‘y 23, 2909
taint onrszNone
1. The motion of (nams ofsrtcmey):MesiSca Riiey & Kreitenberg LLP ;' Patrick A. Mesisca, .Tr.

to be relieved as counsel of record for maine ofc!l`ent}: §ennifer Wlthets, Plaintiff

a party to this action or proceedingl came on regularly for hearing at the date, time, and place indicated above

 

 

 

 

 

 

 

2. The following persons were present et the hearlnp;

FINDINGS
3. Attorney has

al l:i personally served the client with papers in support of this motion

h, served client by mail and submitted a dectal“aiion establishing that the service requirements ct Caliiornia Rules ct Ccurt,
ru§e 3.1362, have been satisiicd.

4. Atlcrney has shown sufficient reasons why the motion to be renewed as counsel should be granted and why the attorney has brought
a motion under Code of Clvil Procedure section 284{2) instead of ming a consent under section 284(1).

_ ORDER
5. Attorney is relieved as counsel of record for silent

a, m effective upon the wing of the proof of service of this signed order upon the client
h. l::i effective on (specll‘y date):

6. The cilent’e current [:3 last known address and telephone numher:
21 Tyne Street, isiarld Bay, Wellington, New Zealand 01 1-64-4~475-323 7

lt the clients current address ls known, service on the client must hereafter be made at that address unless otherwise ordered in item
13 ft the current address is not known, service must be made according to Code of Civlt Procedure section 1011 (o} and rule 3_252 uf
the Cal‘n'ornls Ru§es of Cou:t.

7, ai}§ Tne next scheduled heating in this action or proceeding is set for (date, time and place):
ii lone 2, 2009 8:30 a.m. Dept. 34
o;': 'I”tte hearing wilt concern {subjscl‘ mattel;l:Cage Managemem anfeyenge
ll

iii

 

 

 

iii
NOT|CE TO CLIENT
{ §§ You or your now attorney, if aoy, must prepare ior and attend this heating F 1 m
age o _
Fe;iéag:::§::;lnj§:;r$§o ORDER GRANTlNG ATTGRNEY’S C°°B°F C*'! PMe-‘ § 2541
nasa se away l ms notion to ss namet/eo As connect-ele °"" R“°‘°‘°°`““‘“ mae

nw.couldn!o.ceo-:lv
Lexl'sh'exl'r® command Co!{fcrm`c Judicl`ol Cotmcii Formr

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 96 of 135 Page |D #:96

   

550-053

 

CASE NAMEZ: ones numesa;

lermifer Withers vs. Phiiadeiphie Indemnity Ins. eto. et ai. BC408287

l

 

 

 

 

8, The following additional hearings and other proceedings (inciuding discovery matters) are set in this action (descn'be ihs date,
times piace, and subject matter of each):

9, Tite trial in this action or proceeding
a. §§ is rini yet set.
ii. [::l is set for (specify date, time, and plaoe):

'i£}` Client is hereby notified of the ioilowing effects this order may have upon parties

 

NOT£CE '¥'O CL§ENT

Your present attorney will no longer be representing you. You may not in most cases represent yourself if you are
one of the parties on the following iist:

~ A guardian ~ A personal representative - A guardian ad liiern
‘ n conservator ‘ A probate fiduciary - nn unincorporated association
~ A trustee \~ A corporation

lf you are Orl& of these partiES. YOU SHOULD iMMEDiATELY $EEK LEGA!_. ADV|CE REGARD|NG LEGAL

REPRESENTA'!”|ON, Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
defauit_iudgment

 

 

 

tt. Client is notified tnai, ii the silent will be representing himself or hersell, the client strait be solely responsibie for the ease

NOTICE TO CLiENT WHO WILL BE UNREPRESENTED

You will not have an attorney representing you. You may wish to seek legal assistance if you do not have a new
attorney to represent you in this action Or proceeding and you are iegal|y permitted to do so, you will be
representing yourseif. lt will be your responsibility to comply with eli court rules and applicable lawe, tfyou fail to
do so, or faii to appear at hearings action may be taken against you. You may ipso your oase.

 

 

12. Client is notified that it is the oiient's duty to keep the court informed at all times of the clients current address

 

NGTiCE TC CLlENT WHO WlLL BE UNREPRESENTED

Tne court needs to know how to contact you. if you do nut keep the court and other parties informed of your current
address and telephone number, they will not be able to send you notices of actions that may atfectyou, including
actions that may adversely affect your interests or result in your losing the case.

 

 

13. The court further orders (specizjf):

 

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meager sims 1. md cease announce A“r“ronnev's en 2 an
harmon To BE REL:EVED As counsEL_clviL

LexisNexis® Auron-.aied Col;&)rnia Judiciaf Cor.mcu' Fonrir

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 97 of 135 Page |D #:97

   

1 PATRICK A. MESISCA, §R. (SBN #05'?795)
MESISCA, RII.,EY & KREITENBERG L.LP
7- 725 S. Figueroa St., Suite §65{)

Los Angeles, CA 90{}17

3 Tei. (2‘13)623»2300

Fax (233) 623-6600

Attomey for Plaintiff, JENNIFER WITHBRS

6 SUPERIGR CGURT FOR. THE STATE OF CALIFORN¥A
7 FOR THE COUNTY OF LOS ANGELES
8
9 JENNIPER WITHERS, an individual, l Case No.: BC 468287
[Assigned to the Hon. Amy D. Hogue:
10 Plaintiff, Depamnent 34}
11 vs. PROOF OF SERVICE RE MOTION TO

BE RELIEVED AS COUNSEL FOR
12 PI'HLADELPHIA INDEMNITY INSURANCE JENNIFER WITHERS
COMFANY, a F§n§§§évani§l€orpo(r:ation; CPH
13 & ASSOC'EATE , ‘ an inols or oration; ; 1

cPH & ASSOC;ATES, LNSURANCEP ?;;_I§‘,:% 311’112009
14 AGENCY, §NC.; CPH & ASSOCIATES, LLC; ' ' ` '
and Dues 1 through 25, inclusive, Depti 34

15 Defendants.

 

 

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§§ '"1’

“E PROOF OF` SERVICE RE M(}"I`I(}N TO BE RELIEVED AS COUNSEL F{}R
PLAINTIFF JENNIFER WITHERS

 

 

 

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 98 of 135 Page |D #:98

   

 

3 DECLARATION 09 PA'I`R}CK A. MESISCA, JR.
2 I, the undersigned deciarc as follower
3 i. I am an attorney duly licensed to practice before this court and attorney oi` record

4 for ihe Pieintiff named in this eciion. l am personaiiy familiar with the facie set forth herein and
5 if called upon as a wieness to testify as to these facts, could and Would competently so testify as
6 to these fects, except as to those facts of which 1 am infonned and beiieve are true.

7 2. 1 last had contact with P§aintiff .}ennifer Withcrs on Merch 20, 2009, in my office at 725

8 South Pigue:oe S'rreet, Suite 165{} Los Angeles, CA 9{)017. During the time of representing Ms.
9 Withers, she infomied me that her horne address is 21 Tync Strcet, island Bey, Wellington New

10 Zea]and, which to my knowiedge, had not changed as of March 20, 2009. In addition, during the

time Ihave represented MS. Withers we have communicated ex§eneively through e-maii with her

§cng-time e-maii address of kincsis(i(§’i@ggehoc.com.

ll 3. On March 26, 2009, I served zhe following documents on Plaintiif Jennifer Withers:

13 (a) Notice of Motion and Motion to be Relieved as Counsei - Civil;

14 (b) Declaration of Patriek A. Mesisca .Er. in Support of Attorney’s Motjon to
15 Be Relieved as Counsel ~ Civii; and

115

(c} [Proposed] 01'der Granting Attcrney’s Motion to Be Reiieved as Counsel
17 - Civi}.

18 4, f served the foregoing documents on Plaintiff]ennifer Withers by placing a fmc and

19 connect copy thereof enclosed in c sealed enve}ope, addressed as follower

20 Jennifer Withers
2£ 21 Tyne Street
22 island Bay, Wel§ington New Zeeiand
23
§j§ 5. Ip§aced each enve§opc for deposit in the l}. S. Mail for service by the United States
24;§ Posta] Service, with postage thereupon fahy prepaid
25~=¢

i"~':"

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»*“?i.$’?"»"--

PRUOF OF SERVICE RE MOTION TO `BE REL§EVED AS COUNSEL FOR
PLAIN'I`IFP JENN§FER WITHERS

 

 

 

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§ 6. lo addition to serving the foregoing papers via U.S. Mail, l also e-mailed a pdfofthe
2 foregoing documents to Jennifer Withers at her e-mail address ofkinesis[)()?@yahoo.com on the
3 same date Attached hereto as Bxhibit “A°’ is a true and correct copy of the e-meil

correspondence forwarding the documents

l declare under penalty of perjury pursoant to the laws of the State of Califomia that the

foregoing is true and correct.

DATED: March 26, 2009

IO

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Patrick A. Mesiscs, lr.

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_3_

PROOF OF SERVICE. RE MOTION TG BE RELIEVED AS C(]UNSEL F(}R
PLAINTIFF JENNIFER WITHERS

 

 

 

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Page 1 ot`l

   

Patrtck Nlosisca

From: Potrick lv‘lestsca

Sent: `i'hursdey, March 26, 2009 1117 PM
To: 'ktnestst}t)?@ysooo.corn‘

Cc: l?'atr§ck lv§eslsca

Subject: Nlottoo to Be Retie\rod ss Counsel

Attachments: Nolice of Motion (McKtnoiss}.odt; Deolarotion (Mct<tnnn§ss}.pdt; Order (Mcl'<inoiss).pdl; Nolice

ot l‘v’lotion (Phil lns).pdt; Dec|aralion (Phit lns),pdt; order (Ptzil lns).pdt; Wctlt d lncome
3.19.09.pdt

tvls. Wlthers -
Pleaee t`;nd attached lo this e-mail the documents related to the motions to be re§leved as counsel of record

in the case di Wll'ners v. Mcklnn')ss, Case No. 80408604, please find attached the following
{1} Nottce cf Motion and Motioo to be Relieved as Counse|;

(2) Declaratloo in Support ot Nottce of l‘vlotion and Mot`tort to be Retieved ss Counse|; and
(3} {Proposed} Order Graoténg Nlotion to be Retz'eved as Couosel,

to the case of thhers \.r. Fhlledetchto lndem tos,, Case No. BCAOBZB?, please find attached the foltowtng;
{‘l} l\lotice of Motloo and Motion to he Re|levec§ as Couuse§;

(2) Dectarallon in Support of Notlce of section and lvtotlon to be Relieved as Couosel; end

(3) [Proposed} Order Granting Motlon to be Relieved as Couosel.

As we have previoust advised you, your flies remain in outr office and are available for you to pick uo, il you
would preter, upon your direction we witt arrange for the files to be forwarded to a toeatton of your choosing

l_est§y, t em attachan s copy ot the letter you requested regarding your time away from New Zealand_

PATRICK A. MESESCA, JR.
Mesisca, Riiey & Kreitenherg, LLP
725 South Figueroa St., Suite 1650
Los Angeles, CA 900§7

Tel: 213.623.2300 24202

Fax: 2l3.623,6600

inesisce o;tnrlclawyers.com

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Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 102 of 135 Page lD #:102

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Page l oft

   

Deonis Riiey

 

From: Dennis Ftiley

Sent'. Wednesday, Nlaroti 25, 2009 6102 Plvt
'Z'o: 'itineslsi)i)?@yahoo‘com‘

Cc: Derinls Riiey

Subject: Ex Parte i\iotice

le. Withers -
Thie will contian the voice message l just left on your colt phone

We will be going to court on Friday morning tviarch 27, 2009 on your two cases to seek the ioilowirig ex parte
reliei;

(1} Order Shonening time within which to hear a motion to be relieved as oottnset ot record;
{2) C}tder staying the action to provide you time withle which to obtain counsei;

(3) Order extending the time withio which you are required to serve the complaints on the detendaots; and
{4) Order granting other appropriate relief

“i”tie hearings will take place at 8:30 a.rn. a the Los Angeies Supericr Cotirt located at itt North Hiii Street, i_os
Angeles, CA.

F-"or the case of Witners v. tvlcl<inn:`se, Case No. 80408604, tito matter will be beard in Departrrient 64.
For the case ot Witi‘ters v. Phtltdeiptiia lne., Case No. BCdOBzB‘f, the matter witt be heard 'rn Departmect 34.

Piease let ina know if you have any questions or ii you plante attend
Dennis P. R_lley, Eeq.

MESISCA RILE.`Y dc KRRITENBERG LL§>

725 South Figocroa Strect, Suitc 1650

Los Aogeles, Cali{omia 9003?

”t"e]. (213) 623~2300

Fex. (213_) 623-6600

dpriley@cirkla_.;,»ye;esota

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3,'25/2009

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A ¢ .~

Page l ofl

   

Dermis Riley

 

 

¥-'ro'm: Denn‘es Ri|oy

Sent: Thurstlay, March 26, 2009 3;49 PM
To: klnesisGG`/'@yahoo.com

Ct:: Denn§s Rlley

Subjet:t: Ex Parte At>plicaflon

Attaohrnents: E>< parte App_ to Be Relleved as Counsel (lvlcl»<znniss).pdf; Ex parte App. to Be Rel‘:eved as
Courlsel (Philly.) dpr.ptif

le. Wlthers ~
P|ease find attached copies of the ex parte applications ln the following oases:

Wlthets v. l‘vlol<inn¥ss, Case ¥\lo` 50408604, the matter will be heard in De;)artment 64.
W§thers v. Phllidelphia lns., Case No. 56498287, the matter will be heard in Departmen‘l 34.

P|ease let mo know il you have any questions
Dennis P. lecy, Esq.

MESISCA RILEY & KREITBNBERG LLP
725 South Figueroa St:reet, Sujre 1650

Los Angelos, Cnlifornia OOGl `?

'I`el. (213) 623~2300

F'mt. (213) 623~6600

dpril€?@n&lmw

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ma`tl to us at such <:-mail address You should destroy any hard copies of this c»mail and delete it from your @_m',di] System!

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3/26)'2009

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EXHIBH` P

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tth

§ PATR:CK A. MEstscA, JR. (SBN #05?795) ms ANGELEB §UPER!BR CG%JM
MESISCA, RILEY & KREITBNB:~:RG LLP ,
2 725 S. Figuoroa S*t.1 Suite 1650 HARZ ?EDB§

Los Angoles, CA 90017
3 Tel. (213) 623-2305
Fax (2§3) 623-6600

 

Attomt:y‘for Plaintif`f, JENNIFER WITHERS

6 soPnRtoR comm trott THE smth otr cAL;tFoRNtA
t son THE cooNTY oF Los ANGELES
3
9 n:NNIFER WITHERS, an individuat, case No.; Bc4eszs~)
{Assignod to the Hon. Amy l')` Hogue,
19 Plaintift`, Department 34]
n vs. No'tt€:t op RULING ott MESISCA l
RtLEY & KRE;TENBERG LLP’s

12 PHILADELPHJA INDEMNITY INSURANCE MOTION 'I'O BE RELIEVEB AS
COMPANY, a Pezmsylvania Corporation; CPH COUNEL AND T() EXI‘END T;ME l
13 85 ASSOCIAT£S, TNC. an Illinots Corporation;
CPI-I & ASSOCIATES, INSURANCE

14 AGENCY, INC.; CPH 8c ASSOCIATES, LI_.C;

. . Dato: Mart:h 27 1099
th 25 l ’
and DOES § rough ’ me uswe’ Tirne: 8:30 a.m.
15 Dofondants. Dcpt: 34

16

 

 

l"l’

18 TO: PLAINTIFF, JENNIFER WITHERS:

19 PLEASE TAKE N()TICE that on March 27, 2009, at 8:30 a‘m. in Dept. 34 of the Los
26 Angeles Cotmty Soporior Cout't, Ccntral Djstrict, located at 111 N. Hill Street, Los Angelos, CA

90012, Plaz`mii’f"s counsel, Mosisca Riley & Kreitenborg LLP’s ex pane and Motion to be
2}

relieved as counsel of record for plaintiff came on for hearing Appearing for Mesisca Riley &
22

K§ieitonbotg LLP was attorney Patriok A. Mesisoa Ir. P§a:€ntiff.lonnifor Witlters also appeared on
h§tr own beth
t

 

23
24 it . . . . . ` . .
j Wt§h the sttptalatton of platnnft, the Court granted the motion to withciraw effective

l` .
25 it't;mediately and ordered that the matter be scheduled for a.n Order to Sl_tow Cause re Dismissal

_;_

N{)TICE OF RULING ON MOTIGN 'I`O WITHDRAW AS CGUNSEL

 

 

 

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 106 of 135

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scheduled as follows

Dated: March 27, 2009

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-_'mm,,.¢r -..-unr~.n” '

 

 

 

to provide Piaintif}” time to hire new counsel Tho Ordor to Show Cause to Dismissal is

osc RE DISMISSAL
t)ATE: May 27, zero
'HME= soo A.M.
onpt:z4

  
 

KRE§TENBERG, LLP

Page |D #:106

 

PATRICK A. MESISCA, JR.
Attorncys for Plajzttiff

 

`2-

NOTICE OF RULENG ON MGTION TO WITHDRAW AS CGU`NSEL

 

 

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1 PROOF OF SERVICE

STATB OF CALI?ORNIA, COUNTY OF LOS ANGELES

l, Shiree Magee , arn employed in the aforesaid County, State of Caiifornia; I am over
4 the age of 18 years and not a party to the Within action; my business address is 725 S. Figaeroa,
Suite 1650, los Angeies, CA 90{}17.

Orl March 27, 2009, I served: NOTICE OF RULING ON MOTION TO ‘WITHDRAW i

6 in disinterested parties in tnis action by piacing a true and correct copy thereoi`, enclosed in a
sealed envelope addressed as follows:

(See Attaehed Service List)
;M BY MAIL a e-MAIL (‘kinesisoo?@yahoo.cem’)

lplaced such envelope for deposit in tire U. S. Maii for service by the United
States Postal Service, with postage thereupon fatty prepaid

X AS foilows: § am “readily familiar” with tile iirrn’s practice of coiiectioa and
processing correspondence for maiiing. Uiider that practice it would be
deposited with the U.S. Postai Servioe on that same day with postage thereon

12 fully prepaid at Los Angeles, Calit`omia in the ordinary course of business I
also personally e-mailcd a pdt` of the notice to ilie Plaintiff’ s e»mail address

____ (BY PERSONAL SERVICE) l ceased such envelope to be deiivered by hand to the offices
14 of the addressed

15 ___ (BY FACSIMILE) l taxed said document pursuant to Rule of Court rule 2008, from my
facsimile telephone number 213~623»6600, The document was transmitted by facsimile
§ 6 transmission and the transmission was reported as compiete without error. lite

transmission report was properly issued by the transmitting facsimile machine A copy of
the transmission report is attached to this proof of service

i?

_I_>{_ (State) l deciare under penalty ofpeijuzy under tile laws of the State of California that the
13 foregoing is true and correctl
19 ___ (Federal) l declare under penalty of perjury that the foregoing is true and eorrect, and that i

am employed in the office of a member of the bar of this Court at Whose direction the
20 service was made

 

31 “Eiteeuted on March 27, 2009z at Los Angeles, Caiif`ornia.
22
23 er
ii ECLARANT
24 ,§,.
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NGTICE OF RULING ON MOT]ON TO WTH])RAW AS CGUNSEL

 

 

 

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 108 of 135

 

   

SERVICE LIST

JENNIFER WITHERS
2l TYNE STREET
ISLAND BAY, WEL§_.]NGTON NEW ZEALAND

 

.».\...¢\.m»- -1.4»-

m»r--"-,`. “-.-',, \.,-w...

-.w-n¢rr

_4-

NGTICE {}F RULING (}N MOTION TG \VITHDRAW AS COUNSEL

 

Page |D #:108

 

 

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EXHIBH` Q

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SUPER!OF{ COUHT GF CALIFORNIA, COUNTY OF LOS ANGELES

 

 

 

 

sara 03/2'?/09 I)EPT. 34
aoNoaAsi.s Amy D . Hogue moss K MASON barlow ci.ssa
HQNO}L.\BLE JUDGE PRO ’I`EM ELECTRON]C RECORD§NG MONITOR
#:2
R MANZO, Ca oepmy smart C GRAVES iome
8:30 am 50408287 owes PATRICK MESISCA JR (x)
Cou.nsel JENNIFER WITHERS (X} ,
JENNIFER WITHERS Plaintiff
Defund:mx
VS Counsel NOT PRESENT

PHILADELPHIA INDEMNITY INSURANC
COMPANY ET AL

 

 

NATURE OF PROCEEDINGS:

Exparte Hearing

APPLICATION OF PLAINTIFF TO: (l} STAY PRDCEEDINGS PER
CCP 285.3, (2) EX’I'END 'I`IME 'I`O FILE PROOFS OF SERVICE
AND SUMMONS AND COMPLAINT, (3} SHORTEN TIME FOR MOTION
TO BE RELIEVED AS CCUNSEL;

Matter called for hearing. Parties heard and matter
Submittod.

Coort orders as follows:

Time for motion to be relieved is shortened co this
day, and granted_ Counsel is relieved, and shall file
written order.

On Court's own motion, Order to Show Cause Re
Dismissal for Lack of Prosecution or Failure to
Hire Counsel set: MAY 27, 2009 at B:3GAM in this
department.

 

{Notice deemed moot.)

 

MINUTES ENTERED
Pag€ l Of l DEP'I'. 34 03/27/09

 

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EXHIBH` R

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AT*,GRNZY 09 F"`ART¥ WL'JHDUT AT;'ORNEY {Nama, sla. -¢rnumbs!, and eddress}'
Pat:»}ck A, l\/iesisca, .lr. (State Bar # 05'?795}

mi\/iesisca, Riley & Kreitenbcrg, LLP »~:4 ,. _. §§ H\
?25 Sooth Figaeroa Street, Suite 1650
Los Angeies, CA 9001?

 

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BFW~‘CH rfP»‘-‘»E: Central District Branch

 

 

 

 

 

CASE NAME: case nur.'.asa-
lennii`er Witliers vs. Philadelphia indemnity Ins. etc. ct ai, BC408287
simms oats;i\/lel‘Ch 21 2099
cases oaANrmo arroRNev’s 0'@“134 ms@ii@ am-
inotion To ss serieon ns coonsee»clvrt. BEFOHEHD~-:Ami’ D- l“il<)su@ §

  

cars acrlorisnao;FebI't.l'c`liy 23, 3109 §
rome oan:None
The motion cf mama of artemey):Mcsisca Riiey & Kreitenberg LLP / Patrick A. Mesisca, Jr.

to be relieved as counsel of record for (name of clienl}: .lenni{`er `W§thers, Pleintiff

a party lo this action or proceeding came on regularly for hearing al the date, iime, and place indicated above

 

 

21 The iollovging persons Were present at the hearing:
Patrici< A, lviesisca, lr.
iennii"er Witliers

§=iNDiNGS
3. Altorhsy has

a. ' personally served the silent with papers in support ct itst motionr

b. served client by mail and submitted a deciaration establishing ihatthe service requiremeots of Califoroia Ru|es ct Coad,
rule 3.1362, have been satisfied

4_ Atiorney has shown sufficient reasons why the motion to he relieved as oounsei should be granted and why the attorney has brought
a motion under Code of Civil Procedcre seclloa 284(2) instead of filing a consent under section 284(1).

_ ORDER
5‘ Attomey is resede ss connect of record for silent

a. 1 effective upon the thing of the proof of service ot this signed order open the client
b, { X effective on (specify date):B_,/Q']!Z{}{}Q
r""”i

5~;_ Th@ giieol's ;__>_L} current E::J laslknown address andteiephone nnrnber:
12621 Wilshire Bivd., #193, Los Angeles, CA 90025 611~64-4-4?5»32]']

lt the ciieot’s correct address is showna service co the silent must hereafter be made at that address oniess otherwise ordered in item
13. lt th _?orrent address is not known service must be made according to Code oi Civil Procedore section 1th {b) and ru§e 3,252 ct

the Caii o his Ruies of Court.
h z

`f. a. T§~°;e next schedoied hearing in this action or proceeding is set for (dare, time, and place):
riley 27, 2009 soo am sept 34
b. The hearing wii! concern (suojeci matter):C)SC re f)jgmissal

 

 

NOTECE TG CLIENT
too or your new attorney ii aoy, must prepare for and attend this hearing

 

 

 

Page 1 0! 2
F°"'“ denman f°[_f"‘;”"r‘;‘“f;m USE ORDER GRAN`HNG ATTORNEY’S ;:¢§3'2 :':;l;;v:c;;v §1225;2.
rdi§?§§§;f“s;~§a§i‘,°£'éf§it stories ro ss aetnaon As couNssL_-crvs_ ' ' “

n»ara'\mgr:in.'o.ce.gov

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onse’rznme;

 

NtC--OSB

case duncan t

- lennifer Wlthers vs. Phitadeip`nia indemnity Ins. etc. et al. BC¢§GSZS?

 

 

 

 

B. Tne toilowing additional hearings and other proceedings tincluding discovery matters) are set in this action (descn'be the date
li`me, place end subject matter cf each):

91 The trial in this action or proceeding
a. l X t is notyetset.
o t::t is sailor {s,oecr‘fy date, time, and place}:

to Client is hereby notified ot the following effects this order may have upon parties

 

NOTECE TO CL!ENT
Your presentattorney wli§ no longer he representing you. You may not in most cases represent yourself ifyou are
one of the parties on the following list
- n guardian - A personal representative - A guardian ad litem
- A conservator - A probate fiduciary - nn unincorporated asggcrangn
A trustee ‘ A corporation

 

lt you are one ot these partles, YGU SHOULD tMlnEDlATl-Ei_\r' SEEK LEGA§. AIJVICE REGARD!NG LEGAL
REPRESENTATEON. Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
default judgment

________m.....,.»~

 

 

it Client is nottded thai, il the client writ be representing himself or hersetf, the silent shall be soteiy responsible for the case

§

§ NOT!CE TO CLZENT Wt~tO WILL BE UNREPRESENTED

§ You will not have an attorney representing you, You may wish to seek legal assistance lt you do not have a new
attorney to represent you in this action or r_iroceedit'tgl and you are legality permitted to do so, you witt be

l representing yourself lt will be your responsibitity to comply with ali court rules and applicators iaws. it you fail to

tl do eo, or fail to appear at hearings, action may be taken against you. You may tose your case.

12 Ciient is notified that it is the clients duty to keep the conn informed at att times of the clients current address

NOT\CE 't`O CL§ENT WHO Wli_t. BE. UNREPRESENTED
The court needs to know how to contact you. lf you do not keep the court and other parties informed ot your current
address and telephone number, they witt not be able to send you notices elections that may affect you, including
actions that may adverseiy affect your interests or result in your losing the case.

 

13. The court further orders {specr`fy):

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~'r‘."\".""_~, 5"\~»"9~

 

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Date: CFJ ( G/ §§ @/ !\\ mng OFM|C[AL§;:F ` BV’ s_-_;“;""v*"°

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egg ..

 

 

transit raw recuse t. EOGTE ORDER GRANT[NG A'ITORNEY’S P»"se 2 °l?
itriOTi{)N TD BE REL!EVED AS COUNSEL-»Ci\lit_

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 114 of 135 Page |D #:114

EXHIBIT S

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 115 of 135 Page |D #:115
SUPER§C}H CGUR'§ /F CALSFORNZA, COU¥\§TY {}§ .OS A§\!GELES

 

 

.Nm;o§/z?/OS § DEVL 34
IQNQRABLE AMY D . HOGUE JuDGE K. TAP PER D§PUTY C:-ER)<
;%NQRABLE zUDGE PRO TEM ELE<:TRc)mc RECORD:NG MONrmR
R_ MANZO/C_A. vequ Srmizr C. GRAVES, CSR #10592 Repmwr
8 : 30 am BC-QOBEB'F P]ain;m'

Cmmd KIM BLANCHARD (X)
JENNIFER WITHERS
`V'S Dcfcnciam
PHILADELPHIA INDEMNITY Couns:l {NO APPR BY/FOR DE!FTS)
INSURANCE CGMPANY ET AL

170 . 6 SHOOK (PLF)

 

 

NATURB OF PROCEEDINGS:

O.S.C. RE DEI_LAY/FAILURE TO OBTAIN COUNSEL

MATTER CALLEB. ATTORNEY KIM BLANCHARD APPEARS AND
INDICATES HE IS SU`BSTITUTING INTO CASE.
O.S.C. DISCHARGED.

CASEI MANI-\.GEMENT CONFERENCE IS ADVANCED FROM 6-2-09
AN'D CONTINUED TO B:BG A.M. ON ?-29-09 IN D34.
DISCGVE§`<`Y TO BE CO!`~'£PLETED.

PLAINTIFF 'I`O GIVE NOTICE.

 

 

HINUTES ENTERED
yage 1 of 1 DEPT. 34 05/27/09

COUNTY CLEM{

 

 

 

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EXHIBIT T

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n 65/2 59 52 31@23§ 5 L.A DCFRE PAGE Bl/Bq
j , 1230 Rosecrans Avenue,$uiie‘§ §

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E»W~R,ABDR‘ERB (Opw'$'}:
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wm wmzs& Same as Abave
envme LBEAHQ\B{ES, GHHTOIT\¥E 900‘1'2
SRMUNME.- Gei'iffal

casa umwa Jennifer Wsthers va Phiiadel;zhia Indamity insurance

 

 

 

 

 

 

 

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a. Name; Kenh F. S:mpson ' ' h mean Bar No. {`rf app?icab;e); '}SBDM
c, Adcims$ (mmmbez;-stmea dry. ZIP. and few mm name, if appécable}: ‘

Law Off+caa of Keith F. Simpson, A mee$s§onai Gorporation

1230 Rosecrans Avenue, Su`rbe ‘E?O, Manha!'mn Bsedz. Ca!ifomia 90288

d. magnum wo. mem m may <310) 297_~909<`) _
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\\ Tmsm - Cor;mmtion association

Hgou am applyingasona cities parties on this list, y¢u may HOTaetaeyouz-own awom in gath deem form
w su&:“siitzw one attorney for zimmer attorney SEEK LEGAL ADVICE IEFDRE APP|..Y!RI?TO REPRESE%YT' ‘(OURSELF.
mmce 'ro PARTIES WrrHour ATT¢RNHY$

¢_\ party mpreeemin_g hima§?fc§r herselfan wish to seek md assistanoa. Faiiure to take
vmely and appmpnave action m this case may remle in serious legai coneequnmes.

 

 

 

 

 

 

 

 

 

 

 

 

 

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r1 ones NAME;

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h Jennl?erWlthers vs. Philadelphia lndern'rty insurance Cornpany

   

CASE NUMBER:
BC4GB 287

Page |D #:118

MC-{}SO

 

PROC!F OF SERV|CE BY MAIL
Subst§tution of Attornsy--Civil

instructions Al‘ier having ali panies served by mail w)i‘h the Substr'tuiion ofAiiomsy-CiviL have the person who mailed the document
complete this Proo.‘ of Serwcs by Mail. An unsigned copy of the Proof of Serw`cs by Mail aboard be completed rand served wr`ih ihs

document Give the Subsiilution of Artomey-Civil and the completed Proof of stics by Maii to me C;

representing yoursle someone else musimsii these papers and sign the Proc)f of Serw`ce by Ma,~;_

eric for iiling. if you are

1. l am over ins age of 18 and not a lundy to this causs. l am a resident of or smi>ll>§l€d ill ih& OOUR'W Wl’lere ihs mailing occurred loy
residence or business address is (s,os€ffy).` 4

2 l served ins Substiluiion of A€iornsy-Civ'rl by enclosing a true copy in s sealed envelope addressed to each person whose name

and address is shown below and depositing ihs envelope in the Unilsd $lsles mail wiih the postage fuily prepaid
(1] Dste of msilirzg: 5/26)'09

3. l declare under penalty of perjury under fire laws of the Siais of Csiiiornia trial ihs foregoing is true and correcl.

C?§QQ&Q§W>.\¢/L;

Daie: 5!26!09

l`~°ranc:‘s Ferru§ino

l"l"=’PE GH PR!NT NA'»%T:}

NAME AND ADDRESS OF EACH PERSON TO WHOM NOT|CE WAS MA¥LED

. Nsme of person servsd: Flhl|adei;)hia indemnity |osdrsnce Compsny
. Address {number, sirele cii}/, and ZIP):

350 Norin Strse‘i Paui Siresi
Dsl|as, Tsxas 7520'?

. Nsme oi person servsd: CPH & ASSOCiateS
. Address (number; street city, and ZlP):

Yi? 81 Dearbom, Suiie 205
Chicago, lllinois 60605

s. Name or person ssrved: CPH & Associales insurance Agency lno.

3'(£'}

. Addross (number, stroet, oiiy, and ZFP):

'r'i‘§ S. Dearborn, Suiie 205
Ci\icagd, illinios 60605

. Narns of person servsci; CHP & Associaies l_LC
1 Addrsss (numi:)sr, street ciiy, and ZiP):

Yi‘i S_ DEarborn, Suiie 205
Chloago, lllinios 60605

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Adcl ss (numben street, city, and ZIP):

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I:l i.ist of names and addresses continued in attachment

(2) P|ace of mailing {c}iy and stafe}.' Manhaf‘ian B@ach, Cai§fomia

 

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(Without Court Order)

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EXHIBH` U

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Keith F. S§mpscm, Esq. (SBN i96014}
“** Law Oi`f'ices ofKeith Ft Simpsc)n, A Profeesidnai Cd§poration
i23t} Rosecrans Avenue, Suite §'70 4
Manhattan Beach, Caiifomia 90266
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e_w.it,mdr=.ass roman keith@$impson]nw.n€t 1105 ANGELBS SUPER!OR CDL’RT
At“roRNEY ron mem P§ainliff JENNIFER MI`HERS
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t
CASE MANAGEMENT STATEMENT case nuveea.
renew one): [__D uni.mared case ij timsz cAse ~
miman demanded tAmdunt demanded is 525,000 B(“ 408 287
exceeds $25,00[}) or less}

 

 

A CASE MAHAGEN§EN? CONFERENCE is scheduled as follower
Deie: lilly 29, 2009 Time: 839 &.m. Dept.: 34 D'iv_: Ro@m;
_Address of court (h‘ different from the address above):

 

 

§ f:f Notice ailment to Appear by Telepiwrie. by {name):

 

tNSTRUC`t'tONS: Aii appticab\e boxes must be checkad, and the specified information must be previded.
1. Party or parties (answar dne):

a. This Statement is submitted by petty (HamE)$ Pla'll’t'€iff JENNIFER WITHERS
b, This. statement is submitted jointly by parties {narnes):

2. Com piaint and cross~r,omplainf (to be answered 133/plaintiffs and cross-contaminants cn!y) l
a. The complaint was tiieci on fdate).‘ 02/23{{)9
b_ I::] The cress-compiaini. ':i any, was filed an (date).'

3. Service (i‘.d be answered by plainn‘fi's and cmss»camp)ainants oniy)
a_ [:] Aii parties named in the complaint and cross'comp!a§rtt have bean Served, er have appeared or have been dismissed
23, §:Qj T§ie id|§`owing parties named in the comptaini orcross~eompiairit
(i) E have net been served (specify names and explain why not)_'

Prdcess has commenced, is ongoing and pending far ali 4 defendants at time of filing
(2} have been served but have not appeared and have not been dismissed t‘specr`fy names):

(3) E:i have bad a defauli entered against them (specify names): t

c, The iei|owing additional parties may be added (specffy names, nature of involvement in case and the date by which .
they may ha servad):

`:i; §

*5
4. Dascr"iption ofcase
a. `[:?pe cieasein m complaint § cross-comp!aim (Dascn`he_. including causes ofaciidn}:

'§rdfe§sional insurance coverage dispute; {i) breach of contraet, (2) Breach of Covenant of Gpdd Faith
and Fair Deating, (3) Pratzd & Deceit, (4) Fraud & Deceit, (5) intentionai infliction Emotionat Distrees

 

Page 1 usa
Form nda ieafert»§andalcz Use ,
J‘.zd:inlpi;c.n:‘mt€at;‘.or¢’nia CASE MANAG EMENT STA'§.EMENT C:l!i:u:i$a;zcéf£n?t:id 1
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ei_ntNT\FFrr>EnnoneR: iENi\iiFER WITHERS C*~$E ”“WHE“-

 

 

4.

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b. Provide a brietstaler'rzent_ot the case, including any damages itt personal injury damages are sought specify the injury and t
damages claimed including medical expenses to date {indicate source and emount], estimated future medical expenses test
earnings to date and estimated future lost earnings i! equitable relief is sought describe the nature oftho relief.)

Plaintiff, .Ieunifer Withers, had professional cnors and omissions coverage with defendants Whilc an
intern with a California pychotherapist. An administrative hearing process was commenced concerning
her licensure with the Sta§c and the policy provided, up to a certain limit, coverage for defense costs and
anoniey's fees Defendants failed to reimburse her fully for attorneys fees incurred as the
administrative hearing proceeded Defcndants failed to reimburse approximately SIS,GOG - SZG,GUO
which she had to borrow Dcfcndant's refusal limited her ability to fund a consis€cnt, knowledgeable
and fuli defense and caused great emotionai distress and detriment to her professionat aspirations

ij ill more space is needed check this box and attach a page designated as Attacnrnent 411}

Jury or nonjury tria§

The party or parties request l:;f§ a jury trial l:l a nonjury lriai. (lf more than one party, provide the name oieech party
requesting a jury in`al);

inst date ?
al i:i 'ihe trial has been set for {dafe):

b_ 2 3 Mo trial date has been set Thls case vrilt be ready iortn'al within 12 months of the date of the filing ofihe complaint fit
not, expiein): `

c. Dates on which parties or attorneys viiil not be available for trlai (s,oacity dates and explain reasons for unavailability,l:

Estimated length of trial

The party or parties estimate that the trial wlt| take (ci)ecic one,l:
al E days (s;)ecr'fy number): 119-12

11 i:§ hours [short causes} (specify).‘

Tria§ representation tlc be answered for each perty,l

The party or parties will be represented at trial m ny the attorney or party tisted in the caption § by the iotlowino:
a Attorney; k

Firrr:'.

Address:

Telepnone number;

Fax number:

E-mail address

, Party represented

[::E Additional representation is described in Attachrnent B.

manson

F'refer'e.nce
[::§ 1l“._;nis case is omitted to preference {specify code section).'

it}. Altern`z;itive £Jlspute Resolution [ADR)

a, C§przse| t_!_ has l::',j has not provided the ADR information package identified in mle 3221 to the client and has
renewed non options was me client

b. [:3 Aii parties have agreed to a torni of ADR. ADR wilt be completed toy (datej;
<;v The case has gone to an ADR process (fno'icate statns): `

 

C.M-‘t :o[ifmv Jenuary t. EUOB'|

cAse uANAoeMENT enlistment nw mr

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 122 of 135 Page |D #:122

   

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Pt_Atit'os=FrPe‘renoNER: JENNIFER WI'IHERS me "‘U""EE*
““DE.=t-:NDANWESP@NDEM PHILAD§LPHIA rNoEMNtrY ins COMP. BC 403 23?

10. d. The party or parties ere willing to participate in (check afl that appty):
(1) Meoiation
(2} ij Nonbindin§ judicial arbitration under Code ot Civil Procedure section lt4‘t.12 (disoovery to close 15 days before
arbitration under Cai, Ru§es of Cour't, roie 3.822)
53‘; [_:l Nonbinoing judicial arbitration under Cocle of Civil Prooedore section tim 12 toisoo\:e:'y to remain open until 35 days
before triel; order required under Cai. Rules of Courl; ruie 3,822}
(4) § Eiociingj'udiciai arbitration
(5) l::l Binding private arbitration
(
(

 

 

 

 

) [:l Neotra| case evaluation
7) {::] Other(s,oecir’y):

e. C:l Tltis matter is subject to mandatory judicial arbitration because the amount in controversy does not exceed
the statutory iin'\it4 l
f, [::E Ptaintitf eiects to refer this case to judicial arbitration end agrees lo limit r%overy to the amount specine<i in Code of Ci\rtl '
'Prooedoze section 1141‘11`

g_ l__ f '§nis ease is exempt item judicial arbitration under rote 3.811 of the California Roles of Coon (spec)`i"y exemption,l.'

1'l. Settlement conference
iw vi The party or parties are willing to participate in an early settiement ooniereooe (spec.ify wraen):

12t insurance
a, [::t insurance carrion it eny, lor party filing this statement (rtamej:

'o. Reservation of rights: l:i ‘{es i:::l No
c. l Coverage issues wi|i significantly affect resolution ol this ease (exp!ain}:

13 Jurisctiction l
indicate any matters that may affect the courts jurisdiction or processing 01 this oase, end describe the status

m Benl<mptcy i:| Otl‘let {specr'fy).'
Status:

ié. Reiated cases, consot§oation, and coordination
a, ._l:: Tnere are companion underlying or related cases
(‘i) Naine ot oase;
(2) l\larne ot coort;
(3) Cese number
(4) Stetos:
l:l Additionat cases are described in Attacl':rnent 14a

b. 3 A motion to f::l oonsoiidete l::l coordinate will be fried by memo party):

15, Bifurcation

l:l `z”he party or parties intend to tile a motion for an order bitur<:eting, severing. or coordinating the following issues or ceases ot
action {specit‘y moving pen`y, type of motion and reasons):

16. Otheriztotions
l::l fine party or parties expect to tile the following motions oefore triat {specify moving party type ofmot.ion, and issuss):

».:{

 

5"*"1°‘i“"""' J“”““‘ "\2“9‘ case MANAGEMENT srATemeNr P”Q“ °“

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 123 of 135 Page |D #:123

   

 

 

 

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il Discovery
a. l::l Tne party or parties have completed all dl".~tcoirt.=.ryl
b, [:l Tiie foliowing discovery will be completed by the date specitied (o‘escrioe all anticipated discovery}.'

Party Descriotion Date

c. l:l the following discovery issues are anticipated (s,oecr`t‘y):

181 Economic litigation

a. t:j 'i‘nis is a iirnited civil case (i.e., the amount demanded is $25,000 or |ess) and the economic litigation procedures in Code
of Civ`rl Procedure sections 90 through 98 will apply to this case

br i:j Tnis is a timiteo‘ civil case and a motion to withdraw the case from the economic irrigation procedures or for additional '

discovery witt be fried rif checks d, explain specifically why economic litigation procedures rotating to discovery or inst
should not apply to this case):

tel Other issues

i::l The party or parties request that the following additional matters be considered or determined at inc case management
conterence {specify):

20. Meetand confer
a. l Tile party or parties have met and conferred with alt parties on ali subjects required by rule 3_724 of the Calitornia Fiuies
ot Court (if not explain):

E\'o defendant has appeared as of date of filing

b. Atter meeting and conferring as required by role 372/t ot the Catifornia Rutes ot Coun, tire parties agree on the toliowing
{specr'r'yj:

Z‘l. Total number cf pages attached (r`r' any): '

l am comptetely tamitiar with this case and wli| be ruily prepared to discuss tire status of discovery and ADR, as vre!i as other issoes
raised by tnis statement, and vviil possess the authority to enter into stipulations on these issues at the time oithe case management
conferencel including the written authority of the party where requiredl

Date: Jul}' Z(l, 2009

   

 

r<:e;:th F._istmpson, esq (SBN rosenn §

y (T‘r‘F-’E UR PRWT l*\tA-ME} tGN,‘JLlR£ OF .

 

i::i l`EYPE ()R PRIN`F NF\._*-»§El [SlGNRTURE OF PARTY CR ATTURNE‘,'}
i:] Additionai signatures are attached

CM-<ro rees ssi-cary t, 29tng

CASE MANAGEMENT STATEMEN`F Pao<= 4 or 4

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 124 of 135 Page |D #:124

EXHIBIT V

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 125 of 135 Page |D #:125

SUPER¥OR COURT OF CALiFClRNiA, COUNTY C)F LGS ANGELES

 

 

 

 

 

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B:BG am BCAUBZB? Pmme

Counszl KIM BI,».ANCHARD (X)
JENN:FER WITHERS
VS l)cfcndanr
PHILADELPHIA INDEMNITY INSURANC Cwmd
COMPANY ET AL

170 . 6 SHOOK (PLF)

 

 

 

 

NATURE GF PRGCEEDINGS:

CASE l"iGMT CCNE`

HELD/CONTINUED TO 8:30 A.M. ON 8-2'?-09 IN §§34.

PMINTIFF’S COUNSEL IN§)ICATES SBR'V'ICE HAS BEEN
EFFECTED P_ND ANSWER-TIME STILL RUNNING AS TO TWO
DEFENDA.NTS, WHILE EFFORTS STILL U'NDERWAY TO LOCATE
FIE\?AL TWO DEP`ENDANTS FO`R SERVICE.

 

PLAINTIF`F TO GIVE§ NOTICE.

stresses ENTERED
of 1 J;)EPT, 34 07/29/09

 

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Page

COUNT'Y CLER.K

 

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 126 of 135 Page |D #:126

EXH§BH` W

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 127 of 135 Page |D #:127

   

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2 A PROFESS|ONAL CORPORAT|ON
1238 Rosecrans Avenr.re‘ Suite ‘i“i`O 555 113 fogg
3 tvtanhattan iiteecit1 Ceiifornia 90266
rerephone; (31 rJ) 29?-9090 ‘ZW tel
4 entire

léA'LErlli-X§ chi orr DE
5 Attorneys for Pieiotiff PU?'Y

JENNiFER WITHERS, an individual

8 SUPEREOR COURT OF THE STATE OF CALlFORNtA

9 § iN AND FOR THE COUNTY CF LOS ANGELES
id JENN|FER WITHERS, CASE NO. 30408287 §
1 1 t Assr`gned for sit purposes to the Honoraoie §

Plaintrii, Amy D. Hogue, Juo’ge Presicling, Depi. 34 ‘

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i3 NOTiCE GF CONT|NUED CASE
14 vs. MANAGEMENT CONFERENCE
15

PH|LADEL_Pt-IiA lNDEMNiTY lNSURANCE
16 COivtPANY, a Perrnsy|vania Corpoiation;
CPH & ASSOC!ATES, iNC. an illinois

17 Corcoration; CPH & ASSOClATES,

 

 

lNSURANCE AGENCY, ll\iC.; CPH & Date: August 27, 2009
18 ASSOCEATES, LLC; and Does 'l through 25, Tirne: B:SO a.rn.
inclusive1 Dept.: 34
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Detendants,
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23 TO ALL DEFENDANTS AND TO Ti-iElR RESPECTEVE ATTDRNEYS OF
414 necoeo; §
§§ PE_EASE TAKE i\lOTiCE that the Cese iv`iaoagement Conference in tire above» §
;§:ze captioned matter has been continued to Augusi 271 2009, at the hour of 8:3{) e.rn.‘ in §
§§27 Departrnent 34 of the above-entitled coun, located at 111 Nortn i-liil Street, i_os Angeies, §
28 Ceiifornie 980‘:2.

 

NO`EICE OF CONT|NLEED CASE MANAGEMENT _§h
CONFERENCE

l r

 

 

Case 2:09-cv-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 128 of 135 Page |D #:128

   

‘l PROOF OF SERV|CE BY UN|TED STATES MA]L

2 l am a citizen of the United States and a resident of the State of Calito:'nia. l am

over the age of 18 and _not a party to the within action Niy business sddtess is 1230
3 Rosecrans Avenue, Suite 170, Manhattan Beach, Catifornie 90266,

4 l am fami§iar with the business practices ct the t_aw Oti":ces ct Keith F. Simpsoh,
/‘-\ professionai Corporation, for collection and processing of malt with the limited States

5 Postet Service, whereby othe§a§ mail is attached with the appropriate postage and placed
in a designated area Mail so collected and processed is deposited with the United

6 States Fostai Service that same day and in the ordinaty course of business Oo the

below date, l served a true and correct copy ofttte foregoing

NOT|CE OF CONT|NUED CASE MANAGEMENT CONFERENCE

10

11 Philsdelphia tndemnity insurance Compaoy
cio Mr. Char§es Pedone

1‘2 2901 Dougies Boulevard, Suite 150

13 Roseville, California 95661

14
CPi-i & Associetes, lnsurance Agency, irac.

15 cio Susana M. Mahady, Esq.

Schoofeid, Bertsche, Preciado & ivlahady, i.i_P
16 1320 columbia sixteen #sto

w San Diegc, Calitornia 92101

te .
| doctors under penalty ot perjury under the laws ot the State of California that
19 the foregoing is true and correct

20 Executed .luly 29, 2009, et ivlanhattan Beach, Calitorn§a.

21 65 )W
22 / Kirn D. Bl§?t"chard

 

 

 

 

Case 2:09-cv-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 129 of 135 Page |D #:129

   

1 DATED; Ju§y 29, 2909 LA\N OFF\CES OF KEl'i`H F. SlMPSON
A PROFESSIONAL CORPORAT¥ON

By:

 

5 JENN§§ER WlTHERS, an individual

 

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NGT!CE OF CDNT|NUED CASE MANAGEMENT _2_
CONFERENCE

 

 

 

Case 2:09-CV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 130 of 135 Page |D #:130

PROOF OF SERVI_CE

.IENNIFER Wl?HERS v. PHILADELPHIA INDEMNITY INSURANCE CO., et st
United Statcs District Court »~ Central District of California
Cssc No.

 

t declare tltot:

§ am employed in thc county of Los Angcles, Califol'tiia, over the age ol" eighteen
ycsrs, dod not o party to die within cause My business address is 523 West Sixtlt Strcct,
Suite 635_, L.os Angeles, Celit`omia, 90014.

On August i£l, 2009, l served the witliiri:

No'"rtcr£ or REMOVAL oF ACT!oN
oNDER 28 o.s.C.§ 1441 (b) (DIVE_RSITY)

BY MAIL on parties in said causc, by ptacing a true and correct copy thereof enclosed in
s sealed envelope with postage thereon fully prepoid, in the limited Statcs mail at Los
Angelcs, Calit`orrzia, addressed as follows

Keitlt P. Sim§)soo, Esq.

Lzlw Oft"zces of Keith F. Simpson, APC
iQBO Rosecrzuts Avenue, Sttite 170
Manhetteo Beech, Ca§iforpia 90266
Atrorneysfm' Plaintiffjezzlzifer Wizhers

Susana Maliady, Esq.

Schoofcld, Bertsctic, Prsciado & Mshady
1320 Coiumi)ia Street, Suite 310

San Dicgo, Calit`ornie 92101

Atfomeys for CPH & Assocz'ates

t declare under penalty ofperjm'y under the laws ofthc State of Celit"omia and the

limited States ot` Amez;ice that tire above is true end correct

fs~
-'!

E>;ecoted on August §§ W___, 2009.

      

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Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 131 of 135 Page |D #:131

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT ()F CALIFORNIA

NOTICE ()F ASSIGNMENT 'I‘O UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District §udge Cliristina A. Snyder and the assigned
discovery l\/lagistrate lodge is Patrick J. Walsh.

The case number on all documents iiled With the Court should read as follows:

cv09- 6071 cas (Pwa)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the l\/lagistrate lodge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate lodge

NOT|CE TO COUNSEL

A copy of this notice must be served With the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all platntiffs).

Subsequent documents must be t"l|ed at the fotlowing |ocation:

[X} Western Division L] Southem Division 1 Eastern Division
312 N. Spring St., Rm. G-S 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
f_os Ange|es, CA 90312 Santa Ana, CA 92701~45‘16 Riverside, CA 92501

Failure to file at the proper location witt result in your documents being returned to you.

 

CV-'|8 (03/06) NOTICE OF ASS|GNMENT `T'O UN|TED STATES |`\AAG|STRATE JUDGE FOR DiSCO\/ERY

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 132 of 135 Page |D #:132

UNI'{`I:`.D S'!`ATES DISTRIC'I` COURT, CENTRAL DISTRICT OF CALIFORNIA

CEVZL COVER SHEE'I`

 

I{a) PLAINTIFFS {Check box lfyou are representing yourself EJ)
lennifer Withers, an individual

DEFENDAN'IS
Pl'n`iadelphia Indemnity lnsurance Company; CPH & Associates, lnsurance

Agency, lnc.; CPH & Associates, Inc.‘, CPH & Assoeiates, LLC, and Does 1
through 25, inclusive

 

(b) Attomeys (Firm Narne, Address and Teiephone Number. lfyou are representing

yourself provide same.)

Keilh Sirnnson, haw Ofnces of Keith F. Simpson, 1230 Rosecrans Avenue,

Suite 170, Manhattan Beach, Calit`ornz`a 90266, (310) 297“9090

Attorneys (If Known)

See attached sheet

 

 

II. BASIS OF JURISDIC’I`ION (Place an X in one box oniy.)

13 3 Federai Questton (U.Si
Government Not a Pany}

iii 1 U.S. Govemment Plaintifl`

13 2 UiS. Govemment Defendant ill Diversity (lndicate Citizenship

111 CITlZI<INSHIP OF PRINCIPAL PAR"FIES » For Diversity Cases Only
{Place an X in one box for plaintiff and one for delendant)

I‘TF DEF P'I`F DEF
Citizen of This State E:l l l:l l lacerporated or Principal Piace E;l 4 ij 4
of Business in this State
Citizen of Another S\aie l;l 2 l;l 2 lncorporated and Principal Place 13 5 315

of Parties in Item 111}

W. ORIGIN (Piace an X in one box only.)

13 l Griginal
?rocceding

Appellate Court

 

Citizen or Subject ofa Foret`gn Coantry 111/3 EJ 3

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of Business in Another Slate

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Siate Coun Disirict

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136 1116

l:l '." Appeal to District
lodge from
Magistrate .ludge

 

V. REQUEST£D IN COMPLAENT: JURY DEMAND: ij Yes RiNo (Cliecl; ‘¥es’ only ifdemanded in compiaint.)
utmoNEY DEMANDED m coMPLAmT; s 5,000,000 (nerasrar)h nO- 491

cLAss ACTIoN under F.R.C.P. 23: iii res m/Ne

 

 

VI. CAUSE OF ACTlON (Cite the U.S. Civil Slatole under which you are filing and write a brief statement of cause Do not cite_iurisdietional statutes unless diversityi}
28 U.S.C. 1332; 28 U_S.C. 1441(1)); Plaintiff alleges breach of conlract, bad faith, fraud and deceit, and intentional infliction of emotional distress against defendants

VI¥. NATURE OF SU§T {Place an X in one box only.)

 

OTHER STA"_IU'Z“ES .` CO_N’I“RACT'. - -i-T_(_JRTS' .'
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F.EDERAL TAX SU§TS
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or Del'endam)
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FOR OF}"ICE USE ONLY:
AFTER COMPLE'I‘[NG THE FR()NT SIDE OF FORM CV»'FI, COMPLETE :I`HE INFORMATION REQUESTED BELOW.

Case Narnber.

 

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C!VIL COVE.R SHEET

Page l ot`2

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 133 of 135 Page lD #:133

UNI'{`EI) S'I`ATES DISTRICT C{)URT, CENTRAL DISTRICT OF CALIFORNIA
CIV!L COVER SHEET

VIII(a). H)ENTICAL CASES: Has this action been previously fried in this court and dismissed, remanded or closed? >4~§0 ii as
Ifyes, list case number(s):

 

VIll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case?;LNo i’es
li yes, list case number(s):

 

Civi! cases arc deemed refuted ita previously filed case and the present case:
(Check all boxes that apply} 113 A Arise from the same or closely related transactions happenings or events; or
l:i 13. Caii for determination of the same or substantially related or similar questions ofiaw and fact; or
ij C. For other reasons wouid entaii substantial duplication oilabor if heard by differentjudges; or
ij D. Invoive the same patent, trademark or copyright, M one ofthe factors identified above in a, b or c also r's present

 

IX. VENUE: (When compteting the following infonnation, use an additional sheet if necessary.)

(a) Lt`st the County in this §)istrict; California County outside ot"lhis District; State if other than Caiifomia; or Foreign Country, in which EACH named plaintiff resides
513 Check here ifthe government, its agencies or empioyees is a named plaintiff lf this box is checkcd, go to item (b).

 

County in this District.* Ca.it`t`ornia Count'y outside ofthis District; State, ifother than Ca.lifornia; or Foreign Country

 

New Zealartd

 

(b) List the County in this District', California Couniy outside ofthis District; State if other than Catifornia; or Foreign Country, in which EACH named defendant resides
l;] Check here ifthe government, its agencies or employees is a named defendant lf this box is checked, go to item (c).

 

Counry in this District:* California County outside oftl‘tis Disirict; State, if other than California; or Foreign Country

 

Philadelphia Indernnity fns. Co,: Pennsyivania
CPH & Associates, loct; CPH & Associates, lnsurance Agency, §nc.; CPH &
Associates, isLC.: illinois (ail the same entity, all illinois)

 

 

 

 

(c) l_.ist the County in this District', Cah`fornia County outside ol'tltt`s District; State if other than Caiit“omia; or Foreign Country} in which EAC"H claim arose.
i\'ote: fn land condemnation cases, use the location of the tract ofland involved.

 

County in this Dislrict * Cafii`ornia County outside of this Dislrict; State, ifother than California; or Foreign Country

 

Los Arigeles County

 

 

 

 

* Los Angeles, Ot'ange, San Bernardino, Rivcrside, Ventttt‘a, Santa Barbara, or SarFBUE`Obispo Counties
Notc: In land condemnation cases use the location ofthe tract oflandi §volv j /:7
z. . j

' W,L“Q»i nat want 19, 2009

Notice to Counsei."l’arfies: The CV-?l (JS~44) Civii C%ver eet and the information conlt¢ed herein neither repiace nor supplement the firing and service of pleadings
or other papers as required by law. This forrn, approved by the .ludicial Cont"erence ofthe United States in September19'!4, is required pursuant to Local Rule 34 is not filed
but is used by the Clerk ofthe Cnurt for the purpose of statistics, venue and initiating the cr`vii docketsheet1 (For more detai§ed instructions see separate instructions sheet.)

 
   

X, SIGNATURE OF ATTORNEY {OR PRO PER): ;,i/ - n

 

Key to Statisiical codes relating to Social Security Cases.‘

Natnre ot’Suit Cotie Abbreviation Substantive Staternent ofCatise of Action

851 HlA Aii claims for hcaith insurance benefits (Medieare) under Tit!c ]8, Part A, ofthe Sociai Sectirity Act, as amended
Aiso, include claims by hospitals skilled nursing facilities etc., for certification as providers of services under the
program (42 UrS.C. 1935FF(b})

862 BL Ati claims for “Black Lung” benefits under title 4t Part B, ofthe Federai Coal Mine Heahh and Safety Aci of t969
(30 u.s.c:. 923)

863 §JlWC A|l claims fried by insured workers for disabiiiry insurance benefits under '§`itle 2 ofthe Social Seci.irity Act, as
amended; plus all claims filed for child’s insurance benefits based on disability (42 UiS.C. 405(g)}

353 DIWW All claims filed for widows or widowers insurance benefits based on disabihty under Title 2 of the Social Sccurity
Act, as amended {42 U.SC 405{§))

864 SSID All c!airns for suppterneatat security income payments based upon disabitity fried under Title 16 of the Sociai Secnnty
Act, as amended

865 RSE All ciairns for retirement (old age) and survivors benehts under title 2 oitlie Soci`al Security Act, as amended (42
U S.C. (g})

 

C\f~'il (05/08) CFVIL C()VER SHEE'I` Page 2 of2

Case 2:09-cV-06071-CAS-P.]W Document 1 Filed 08/19/09 Page 134 of 135 Page |D #:134

ADDENDUM TO CIVIL COVER SHEET
I. (b) Attorneys for Defendants:

Philadelphia Indemnity Insurance Company
lames C. Nielsen

Jennifer S. Cohn

Nielsen, Hafey & Abbott LLP

44 Montgomery Street, Suite 750

San Francisco, Califomia 94104

(415) 693-0900

J. Scott Mi§ler

Nielsen, Haley & Abbott LLP
523 West Sixth Street, Suite 635
LOS Angeles, California 90014
(213) 239-9009

CPH & Associates, Insurance Agency, Inc.; CPH & Associates, Inc.; CPH &
Associates, LLC

Susana Mahady

Schonfeld, Bertsche, Preciado & Mahady, LLP

1320 Columbia Streei, Suite 310

San Diego, CA 92101-3416

(619) 544-8300

Case 2:1

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PROO§'+1 OF SERVICE

.IENNIFER WITHERS v. PHILADELPHIA INDEMNITY INSURANCE CO., et al
United States District Court - Central District of Californ§a
Case No.

 

l declare that
l am employed in the county of Los Angeles, California, over the age ot" eighteen
years, and not a party to the Within cause. My business address is 523 West Sixth Street,
Suite 635, Los Angeles, Califomia, 90014.
On August 19, 2009, l served the Witlnn:
CIVIL COVER SHEET
BY MAIL on parties in said cause, by placing a true and correct copy thereof enclosed in

a sealed envelope With postage thereon fully prepaid, in the United States mail at Los
Angeles, Califomia, addressed as follows:

Keith F. Simpson, Esq. Susana Mabady, Esq.

Law Oft§ces of Keitl§ F. Sinapson, APC Schonfeld, Bertsche, Preciado & Mahady
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Manhattan Beach, Califomia 90266 San Diego, Califomia 92101

Attorneysfor Plaintiff.]eimifer Withers Attorneys for CPH & Associates

1 declare under penalty of perjury under the laws of the State of California and the
United States of America that the above is tme and correct

§§§

Executed on August § ,2009. /;:)MZ!
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